Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 1 of 254




                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF VERMONT


       ALICE H. ALLEN, et al.          *
                                       *
                      V                *
                                       *
       DAIRY FARMERS OF AMERICA,       *
       INC., et al.                    *   CIVIL FILE NO. 09-230


                                 FAIRNESS HEARING
                           Thursday, January 29, 2015
                               Burlington, Vermont

       BEFORE:

             THE HONORABLE CHRISTINA R. REISS
                Chief District Judge


       APPEARANCES:

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Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 2 of 254
                                                                          2



                                  I N D E X
       STATEMENT BY:                                        PAGE   LINE

       JOSHUA HAAR                                          5      17

       RALPH SITTS                                          22     15

       RICHARD SWANTAK                                      31     21

       GARRET SITTS                                         37     15

       MIKE EBY                                             47     5

       ALICE ALLEN                                          49     8

       JONATHAN HAAR                                        55     4

       CLAUDIA HAAR                                         98     2

       KENNETH DIBBELL                                      142    14

       LARRY BAILEY                                         146    20

       PAUL BOURBEAU                                        150    1

       REG CHAPUT                                           159    24

       BILL ROWELL                                          161    19

       MICHAEL SWANTAK                                      164    13
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 3 of 254
                                                                               3



 1      THURSDAY, JANUARY 29, 2015

 2      (The following was held in open court at 9:37 a.m.)

 3                   THE CLERK:   Your Honor, the matter before the

 4      Court is civil case number 9-230, Alice Allen, et al.,

 5      versus the Dairy Farmers of America, et al.

 6      Representing the plaintiffs are attorneys Kit Pierson,

 7      Emmy Levens, and Robert Abrams.        Representing the

 8      defendants are attorneys Steven Kuney, Carl Metz, and

 9      Ian Carleton.    And we are here for a fairness hearing.

10                   THE COURT:     Good morning.

11                   MR. PIERSON:     Morning, your Honor.

12                   MR. KUNEY:     Morning, your Honor.

13                   THE COURT:   As a housekeeping matter, I am

14      going to deny as moot without prejudice to renew all

15      pending motions in limine if we -- for both sides.                If

16      we have a trial, you can refile them, and I may decide

17      to winnow down the number of them, but they have been on

18      our docket forever, and if we have a trial, it's not

19      going to be this month or next month, in any event.

20            I am planning on hearing from class members first.

21      I have already read everything that class members have

22      submitted.    I have read the attorneys' papers.           I do

23      have questions for the attorneys, but this is really a

24      hearing in which we hear from the class and the class

25      representatives, if they want to, about whether they
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 4 of 254
                                                                          4



 1      agree with the settlement, oppose the settlement, have

 2      some thoughts that they want to convey to the Court

 3      about whether the settlement is fair, reasonable, and

 4      adequate.    And in granting preliminary approval, that

 5      does not mean the settlement is approved.          That's how we

 6      get to a fairness hearing, and hear from the class.

 7            So what I am going to ask is that you come forward

 8      if you want to speak, you identify yourself for the

 9      court reporter and spell your name.         She's going to be

10      taking down everything that you say, both with her

11      machine but also with an audio recording.          And keep in

12      mind that she -- it's hard to keep up with people

13      speaking.    I speak notoriously fast, and she is probably

14      one of our best court reporters in the state of Vermont.

15      So slow down when you speak, and we will try to get

16      everything that you want to say.

17            If we have time left over, we will talk to the

18      attorneys about their thoughts about settlement, but I

19      have read their submissions.

20            So let me ask if there are any class members or

21      class representatives who want to speak.          I have a list

22      of people who have notified us, but if you are not on

23      the list, I plan on being flexible about that.             And

24      right now the list consists of Bill Rowell, Paul

25      Burbeau, Reg Chaput, Larry Bailey, Richard Swantak,
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 5 of 254
                                                                            5



 1      Garret Sitts, Ralph Sitts, Jonathan and Claudia Haar,

 2      and Ken Dibbell.

 3              So why don't we start with -- I will get you

 4      started.    How about Jonathan and Claudia Haar, because

 5      they are class representatives as well as class members?

 6                   JONATHAN HAAR:     Excuse me.

 7                   THE COURT:     So come on up, and you are going

 8      to come to the podium if you are ready.

 9                   JONATHAN HAAR:     Thank you, your Honor.

10              I was going to ask if -- thank you, your Honor.

11              I was going to ask if we could have Joshua Haar

12      speak first, if that would be possible.

13                   THE COURT:     Sure.   Absolutely.    I had to pick

14      somebody out of the class, and your name came up, so

15      that's fine.

16                   JONATHAN HAAR:     Well, thank you.

17                   JOSHUA HAAR:     All right.     Thank you very

18      much for the opportunity to address the Court.             Joshua

19      Haar.    Last name -- well, you folks have that last name

20      down very well, I'm sure.

21                   THE COURT:     It's H-a-a-r, so we have to do it

22      for the court reporter.

23                   JOSHUA HAAR:     That's correct.     Yes.     Yes.

24              I'd like to address the Court today regarding the

25      injunctive relief.     I believe for the farmers, both in
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 6 of 254
                                                                        6



 1      support of the settlement and against the settlement,

 2      that injunctive relief has been at the center of the

 3      issues that they have sought.       I wanted to take a look

 4      at the specific provisions laid out in the settlement

 5      here.    So I guess I will just start right into it.

 6              The settling defendants, during the term of this

 7      agreement, aren't going to enter into any full-supply

 8      agreements, but the existing full-supply agreements are

 9      untouched.    This lawsuit was not brought on the basis of

10      full-supply agreements which defendants might bring into

11      existence at some future date, but rather for the ones

12      which are currently strangling the market.          The fact

13      that this term here does nothing to touch those means

14      that it is not going to result in any market change.

15              The next one, that any agreements for the supply or

16      sale of raw Grade A milk to customers will be brought

17      before the DFA board of directors, or the DMS board of

18      directors, depending on which entity is creating

19      those -- oh, incidentally, they have the same address

20      and the same bank account number.        There's -- there's a

21      great consolidation of power there.

22              But I actually went to look at the DFA board of

23      directors on their website, because I noticed further on

24      in the injunctive relief there's a requirement that DFA

25      will disclose the identity of their board of directors.
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 7 of 254
                                                                            7



 1      They already do so.      A quick look at the website would

 2      have resolved that.

 3            What is not on their website, and which actually --

 4      I've taken a look at the Dean Foods website, just as an

 5      example of a similar -- similar corporate body.            Things

 6      like principles, director responsibilities, board

 7      leadership structure, director qualifications, voting

 8      for directors, committees and compensation, these things

 9      are not addressed in the injunctive relief.

10            And additionally, and perhaps the main point on

11      bringing these agreements before the board of directors,

12      because our counsel negotiated away third-party vote

13      counting from us, we have little or no means of

14      influencing the board of directors, as members.            So

15      these two provisions are not going to result in any

16      market change.

17            Moving to the next -- the next page of the

18      settlement:    The settling defendants agree that they

19      will, upon written request by any of their respective

20      members located in Order 1, disclose to that member

21      summary of the terms of any of their agreements for the

22      supply or sale of raw milk.       This disclosure needs only

23      to state whether it's a full-supply agreement, the

24      duration, and any other material provision, provided

25      this disclosure is permitted by the terms of the said
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 8 of 254
                                                                           8



 1      agreement.

 2            Currently, if DFA, DMS wants to hide something,

 3      they put in a clause and hide it.        After this agreement,

 4      if they want to hide something, they hide it.              This does

 5      not result in any change whatsoever.

 6            We'll try (d).     Settling defendants agree that any

 7      cooperative member, affiliate, or associate of DFA, DMS

 8      in Order 1 may, during the term of this agreement,

 9      terminate its relationship with DFA or DMS upon no more

10      than 90 days without -- written notice without penalty.

11            This -- this is impossible for a cooperative member

12      to do.   If they leave DFA, DMS, they know very well that

13      upon completion of the settlement term, they're out of

14      business.    The only way to get the processors is by

15      going through DFA, DMS.

16            Looking down at the next section, we have the

17      disclosure that Settling defendants agree not to oppose

18      the request of subclass counsel to unseal and release

19      materials, including briefs and documents, regarding

20      plaintiffs' motion for certification subclasses and

21      defendants' motion for summary judgment.

22            This only touches a tiny portion of the docket.

23      And worse, back in section 6, we were told all claims

24      that were asserted or that could have been asserted as

25      part of this litigation are released.         So it does no
 Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 9 of 254
                                                                          9



 1      good for us farmers to know about these things if we

 2      can't do anything about them.

 3            There are other terms which involve DFA's internal

 4      considerations, things like having the Northeast Area

 5      Council look over our milk checks or the delegate

 6      election process.     But to ask DFA to consider activities

 7      and policies which it has already considered, it has

 8      already established, and it has already maintained is

 9      pointless.     This will not result in any change.

10            We are told that their financial reports need to be

11      prepared in accordance with GAAP, general accounting --

12      accepted accounting principles, and audited by a

13      national accepted accounting firm.        In fact, they

14      already are.     We have here a report from Ernst & Young,

15      DFA's 2012 audit.

16            But the point which I would like to address

17      regarding this requirement is that essentially they're

18      trying to weld a wooden hay wagon.        You can't fix an

19      antitrust violation with an audit of financial

20      statements.     In fact, I'm sure you are familiar with the

21      audit opinion, but I would like to read a couple

22      sentences to emphasize this point:        "These financial

23      statements are the responsibility of the company's

24      management.     Our responsibility is to express an opinion

25      on these financial statements based on our audits.           We
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 10 of 254
                                                                        10



 1     were not engaged to perform an audit of the company's

 2     internal control over financial reporting.          Our audits

 3     included consideration of internal control as a basis

 4     for designing audit procedures appropriate, not for the

 5     purpose of expressing an opinion on the effectiveness of

 6     the company's internal control or financial reporting.

 7     Accordingly, we express no such opinion."

 8           Because -- because this internal control provision

 9     is not currently done and was left out of the injunctive

10     relief, much of this audit oversight is left out.

11     Internal control is key to a company, and DFA has very

12     little of that.

13           I also noticed here down under (g)(iii), DFA board

14     members and senior executive management will continue to

15     execute annual conflict of interest certifications,

16     which are subject to review by DFA's own audit

17     committee.    Essentially, the fox is promising not to

18     raid the chicken coop again.

19           But the problem is not the conflict of the board

20     members and directors per se.        It's the conflict of the

21     organization which they are working for.          DFA both

22     processes and produces milk.        It's selling to itself and

23     creating -- that's where the conflict of interest is.

24     They waffle -- the material cost of their processors to

25     be lowest so that they can make as much profit as
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 11 of 254
                                                                          11



 1     possible upon that end.       That's the conflict of

 2     interest.     It's not the individual members per se.

 3           So with regard to cooperative change, to -- as I

 4     said, but I really wanted to emphasize, to require DFA

 5     to consider changing these practices, which it has

 6     already considered, maintained, and adopted, is

 7     pointless.

 8           This has been demonstrated by a lack of change

 9     following the Southeast settlement.         Now in the

10     Southeast, if you want to attend the Southeast area

11     council meeting, you need written permission, and you

12     may stay for only as long as required for you to speak.

13           We were speaking to a few of the Southeast farmers

14     about the organizational changes following their

15     settlement there, and one farmer was telling us about

16     this -- one of -- this change in the Southeast

17     farmer who ran for a Southeast area council seat and was

18     elected.     But after a little convincing by DFA, DMS, the

19     seat was filled not with the farmer who had won -- he

20     decided to drop out -- but the incumbent.          And then the

21     term changed from two years to three years.

22           This is -- this is not -- these release are not a

23     grant of significant economic relief going forward.

24     This -- this is nothing.       Our concessions are -- under

25     the release are legally binding.         DFA's are not.     This
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 12 of 254
                                                                         12



 1     is not equitable.

 2           And worse, the lack of meaningful market relief

 3     invalidates whatever monetary relief there is.              PI count

 4     spikes, which our milk inspectors tell us are

 5     unexplainable, and which are widely experienced unless

 6     you are a delegate, are a prime example.

 7           Over our objections, counsel negotiated away our

 8     request for independent milk testing.         Consequently,

 9     DFA, DMS can easily recover their monetary relief by

10     adjusting milk fees to reduce the amounts they pay out

11     in quality premiums.      In 2013, DFA alone, not DMS,

12     marketed 60.6 billion pounds of milk.         $50 million

13     amounts to 8 cents per hundredweight of that.

14           Now, over the past several months, us, Richard

15     Swantak and, to the best my knowledge, other DFA members

16     in the area have lost 50 cents of premium -- per

17     hundredweight of premiums, not 8, as a result of new

18     balancing fees which supposedly occurred because there

19     was too much milk in the order.

20           We have no -- we have no way of verifying that, as

21     farmers, especially since -- my father might just have

22     wanted to touch on this point, but we live five miles up

23     the road from the Chobani milk plant, and while there

24     was this oversurplus of milk, he couldn't -- he couldn't

25     get enough milk to keep his -- his plant at full
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 13 of 254
                                                                         13



 1     capacity.    It's -- it's not a good situation from our

 2     point.

 3           And because of this situation, Rick Smith was able

 4     to state, in his July member update, that, speaking of

 5     the settlement, this will not affect our operations in

 6     the least.    Taken at their own words, defendants are

 7     giving up nothing.

 8           Now, what the class is giving up:         Any reasonable

 9     settlement is by nature a compromise, plus the fact that

10     we must sacrifice some of our interests is a given.          The

11     reason this settlement stands out as unfair and

12     unreasonable is that it sacrifices all of our interests.

13           First, it sacrifices the class's case.          This is a

14     valuable asset to us because it has the potential to

15     recover some of what has been stolen from the class and

16     to bring an end to the illegal conduct which

17     countenances that.

18           We understand that the best-case potential monetary

19     recovery is a billion, 50 million dollars, treble

20     damages, and the -- the future nonmonetary value of

21     injunctive relief and fixing the industry problems which

22     caused this case is incalculable.

23           To surrender that at the eve of trial is a great

24     concession on our part.       To surrender it for, as we have

25     seen, nothing is hardly short of unconscionable
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 14 of 254
                                                                        14



 1     procedurally, because we have no bargaining power

 2     against our class counsel, and substantively, because of

 3     the one-sided terms.

 4           In exchange for these terms, which include a

 5     release which extends beyond both the time period and

 6     the subject matter of the claim, this class is not

 7     granted anything meaningful.        DFA can continue its

 8     current full-supply agreements, patiently waiting until

 9     the conclusion of the settlement period to punish any

10     farmers or cooperatives which dare to leave the fold,

11     and review its internal affairs to conclude that the

12     cooperative house already in perfect order.           Again, our

13     concessions are binding; defendants' are not.           That's

14     not equitable.

15           Second, it sacrifices our recovery.         This class was

16     ready to proceed to trial, seeking potential treble

17     damages, seeking over a billion dollars, best case.

18     Under the settlement, we are left with the value of one

19     tractor tire as compensation for 22-plus years of market

20     oppression.     True class action recovery on a class

21     member basis is typically somewhat small, but in this

22     case, we have a benchmark involving the same defendants

23     and the same conduct.

24           In the Southeast case, total recovery per farm,

25     before attorneys' fees, amounted to roughly $50,000.             In
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 15 of 254
                                                                       15



 1     the Northeast case, total recovery per farm, again,

 2     before attorneys' fees, if the settlement goes through,

 3     will be $6,666.

 4           Applying this measure of counsel's effectiveness,

 5     their percentage of recovery will be 4.4 percent, which

 6     is actually strikingly similar to the result in

 7     Goldberger versus Integrated Resources.          I don't know

 8     how -- I'm the sure the Court must have worked with this

 9     case before.     If I could provide the citation for that,

10     it would be appreciated.

11           Because I noticed two things in the Goldberger

12     opinion.     One thing which the court looked at was that a

13     lot of the work, which the attorneys were -- had

14     submitted in connection with the case, had already been

15     done for them.

16           In this case, the efforts of how they were in the

17     Southeast were benefited from by both Cohen Milstein and

18     BakerHostetler in the Northeast case, in addition to the

19     federal prosecutor work in 2004, with the investigation

20     back then.

21           And another thing was that the Goldberger court

22     found, because the likelihood of -- the likelihood of

23     nonpayment was slim, most of the defendants were

24     solvent, well-established individual entities, that did

25     not justify -- and, again, this is under -- upheld by
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 16 of 254
                                                                      16



 1     the Second Circuit Court of Appeals -- that did not

 2     justify an increase in the attorneys' recovery.

 3           But my point in this is that they would never

 4     settle for a slap in the face of 4.4 percent, and

 5     neither should the class be forced to.

 6           Now, in addition to these facts, I would like to

 7     bring the legal standard to bear.         In evaluating the

 8     settlement, I understand that the complexity of the

 9     expense and the likely duration of this case is

10     something the Court must consider.

11           I do not dispute this is a complex case.          The point

12     that I wish to emphasize is that much of this complexity

13     is in the past, not the future.        We are not facing the

14     hurdles of establishing a claim, dismissal, discovery,

15     summary judgment.      We are at the eve of trial.

16           It's not fair for us to give up our established

17     damage model, 341 million, for no injunctive relief, and

18     50 million, which, as I explained, DFA will recover that

19     at the drop of the hat.

20           And I'd also like to speak about -- as to the

21     reaction of the class.       There's two things I would like

22     to emphasize.

23           First of all, I would like to bring to the Court's

24     attention the fact that the more massive a farm is, the

25     more milk it ships with DFA or a co-conspirator plant,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 17 of 254
                                                                      17



 1     the higher incentive it has to come down on DFA's side

 2     of this settlement.

 3           One of our neighbors milking 2500 cows told us that

 4     he could not afford to risk opposing this because he

 5     needed a market for his milk.        If a friend among the

 6     higher-ups tells you you might want to send in a letter

 7     in support, you have a very strong incentive to do so.

 8     In fact, many of the letters in support, which I already

 9     expressed, just -- that the writer was not familiar with

10     the particulars of the case, they just wanted it

11     settled.

12           The second thing I wanted to bring up is that many

13     of the farmers who express support for the settlement

14     express concerns which were very similar to ours at the

15     beginning of the case.       We wanted -- we don't want the

16     attorneys to take advantage of this process, and we

17     wanted fundamental market change.

18           People are under the impression that the settlement

19     will provide fundamental market change, are less likely

20     to support it for the right reasons.         But the fact is it

21     doesn't.    None of these provisions will change the

22     market conditions, which we complained about initially

23     and which claim has withstood the hurdles of dismissal,

24     discovery, and summary judgment.         My point is that if

25     many of these farmers were acquainted with the facts as
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 18 of 254
                                                                        18



 1     we are, they would be on our side of the room.

 2           And I understand the risk going forward is a very

 3     great consideration.      And after discovery, we were ready

 4     to proceed with the -- seeking the $340 million in

 5     damages.     The council claimed that 130 million of this

 6     is most likely unrecoverable because it falls outside

 7     the statute of limitations.        And our pleadings do not

 8     include a fraudulent concealment claim to overcome that

 9     statute.

10           And I may be a mere law student, but my immediate

11     thought when I heard that was Rule 15(b).          Pleadings

12     are -- a liberal amendment of pleadings is allowed to

13     aid in the decision on the merits.         But at any rate, the

14     Court specifically allowed the class to bring this

15     fraudulent concealment claim at trial in the motion for

16     summary judgment, and I'd like to point out that, in the

17     situation where one party acts as a fiduciary of

18     another, fraudulent concealment is most easy to

19     establish.

20           All that requires, under strict liability, is that

21     the -- the fiduciary acted other than in the best

22     interests of the party represented.         That's easy to

23     establish for us because DFA and DMS does that every day

24     by, number one, processing milk; number two, by owning

25     import licenses.      They're trying to sell our milk.         Why
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 19 of 254
                                                                       19



 1     would they have import licenses to bring other milk in?

 2           So I would ask the Court to please question

 3     counsel's hastiness to discount that portion of our

 4     damages.    And the same applies to their hasty

 5     consideration of the settlement in light of the best

 6     possible recovery or, more accurately, in terms of the

 7     darkness of the intended risk.        Only as an afterthought

 8     do they mention the -- our best possible recovery in

 9     terms of injunctive relief.        That starts with the money,

10     and that's where it stays.

11           I have brought up a couple things which, from

12     discussions with my parents and the class

13     representatives and other folks, I think this is our

14     best possible recovery.       Because DFA acts other than for

15     the best -- best possible -- best interests of its

16     fiduciaries, it doesn't count as a cooperative for

17     purposes of Capper-Volstead Act.         Therefore, it should

18     be held liable for nonsolicitation agreements and

19     sole-supply agreements.       As we can establish, the value

20     of that is a billion dollars in treble damages.

21           Aside from that, the injunctive relief of agreeing

22     under penalty to provide for third-party voting, vote

23     counting, and third-party milk testing will solve a lot

24     of the problems which we farmers face.          These things

25     which, if our counsel -- if our counsel had worked with
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 20 of 254
                                                                     20



 1     us and listened to us, these are the things which would

 2     be on the table now, and we wouldn't be talking about

 3     nonexistent injunctive relief.

 4           The conspicuous absence of this, the entire

 5     positive half of the spectrum -- you see, my

 6     understanding is that we try to look at the best

 7     possible recovery for the class and the worst possible

 8     recovery, and then we have a spectrum upon which to

 9     evaluate how reasonable the settlement is.          The

10     conspicuous absence of the entire half of that spectrum

11     casts a lot of doubt on counsel's assertion that they

12     exercised professional judgment.

13           It seems to me that rather than arguing this

14     settlement is fair, reasonable, and adequate, they

15     argued, "We need this settlement; therefore, it's fair,

16     reasonable, and adequate."       And a mixup like that is

17     something you lose major points for on law school exams,

18     and it's our prayer that this would not be rewarded in

19     practice.

20           I also want to speak about the fact that when the

21     notice initially went out in December regarding the

22     settlement, it had the wrong phone number.          Farmers were

23     sent through a runaround before they even started.

24           And given that fact, and the fact that we had

25     Christmas and New Year's right up there plus our full
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 21 of 254
                                                                        21



 1     daily schedule, the fact that 500 claims were still

 2     filed is a testament not to the skill of the American

 3     lawyer but to the perseverance of the American farmer.

 4             You see, your Honor, I have to agree with my

 5     brother that when it comes for knowing what's best for

 6     the farmers, these attorneys are potatoes in a corn

 7     crib.    It -- from the class perspective, we have no risk

 8     going forward because this settlement leaves us with

 9     nothing left to risk.

10             The monetary payment is -- as I said, it's a

11     tractor tire for 22 years of market oppression, and the

12     injunctive relief, the key thing which we were looking

13     to get out of this lawsuit, which -- farmers against

14     this settlement and for this settlement, that's what

15     they are looking for -- it's not going to result in any

16     change for us.

17             DFA has already clearly violated the law here, and

18     we need to hold them accountable for that.          In January

19     2000, there were 18,000 farms in this Northeast order.

20     Today there's 12.      I don't dispute that defendants and

21     those closest to them were quite literally making out

22     like bandits, but this industry and the lives and

23     communities it represents is in serious trouble.

24             Defendants and class counsel do not share these

25     risks and consequently have a joint interest opposed to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 22 of 254
                                                                      22



 1     ours, yet this class could and still can get meaningful

 2     relief, and we ask that our attorneys will not be

 3     allowed to sell this out on us.

 4           In order to discard the settlement and achieve

 5     genuine fair, reasonable, and adequate relief for the

 6     class, our only hope is your position as its guardian

 7     and fiduciary.

 8           And I want to thank you very much for the time and

 9     the great honor of speaking on this issue.

10                   THE COURT:     Thank you.

11           Who else would like to speak?

12           Okay.    Come on forward.

13           If you would please begin by stating and spelling

14     your name.

15                   RALPH SITTS:     Your Honor, my name is Ralph

16     Sitts; R-a-l-p-h, S-i-t-t-s.

17                   THE COURT:     Mr. Sitts is a class

18     representative.

19                   RALPH SITTS:     Excuse me?

20                   THE COURT:     You are a class representative.

21                   RALPH SITTS:     Yes, I am.

22           Okay.    Thank you, your Honor, for this opportunity.

23           I have been a lead plaintiff from the beginning.         I

24     have six grandsons who we hope some of whom would carry

25     on the family farm to make five generations in dairying.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 23 of 254
                                                                            23



 1     I take my responsibilities to my family and my dairy

 2     farming seriously.      As you can see, I have a vested

 3     interest.

 4             A quick history, in my opinion, on how the dairy

 5     farming industry got to where it is today:

 6             At the very first, a few dairy neighbors got

 7     together to form a bargaining co-op to market their

 8     milk.    With the addition of other producers in this

 9     co-op, it became more difficult for dairy farmers to

10     find a time to manage its everyday operations.              Hence,

11     managers were hired, ultimately a CEO.

12             Some co-ops moved into petroleum sales, building

13     material sales, insurance, baking, et cetera, all from

14     the revenues generated from milk sales.          This is where

15     dairymen, in my opinion, who were members of the co-op,

16     should have demanded this money, instead of being

17     invested in these ventures, be returned to the dairy

18     farmers.

19             The basic rule of thumb in retail is to buy cheap

20     and sell high.     In this case, hold down the price of the

21     raw material milk and this would increase profits at the

22     retail end.     These CEOs knew this, and where it failed

23     was that the co-ops did not return the profits back to

24     the dairymen.     The CEOs and the boards made profits for

25     the co-ops, but they did not return these profits in the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 24 of 254
                                                                      24



 1     milk checks to the farmers.

 2           In the Dean settlement which was consummated during

 3     the holiday season, we were coerced into an agreement.

 4     We were discouraged from interaction among plaintiffs.

 5     The olds adage of divide and conquer applies.

 6           In the Dean settlement, we were told the settlement

 7     on the table is our only option, a one-time deal that

 8     must be agreed to immediately.        If we consent to this

 9     settlement, it will send a favorable precedent in the

10     DFA case, which will be for more injunctive reliefs and

11     for hundreds of millions of dollars.

12           To help with certification of the class, we must

13     sign now.    All this, despite the discovery process had

14     yet to be completed.      On a conference call, we were told

15     by our counsel that there were -- should be no

16     interaction between plaintiffs in regards to this case

17     without attorneys present, insinuating we could face

18     possible legal action.

19           In February, on Thursday, December -- or I'm sorry.

20           In fact, on Thursday, December 23rd, 2010, the day

21     the Dean settlement was filed, our counsel -- our

22     counsel contacted us individually, Ralph and Garret

23     Sitts on one line with one lawyer, and Alice Allen on

24     another line with another lawyer.         Prior to this, any

25     settlement discussions were handled as a group
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 25 of 254
                                                                     25



 1     conference call.      We were unable to hear what was being

 2     said to or being said by Alice Allen, the other lead

 3     plaintiff.

 4           On this call, after a lengthy and heated discussion

 5     with counsel, it became obvious to us that our counsel

 6     was not going to honor our settlement points and the

 7     settlement was a done deal.        This was totally unfair to

 8     the class.    We felt that we, the class rep, should stand

 9     our ground in the face of this coercion, but since

10     counsel had informed us earlier that we could not

11     discuss the case amongst ourselves without an attorney

12     present, we understood that we couldn't do anything

13     without unknown repercussions.        So under this

14     misrepresentation we agreed to the settlement.

15           Fast-forward to the DFA, DMS suit.         I learned to be

16     successful -- I learned in farming to be successful you

17     can't make the same mistake twice.         I soon became aware

18     that some of the tactics that were used in the Dean

19     settlement was being repeated in our counsel and used us

20     in this settlement.      It was like a page from today's

21     government:     Hurry up and sign this and read what's in

22     it later.

23           Maybe somewhere in law school there is a course in

24     Class Action Suit 101 with a guideline because we, the

25     plaintiffs, became aware of similar tactics by our
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 26 of 254
                                                                         26



 1     lawyers as in the Dean settlement.         My father told me

 2     many years ago, Fool me once, shame on you; fool me

 3     twice, shame on me.      The warning signs were there.

 4           We, as plaintiffs, fully appreciate the time and

 5     resources our counsel has dedicated to this case.           Our

 6     counsel will undoubtedly move on to the next case with

 7     no fear of their livelihoods or futures being

 8     jeopardized.

 9           The defendants in this case -- which was written by

10     our counsel and DFA without us, the plaintiffs, being

11     present at the table -- have these protective

12     provisions:

13           Section 1, paragraph 1.17, under Released Parties,

14     and I quote, means the settling defendants, their

15     predecessors, successors, parents, subsidiaries,

16     affiliates, representatives of any kind, all entities

17     which they have an ownership interest, shareholders,

18     partners, members, owners of any kind, attorneys, and

19     any and all past and present officers, directors,

20     employees, managing agents, and controlling persons of

21     such entities, including any past or present officers of

22     these parties originally -- originally named as a

23     defendant, but not any other defendant, end of quote.

24           Section 6, paragraph 6.1, line four, and I quote:

25     Release and Covenant Not to Sue:         Parties shall be
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 27 of 254
                                                                     27



 1     deemed to have, and by operation of the judgment shall

 2     have, fully, finally, and forever released and

 3     discharged all released claims against the released

 4     party, shall have covenanted not to sue any of the

 5     released parties with respect to all released claims,

 6     and shall be permanently barred and enjoined from

 7     instituting, commencing, prosecuting, or asserting any

 8     released claims against any of the release parties, end

 9     of quote.

10           This is totally unfair and unreasonable to the

11     class and the class members' ability for current or

12     future questions or actions to DFA.

13           As for the lead plaintiffs, under section 7.3,

14     letter (i), and I quote:       Settling defendants agree they

15     will not discriminate or retaliate, or cause

16     discrimination or retaliation, of any kind whatsoever in

17     response to the participation in support of the subclass

18     representatives or any other farmer in this action, end

19     of quote.

20           A very noble gesture.      But without any changes in

21     their control of our milk check and DFA owning the labs

22     that test our milk, how will we defend ourselves, and

23     who will be there to make sure we are treated fairly?

24     We have asked for independent lab testing but with no

25     results.    Again, DFA maintains complete control.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 28 of 254
                                                                      28



 1             The lawyers have used our names, our reputations.

 2     We have been vilified to our neighbors and fellow

 3     co-ops, fellow producers.       The co-ops have threatened

 4     our safety and livelihood.       The co-ops control our milk

 5     checks, their laboratories that test our milk

 6     for bacteria, drugs, protein, and butterfat.           In short,

 7     they, DFA, could put us out of business tomorrow.

 8             Yet collectively, what we may receive above the

 9     class hardly seems equitable or fair given the facts

10     that our businesses and livelihoods could be ruined.           We

11     have spent many hours on this case, and we feel the

12     absence of similar guarantees and protections, as the

13     defendants, that the monetary compensation for the lead

14     plaintiffs is inadequate and should be more in line with

15     our risks.

16             Your Honor, I would just like to say, as an entire

17     class, we help feed the world and are stewards of the

18     land.    My son, Garret, and myself did not enter into

19     this lawsuit with a monetary award in mind.           The fact --

20     that fact was entered into the record for us by the lead

21     plaintiffs -- that fact was entered into the record for

22     us, the lead plaintiffs, by Attorney Kit Pierson, at the

23     Dean settlement fairness hearing.

24             We entered into this process as a fourth option.

25     The co-op, which myself was a member for several years,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 29 of 254
                                                                   29



 1     was our first.     Questions to Clyde Rutherford and Rick

 2     Smith at co-op meetings were handled with ridicule and

 3     avoiding the issue.

 4           Our next step, the executive branch, we were told

 5     the enormity and perplexity of the case was beyond the

 6     scope of their control.       In the legislative branch, our

 7     representative gave us an ear, but anything that was

 8     helpful failed to materialize -- materialize.

 9           Our last hope is the judicial branch.         These

10     decisions made today may not be earth-shattering, but

11     they will affect all dairies -- all size dairy farms

12     severely.    The small- and mid-sized farms could be

13     devastated because of their limit to acquire capital and

14     the reality that they must market their milk through a

15     co-op.

16           The defendants, DFA, who control the milk price,

17     the cost of hauling, premiums paid on protein,

18     butterfat, et cetera, they also control marketing and

19     hauling costs and other deductions, for whatever the

20     co-op deems necessary, at the co-op's discretion.

21           The defendants also control the labs which test for

22     bacteria and drugs, which with a positive test could

23     result in an individual paying for a load of adulterated

24     milk, $20,000 plus, or a loss of market completely.

25           In conclusion, your Honor, I strongly urge that
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 30 of 254
                                                                      30



 1     this settlement be denied.       It is unfair to the class

 2     because DFA admits to no wrongdoing and is forever

 3     protected from any further actions.         It is unreasonable

 4     because DMS still writes the checks -- Dairy Marketing

 5     Service still writes the checks and controls the milk

 6     for thousands of non-co-op members.         And it is

 7     inadequate because the injunctive reliefs do very little

 8     to change DFA's operations.

 9           And the monetary award is one-third of the

10     Southeast/DFA lawsuit settlement.         In the Southeast,

11     there were only 6,000 producers, compared to 12,000 in

12     the Northeast.     Therefore, one-third of the money is

13     spread over twice as many producers.         Mathematically,

14     DFA has a sweetheart deal.

15           The cooperatives have been an integral part of the

16     dairy industry.     Through the years, cooperatives have

17     made many positive moves for the dairy farmers, but DFA

18     and DMS have stepped beyond the definition of a co-op.

19     We feel that with DFA and DMS's current monopolistic and

20     monopsonistic practices, this allows for egregious

21     controls over dairy farmers.

22           DFA and DMS have become judge and jury over our

23     livelihood.     Your Honor, there are many points, much of

24     which will be addressed by the other lead plaintiffs and

25     class members, as to what is unfair and what is
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 31 of 254
                                                                      31



 1     unreasonable with DFA and DMS.        Two issues that must be

 2     resolved:     DMS, Dairy Marketing Services, must be

 3     abolished.

 4           Without DMS control of non-co-op members' milk,

 5     DFA's full supply contracts will be very tough to meet,

 6     thus allowing for more competition and, one would hope,

 7     a better price for dairymen.

 8           Dairy farmers who consciously made a choice not to

 9     join DFA should not have their laboratory work or their

10     milk check controlled by DFA and DMS.         In conjunction

11     with this, there has to be independent lab testing for

12     all dairymen to remove any chance of or any suspicion of

13     improprieties by DFA and DMS.

14           Thank you, your Honor, for giving me a chance to

15     speak.

16                  THE COURT:   Thank you.     Who would like to

17     speak next?

18                  RICHARD SWANTAK:    I will.

19                  THE COURT:   So, again, if you will just state

20     and spell your name first.

21                  RICHARD SWANTAK:    My name is Richard

22     Swantak, S-w-a-n-t-a-k.

23                  THE COURT:   And Mr. Swantak is also a class

24     representative.

25                  RICHARD SWANTAK:    Good morning, your Honor,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 32 of 254
                                                                     32



 1     and all present.

 2             We are a fourth-generation dairy in Delaware

 3     County, New York, that is geographically located in the

 4     northern Catskills.      After graduating college in 1968,

 5     receiving a B.S. in business administration with a major

 6     in accounting and personnel, I returned to the farm and

 7     worked with my parents until 1977 when I purchased the

 8     farm.

 9             I have watched dairy farm numbers dwindle in

10     Delaware County from 598 in 1982, producing 414 million

11     pounds, to 157 farms in 2007, producing 157 million

12     pounds.    Out of my three neighboring farms, two have

13     exited in 2014; and the third, in all likelihood, will

14     be gone this year as the three brothers and one sister's

15     average age is 70, and their health issues have become

16     insurmountable.

17             Also important to note that the average age of the

18     American dairy farmer is greater than 57.          Dairy farmers

19     are reluctant to advise their children, families, to

20     continue or to enter the dairy business as their

21     experience has proven the milk price over the decades

22     struggles to approach the cost of production.

23             I have watched neighboring farms, myself included,

24     look the other way, ignore their buildings' repair, keep

25     corn planters, choppers, tractors, and so many pieces of
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 33 of 254
                                                                   33



 1     equipment, 20, 30, 40, and 50 years, so as to hopefully

 2     hang on.     At the same time, we observe inspectors'

 3     vehicles that visit the farm are nearly brand-new

 4     vehicles.

 5           Also interesting for all here, I was not a

 6     representative in the Northeast/Dean settlement but

 7     found it notable to read that the DFA, DMS executives

 8     state that, quote, A small, one-time cash payment is far

 9     overshadowed by the long-term negative impact to

10     farmers' wallets.      Exhibit 1.

11           And to familiarize some of youse who may not

12     realize it, the Northeast/Dean settlement was 30 million

13     for 12,000-plus producers, where the Southeast

14     settlement was 140 million for 6,000 producers.

15           Also interesting was an article in the Wall Street

16     Journal in 2011 titled, "Farmers, Milk Buyers Settle

17     Antitrust Suit."      In the article, the last sentence

18     states:     Mr. -- in quotation marks -- excuse me.

19     Mr. Smith said the settlement would not hurt the

20     cooperative which has cash to pay the 158.6 million.

21           I am not impressed with our class counsel stating

22     the burdensome pioneer work they have done in this -- in

23     this suit as it appears that many of the same law firms

24     and attorneys were major players in the Southeast dairy

25     settlement, totaling 303.6 million with only half the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 34 of 254
                                                                        34



 1     number of producers.

 2           In 2014, I have watched my additional premium

 3     dwindle from 44 cents in February to zero as of

 4     November.    Also, my BST-free premium of 13 cents has

 5     dropped to 6 cents.      Those 51 cents are -- needed by the

 6     dairymen are likely to be a factor in the continuing

 7     downward numbers of operating dairy farms in the

 8     Northeast.

 9           A friend from Columbus, Ohio, called me this past

10     fall asking if the growth hormone was still being used

11     in Grade A whole milk.       I replied, "I'm not sure."     So

12     without question, the public does have concern, if

13     growth hormones are being used, why -- why lowering the

14     premium?

15           On January 8th, I did call DMS 800 number in

16     Syracuse and got nothing but an answering machine.          I

17     left two questions:      One, why have premiums been dropped

18     or lowered; and, two, why hasn't hauling costs dropped.

19           The next day I received a call and was told that

20     there was too much milk, and they were considering

21     dropping 41 producers, and that hauling takes a few

22     months to show up on the milk jug.

23           I often listen to the NPR radio and heard a

24     trucking firm owner being interviewed this past

25     December, and he was asked about his thoughts on the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 35 of 254
                                                                       35



 1     substantial drop in fuel prices.         He explained that he

 2     was able to order 15 brand-new trucks, something he was

 3     never able to consider before.

 4           Many news media sources have interviewed citizens

 5     around the United States asking how they have been

 6     affected by the significant plummet in fuel prices over

 7     the past six months.      It has been much of the same

 8     opinion that they are thrilled to have the additional

 9     money that was always spent on fuel now in the pots for

10     other needs.

11           I did have collective bargaining in my college

12     courses, however, I don't think one needs those credit

13     hours to recognize that here we go again as dairy

14     farmers being the last to reap the positive effects of

15     $45 oil compared to $100 oil.

16           Another concern of utmost importance is the need

17     for an independent laboratory to do the milk testing.

18     Over the years, I have had several farmers mention to me

19     that they were not happy with their butterfat test as it

20     often was two- to three-tenths lower than their DHI

21     records supported.

22           In addition, the last several years, most dairy

23     farmers have been upset by sudden spikes in a bacteria

24     test called PI, preliminary incubation.          This figure

25     seems to spike for no apparent reason on many farms, and
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 36 of 254
                                                                            36



 1     it takes away the average quality numbers that are

 2     needed to receive a quality premium.         When asking our

 3     inspectors what causes these sudden increases in PI

 4     counts, or even what is the PI count, we are given an

 5     answer that -- an answer that they themselves can't

 6     really explain what the test consists of.

 7           I would not feel I have represented my 12,000-plus

 8     class producers fairly if I were to go along with this

 9     fraction of the settlement that the Southeast Orders 5

10     and 7 received of 300.6 million for 6,000 producers.

11     Being beat up on the small Dean settlement of 30

12     million, I don't feel comfortable allowing DFA and DMS

13     to slap the Northeast dairymen harder and more abusively

14     than ever with a 40-million settlement that should be

15     more in line with a 250-million settlement minimum.

16           I also think the DF -- that -- excuse me.             I also

17     think that DFA and DMS executives will feel better of

18     their settlement if it is more in concert with the

19     Southeast settlement's monetary numbers in total.             The

20     Dean Foods managers will not be able to read on their

21     computers the small settlement that DFA and DMS gave

22     their Northeast producers.       With a fine comparable

23     settlement, I believe it should be a strong building

24     block of trust needed to help secure the existence and

25     good relationship that we, as producers, seek.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 37 of 254
                                                                          37



 1             The United States citizen has been blessed with a

 2     quality dairy product, as well as abundance.            Only the

 3     seven-day hard work and responsibility of the dairy

 4     producer has this been possible.          If we here in the

 5     Northeast erode the fortitude and good will of the

 6     American dairy farmer, we will have done an injustice to

 7     all.

 8             And then I just added this last note:       I am hoping

 9     the sunshine I experienced walking in this courthouse

10     this morning will help shed light on this case.

11             Thank you, your Honor.

12                    THE COURT:   All right.     Thank you.

13             Does anybody else want to speak?

14             Yes.

15                    GARRET SITTS:   My name's Garret Sitts,

16     G-a-r-r-e-t, S-i-t-t-s.        I am a named class rep.

17             Hello, your Honor.     My name is Garret Sitts.       I

18     would like to make it very clear that I would be willing

19     to accept a settlement that offered real market relief

20     over going to trial.

21                    THE COURT:   I am going to ask you to move a

22     little bit closer to the microphone, and -- you are soft

23     spoken like me, so really project your voice.            Okay?

24                    GARRET SITTS:   Okay.     You want me to start

25     over?    I am not --
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 38 of 254
                                                                      38



 1                 THE COURT:    No, I heard you.

 2                 GARRET SITTS:     I am not a public speaker.      I'm

 3     sorry.

 4                 THE COURT:    You're doing fine.      Go ahead.

 5                 GARRET SITTS:     Sorry.   I will just start --

 6     I -- I would like to make it very clear that I would be

 7     willing to accept a settlement that offered real market

 8     relief over going to trial.        I did not enter into this

 9     litigation looking for a monetary award, and what I am

10     looking for is market relief, a market that is not

11     controlled and manipulated by the defendants.

12           Some issues I have with the proposed settlement,

13     the relief:     Section (a). Settling defendants, during

14     terms of this agreement, will not enter into full-supply

15     agreements for the supply or sale of raw milk in

16     Order 1; however, settling defendants retain the right

17     to renew existing full-supply agreements.

18           The defendants currently have a monopoly on plant

19     access, and this provision allows the defendants to

20     maintain that monopoly by renewing existing full-supply

21     agreements.     No relief.

22           Paragraph -- or section (d) of the relief:

23     Settling defendants agree any cooperative member,

24     associate, affiliate of DFA, DMS, in Order 1 may, during

25     the times of this agreement, terminate its relationship
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 39 of 254
                                                                        39



 1     with DFA, DMS upon no more than 90 days' written notice

 2     without penalty.

 3           I believe this needs to include language that

 4     allows processors to terminate their relationship

 5     full-supply agreements with the defendants as well.             So

 6     if the defendants are allowed to maintain their monopoly

 7     on plant access, the farmer who chooses to terminate

 8     their membership, relationship with the defendants will

 9     have their access to plants blocked by full-supply

10     agreements.     The end result is the producer is not going

11     to be able to leave because they will not be able to

12     find a market for their milk.

13           Perhaps the most outrageous section of this

14     settlement to me is the release of claims.          The named

15     defendants are DFA and DMS.        Why did their employees,

16     subsidiaries, joint ventures, partners, et cetera, need

17     to be released from legal liabilities?          My question is,

18     what have they done?

19           I challenge the attorneys on both sides to produce

20     a class action settlement approved with a release of

21     claims as broad and encompassing as this one.           Where is

22     the precedence?

23           In paragraph (i), Settling defendants -- that they

24     will not discriminate or retaliate, or cause

25     discrimination or -- of any kind whatsoever in response
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 40 of 254
                                                                       40



 1     to the participation support of the subclass

 2     representatives, and any -- or any other farm -- farmer

 3     in this action.

 4           My question is who bears the burden of proof?         Who

 5     will enforce this?      The fact is the defendants own --

 6     own Dairy One, a milk quality testing lab, which is used

 7     to test producers' milk quality, which results affect

 8     producers pay price via premiums.         I strongly believe

 9     the defendants use their ownership and control of Dairy

10     One to control, intimidate, and eliminate troublemakers,

11     which this settlement fails to address.

12           An example:     Our farm was a member of DFA from 1998

13     through 2007.     In that time period, we were very

14     critical and outspoken of the defendants' business

15     practices.    In late 2007, we left DFA and began shipping

16     to Worcester Creameries.       At that time, Worcester

17     Creameries was the only processor in our geographical

18     area that was not affiliated with the defendants.

19           In the time that we were members of DFA, we had

20     three spoiled loads of milk, a minimum of 25 illegal

21     bacteria PI, somatic cell, et cetera, counts resulting

22     in tens of thousands of dollars in lost income.

23           We became members -- or started shipping with

24     Worcester Creameries in late 2007.         From 2007 to date,

25     we have had zero spoiled loads of milk, zero illegal
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 41 of 254
                                                                       41



 1     counts, and this is over seven years with zero milk

 2     quality issues.     I have changed nothing, your Honor.         I

 3     still do the same -- milk the cows and handle the milk

 4     the same way.

 5            One of the defendants' employees has even gone as

 6     far as to tell my neighbor not to associate with me

 7     because I really F'd things up and I may disappear one

 8     day.

 9            The Dean settlement:     We were unhappy with the Dean

10     settlement because the lawyers were willing to settle

11     before the discovery process was completed.           We were

12     told by our attorneys that Dean's market share was only

13     30 percent and we had a weak case, and that's why we

14     needed to settle.

15            We did not believe this.      We believed their market

16     share to be more like 70 to 90 percent.          We acquired

17     maps from the market administrators of plants,

18     locations, plants' IDs, compared them to the

19     spreadsheets that the attorneys had.         The maps from the

20     market administrator clearly pointed out that they had

21     left out a large number of plants.         We tried to point

22     this out to the attorneys.       They were unwilling to

23     accept it.

24            We were led to believe that it was illegal to

25     discuss the case without counsel present.          On the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 42 of 254
                                                                          42



 1     conference call when the settlement was filed, the day

 2     of the settlement was filed, one of the lawyers went on

 3     a rant of profanity and threatened us.

 4           We were discouraged from attending our fair -- the

 5     fairness hearing.      I was later told by a man, John

 6     Bunting, who is pretty instrumental in putting these

 7     cases together -- in my opinion, he is an expert -- that

 8     after preliminary approval of the Dean settlement and

 9     before the fairness hearing, Cohen's expert that did the

10     market share on Dean contacted them and told them that

11     they grossly underestimated Dean's market share.            This

12     was never passed on to us.

13           In the last conference call with the DFA settlement

14     we had, we were informed that they -- they did not have

15     to have our support to file.        We demanded the reasons

16     for our objections be attached to the filing.           We were

17     told no, they would not.       I believe if that was done,

18     that would have saved us all a lot of time and

19     aggravation.     They did tell us that our objections would

20     be made more than clear to you.        Your order denying

21     preliminary approval was obvious those questions were

22     not made more than clear to you.

23           So on July 14th, Jonathan and Claudia Haar, Richard

24     Swantak, Ralph Sitts, Garret Sitts, and Alice Allen on a

25     speakerphone, met to draft opposition to the proposed
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 43 of 254
                                                                      43



 1     settlement in response to the questions raised in the

 2     denial of preliminary approval.        At no time did Alice

 3     Allen express opposition to this document.          In fact,

 4     Alice had suggested things that -- things to be included

 5     and they were.

 6           Later that day, the final draft of that document

 7     was e-mailed to Alice Allen for her review.           July 15th,

 8     in the morning, I spoke with Alice, and at that time she

 9     was okay with the contents of the document and was okay

10     with it being filed.      We sent it to the attorneys and

11     demanded it be filed.      We were told it would be

12     submitted.    It was submitted in camera.        We did not ask

13     for it to be submitted in camera.

14           Because it was submitted in camera, we had no way

15     of verifying that was our actual document, our actual

16     words.    We were told by the clerk that there was

17     something submitted in camera.

18           I have an e-mail here from one of the attorneys to

19     Ralph and Alice and Vera.       It says, As we previously

20     informed you, the statement regarding the settlement

21     prepared by some of you was delivered to the court on

22     July 23rd to be filed in camera to preserve the

23     confidentiality of attorney/client communications

24     referenced in the settlement -- or the statement,

25     rather.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 44 of 254
                                                                     44



 1             In subclass counsel's response, Yesterday the

 2     court's clerk contacted us and relayed that Judge Reese

 3     (sic) would rather not view attorney/client

 4     communications, and that subclass counsel providing a

 5     simple statement regarding the basis of class

 6     representatives' opposition to the proposed settlement

 7     would suffice for Judge Reese.

 8                  THE COURT:   So it's "Judge Reiss," but that's

 9     okay.

10                  GARRET SITTS:    Sorry, I'm -- I'm sorry.

11                  THE COURT:   That's all right.

12                  GARRET SITTS:    I'm nervous.

13                  THE COURT:   That's all right.

14                  GARRET SITTS:    Pursuant to the court's

15     request, sub counsel prepared the attached simple

16     statement to be filed in supplement to the July 23rd

17     submission:     Please feel free to call if you have any

18     questions.

19             According to the clerk's office, there's no record

20     of that communication.

21             And then I have one last thing that really blows my

22     behind.    It's a statement from DFA.       It was released

23     after the denial of preliminary approval.          It was

24     written by Brad Keating, K-e-a-t-i-n-g.          He is the chief

25     operating officer of DFA's Northeast dairy.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 45 of 254
                                                                         45



 1           It says, Statement:      DFA explains objections filed

 2     in Northeast lawsuit.      Dairy Farmers of America,

 3     Incorporated, and Dairy Marketing Services, LLC, have

 4     defended ourselves since this lawsuit was filed in 2009,

 5     and we continue to do so.       This lawsuit has no merit.

 6           The activities of DFA, DMS, and other affiliated

 7     milk marketing cooperatives in the Northeast improve pay

 8     price and stabilize the milk marketing for cooperative

 9     members and independent producers alike.          As a

10     farmer-owned cooperative, we worked hard to ensure the

11     success, profitability of dairy farmers.          It is our

12     responsibility and obligation to act in their best

13     interests.    We take this very seriously.

14           The proposed settlement recently announced by the

15     plaintiffs' attorneys, who represent some of our

16     members, as well as dairy farmers who market milk

17     through DMS, cause us serious concern.          The proposed

18     settlement demonstrates the best interest of dairy

19     farmers are not being given full consideration.             The

20     settlement favors one segment of the class at the

21     expense of others, creating winners and losers by giving

22     market access to some and taking market access away from

23     others.    This is a clear conflict of interest by

24     plaintiffs' attorneys.

25           Additionally, despite reports that this settlement
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 46 of 254
                                                                         46



 1     is an economic windfall for dairy farmers, we believe

 2     that, if approved, the settlement has the potential to

 3     harm all producers in the Northeast effectively by

 4     lowering market price for milk.

 5           My question is, do we have a settlement,

 6     your Honor?     It seems to me the defendants have

 7     withdrawn and publicly trashed the settlement.              I would

 8     like to know who ordered Mr. Keating to write this, to

 9     disseminate it, and for what reason?

10                   THE COURT:    Thank you.

11                   GARRET SITTS:    Would you like --

12                   THE COURT:    Yeah, if you would like -- we will

13     make sure that we have copies for everybody, and

14     we'll -- if you want to submit it, we will take it.              So

15     you can approach, and Miss Ruddy will take it from you,

16     and she will make copies on our break.

17           And this is about a good time for a break, so we

18     take one midmorning, 10 to 15 minutes, and then we will

19     come back and see if anybody else wants to be heard.

20           Anything further before we take our break?

21           Okay.    Thank you.

22     (Court was in recess at 10:38 a.m.)

23     (The following was held in open court at 10:52 a.m.)

24                   THE COURT:    We are back on the record in Alice

25     Allen, et al., versus Dairy Farmers of America, et al.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 47 of 254
                                                                    47



 1     And we are in our fairness hearing.

 2             And let me ask if we have any members of the class

 3     who also want to speak?

 4             Yes.   And would you --

 5                    MIKE EBY:    Yes, my name is Mike Eby.

 6                    THE COURT:    And could you spell your last

 7     name?

 8                    MIKE EBY:    E-b-y.

 9             Dear United States District Court for the District

10     of Vermont:

11             I am the seventh-generation Lancaster County,

12     Pennsylvania, dairy farmer and member of Land O'Lakes

13     cooperative marketing Grade A in Federal 1 throughout

14     the entirety of the time period covered by the proposed

15     Northeast dairy settlement.

16             In the interests of the ability for future

17     generations to continue my family's dairy farming

18     tradition, I strongly object to the proposed settlement

19     of this case.      I have brought my eighth-generation son

20     along with me today to show the importance of this

21     matter.

22             My objection is based upon the following reasons:

23     First, the amount of the proposed settlement is

24     $50 million or approximately 16 cents per hundredweight.

25     This insignificant amount falls way short of the actual
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 48 of 254
                                                                     48



 1     alleged damages caused by DFA, DMS anticompetitive

 2     behavior.

 3           The damage amounts calculated by Dr. Kalt and

 4     Rausser range from 41 cents to 69 cents.          And just as a

 5     comparison, I brought my Land O'Lakes 2003 milk check

 6     with me, which was one of the lowest years during the

 7     time period of dairy farming for me, in the amount of

 8     $10.80 for my mailbox price.

 9           By the nature of the scrutiny expected, these

10     calculations of 41 to 69 cents are themselves very

11     conservative and would be considered a settlement.          The

12     same defendants in the recent Southeast case paid their

13     members approximately 300 million as compensation for

14     the same anticompetitive behavior.

15           Second, the -- more important than the dollar

16     amount is the accountability for the exoneration from

17     the behavior alleged in the suit that will only occur if

18     the case goes to trial.       As dairy farmers, we need to

19     have confidence that our farmer-owned cooperatives truly

20     act in our best interest.       The information that would

21     come out in a trial or be buried in a settlement is

22     vital to the confidence.       This should not be an option

23     for the defendants to pay a relatively small settlement

24     fee for the privilege of continuing business as usual.

25           And I'd like to read that last sentence again:         It
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 49 of 254
                                                                        49



 1     should not be an option for the defendants to pay a

 2     relatively small fee settlement for the privilege of

 3     continuing business as usual.

 4           Thank you, your Honor.

 5                  THE COURT:     Thank you.

 6           Somebody from that same row?

 7           Yes.

 8                  ALICE ALLEN:     Thank you, your Honor.        My

 9     name is Alice Allen.      And unfortunately, I need to read

10     so I don't draw a blank here.

11           My name is Alice Allen.       I began milking cows for

12     my neighbors in 1964.       Milking cows helped pay my

13     tuition through four years of college at the University

14     of New Hampshire.

15           In 1973, upon receiving my bachelor's degree in

16     dairy science from UNH, I began raising dairy heifers on

17     a rented farm to start my own herd.         I started shipping

18     milk in July of 1975 to HP Hood in Boston.

19           In 1983, as a member of a then-young dairy farmer

20     association, we began our first milk marketing study

21     group.    For the past 30 years, this group, in one form

22     or another, has succeeded in bringing nationally

23     respected speakers to our meetings to help dairy farmers

24     educate ourselves on marketing issues such as dangers of

25     massive consolidation, monopoly, monopsony, and possible
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 50 of 254
                                                                   50



 1     conspiracy.

 2           With expressed interest from our legislators, I was

 3     asked to go to Washington, D.C., in the late summer of

 4     2001 to meet with staff of House and Senate Judiciary

 5     Committee members to detail the market-related struggles

 6     of Northeast dairy farmers.        We Northeast dairy farmers

 7     had high hopes that the federal government would in some

 8     way intervene and begin enforcing regulations such as --

 9     Capper-Volstead and the historical portions of the

10     agriculture adjustment acts dating back to the 1930s.

11     There was much discussion but very little positive

12     action from our government.

13           The proposed settlement is not perfect and not all

14     I might have hoped for.       And I am not going to argue

15     with anything that the other named plaintiffs said, as I

16     am a named plaintiff in the non-DFA subclass.

17           The settlement is a compromise between both sides.

18     And there are risks to both sides in going to trial.

19     And the reason it seems that I had to disagree with my

20     co-class reps is, when we were going to have a unified

21     front and fight the settlement, I had great anxiety

22     about it, knowing that going to trial might not serve

23     our farmers any better.

24           I had such upset about it that I went to see my

25     regular lawyer, Bob Gensburg in St. Johnsbury, Vermont,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 51 of 254
                                                                       51



 1     who has been following the case and also knows me

 2     from -- from years of dairy farming.         And he said, "If

 3     the court wanted only one opinion, there would only be

 4     one named plaintiff.      You have to go with what you

 5     believe and how you believe you can best represent your

 6     farmer neighbors, to the best of your ability."

 7           So at that point, I had to say that I was going to

 8     support the settlement.       It was not a perfect settlement

 9     by any stretch of anyone's imagination.          But I also have

10     to say that this is the first time in my career and

11     life, having been involved in dairy long before I was

12     old enough to milk cows -- this is the first time we

13     have made it this far.       And I think farmers need to

14     realize that we wouldn't be this far without the late

15     John Bunting having been a very articulate and dedicated

16     dairy farmer who understood these issues and had the

17     ability to bring these issues to the firm of Cohen

18     Milstein, who agreed to take the case.          John passed away

19     in November, and he is a loss to all of us.

20           But I do believe that the issues that are now

21     public record through this case are very, very important

22     for farmers to pay attention to.         I am disappointed that

23     there aren't more farmers in this room on either side.

24     I think -- I have seen more farmers at a machinery

25     auction than I am seeing here.        That may be partly due
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 52 of 254
                                                                         52



 1     to the fact that the dairy day of the Vermont Farm Show

 2     is today.    I'm not sure.

 3             But I believe that the really -- the only way for

 4     farmers to have a say in this is to become very, very

 5     educated and to know that the facts, that have been

 6     brought out through this case need to be understood by

 7     all farmers; that we can't just fight amongst ourselves,

 8     that we have to create a better cooperative.           And I am

 9     at a loss to say how to do that except by being

10     involved.

11             I have been involved as much as I could my entire

12     life.    And my farmers that I worked for in the early

13     days encouraged me to get involved and stay involved,

14     hence the milk marketing study group.

15             And I know that there needs to be more structural

16     relief, but I still do believe that this being the first

17     and only time that Northeast farmers have gotten this

18     far, it's a very important milestone that we should not

19     neglect, that we should not downplay.         It should be an

20     honor that we have gotten this far.

21             I have talked with several of the named plaintiffs

22     in the Southeast case.       That case, yes, it got more

23     money for those farmers, but the case had a lot of

24     different facts than our case.        It was a different --

25     different case altogether, as I understand it from those
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 53 of 254
                                                                   53



 1     named plaintiffs.      They're impressed that we have gotten

 2     this far in the Northeast, knowing what they have

 3     learned about our case.

 4           While I would like a better settlement, I know

 5     there is no guarantee that we would prevail at trial.

 6     Having steadfastly remained committed to this case by

 7     representing the best interests of Northeast dairy

 8     farmers, I still -- in spite of everything I am hearing

 9     today, I do not believe justice would be any better

10     served for Northeast dairy farmers by going to trial.

11     Not only is the outcome of the trial uncertain, but I do

12     not believe that the Court is in a position to take over

13     the management of milk marketing in the Northeast.

14           What I do believe, as I said before, is for any

15     positive changes to occur in dairy marketing in the

16     future, farmers themselves -- each and every dairy

17     farmer -- must become involved.        You are more

18     involved -- we are all more involved in our dairy

19     genetics, in our farm machinery, and growing crops, but

20     milk is what we survive on.        The income from selling our

21     milk is the most important thing.

22           We need to take a more active role and not just

23     leave it up to the few who have spoken here who are

24     trying their best to bring relief to the Northeast dairy

25     farmers.    We all have to pay attention, whether you are
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 54 of 254
                                                                            54



 1     DFA or non-DFA.     It doesn't matter.      We all -- every

 2     single dairy farmer must pay attention.

 3           And if you don't agree with what some of your

 4     neighboring farmers are saying, read the documents.

 5     Ask -- if you cannot understand some of the documents, I

 6     will do my best and ask the attorneys to find people who

 7     can help us understand what's in these documents.                 Some

 8     of them are very revealing.        But it, again, is up to the

 9     dairy farmers.

10           And I know that seems like a very difficult request

11     for farmers because it's time consuming, it's difficult,

12     and I have to admit sometimes it's very boring to read

13     some of this.     But it is the only way -- and I repeat

14     the only way -- every farmer getting involved and

15     understanding the situation.

16           My uncles who were producer-dealers years ago --

17     they have all since passed away -- they said, "We always

18     thought it was going to get better but it never did."

19     This is our chance.      There are facts.     This case has

20     brought out many facts that were heretofore hidden from

21     our sight as dairy farmers.        But there's a lot of

22     information out there now, and it is up to us.              You

23     don't like what you see going on, you have got to go

24     after it, and you have got to pay attention.

25           Thank you very much for the privilege of speaking.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 55 of 254
                                                                    55



 1                 THE COURT:    All right.     Thank you.

 2                 JONATHAN HAAR:     Good morning.

 3                 THE COURT:    Good morning.

 4                 JONATHAN HAAR:     My name is Jonathan Haar.

 5     That's H-a-a-r.     I am a class representative for the

 6     DFA, DMS subclass.

 7           First, I want to thank you, your Honor, for the

 8     opportunity to address this Court on behalf of the dairy

 9     farmers I represent.      This has proven to be a daunting

10     project.    I learned over the last couple weeks that my

11     three youngest can handle barn chores on their own.

12           There is so much information to share relative to

13     this proposed relief that I believe is important for

14     you, your Honor, to have in order to make an informed

15     decision.    You will hear a lot from our esteemed counsel

16     making affirmative statements concerning the merits of

17     said settlement.

18           I have read, and no doubt you have, many of these

19     arguments already.      I want to be clear about this:

20     Every time they attempt to assert that this is a fair,

21     reasonable, or adequate settlement, they demonstrate

22     their ignorance of or contempt for this class and the

23     facts of the risk that we live under.

24           In order for a settlement to be fair, reasonable,

25     or adequate, it needs to be looked at in the light of
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 56 of 254
                                                                         56



 1     the instant case.       Comparisons to irrelevant, unrelated

 2     settlements are useless to inform the decision-maker.

 3             If I may digress for just a moment, I believe it

 4     may be useful for the Court to provide a brief

 5     introduction to this class that is now dependent on your

 6     decision here as to whether we find any relief.

 7             Excuse me.

 8             This class feeds everyone in the courtroom.         Our

 9     routine consists of a minimum of six or seven hours of

10     daily work, what we call chores, mostly feeding and

11     milking cows.     That is seven days a week, 365 days a

12     year.    I have many neighbors who haven't missed chores

13     in years, some in decades.       That is around 40 hours a

14     week of difficult and dirty work, if everything goes

15     well, without equipment failure, flat tire, or animal

16     health issues.       This, of course, does not include a

17     single seed planted, crop harvested, bill paid, snow

18     shoveled, or board nailed back up.

19             As a result of this level of commitment, we are a

20     class ripe for abuse.       And we have been abused, first by

21     the defendants and now by those who purport to represent

22     us and our interest as counsel.        They're not only silent

23     in the face of evil, but they would happily sell us out

24     for the $16 million.

25             This is not like a Pella window case from the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 57 of 254
                                                                        57



 1     Seventh Circuit decided this past June with respect to

 2     getting paid or not for a defective product.           No, our

 3     livelihoods are daily threatened by these defendants,

 4     and our so-called counsel would leave us at their mercy.

 5           Forgive me for my long-winded introduction.           I

 6     would like to get to the substance of the proposed

 7     settlement and, along procedural lines, confront some of

 8     the issues surrounding negotiation and misleading

 9     statements from both renewed motions and declarations of

10     Mr. Abrams and Mr. Brown.       It will be necessary for me

11     to briefly revisit the Dean settlement, as counsel has

12     used that as evidence against us.

13           With regards to procedure, I would like the Court

14     to consider our issues in light of 23(g)(4).           Concerning

15     the Dean settlement, my wife and I were informed there

16     is no reason to be at the fairness hearing.           The

17     courtroom is the domain of the attorneys, is what we

18     were told.    As such, we were actively discouraged from

19     attending.

20           You have heard about the push to get the Dean

21     settlement done and the divide-and-conquer tactics used

22     by Cohen Milstein.      Apparently the Sitts and Allens were

23     in opposition to the Dean settlement.         My wife and I,

24     who were in Washington for my deposition, were unaware

25     of the questions raised by our fellow class
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 58 of 254
                                                                         58



 1     representatives.

 2             On the evening of December 23rd -- or -- 22rd or

 3     23rd of 2010, while in the offices of Cohen Milstein,

 4     Mr. Brown came into the room where we were.           He quietly

 5     consulted with Mr. Pierson, who was with us at that

 6     time.    Then he and Mr. Brown asked if we would accompany

 7     him to his office to speak with Alice Allen, who was on

 8     the phone.

 9             When my wife and I spoke to Alice, using Ben's

10     arguments -- Mr. Brown -- we were able to sway her.

11     Mr. Brown explained the reasons for taking the Dean

12     settlement as primarily being, number one, it will

13     secure the class going forward.        Your Honor would be

14     hard-pressed not to grant us class certification for our

15     case having just approved the class for settlement.

16     This, of course, was proven to be a false statement.

17             His second reason we should approve is because it

18     would give us an impetus going forward after, and I

19     quote, the big fish, DFA, DMS, which is worth five times

20     as much.     This, too, has proven false, as evidenced by

21     the proposed settlement on the table.

22             How do I know the monetary amount is inadequate?

23     Well, it is because Mr. Benjamin Brown told me so.           He

24     said this settlement is worth $150 million.           And that

25     was on the -- at the onset of discovery, before class
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 59 of 254
                                                                       59



 1     certification, Daubert, et cetera.         I don't need to go

 2     through it.     You were here for all of it.

 3           In addition, Mr. Bob Abrams said in the Southeast

 4     case, docket 1922-1, filed on the 21st of January 2013,

 5     on page 13, in discussing monetary award in that case,

 6     he cites Relafen, 231 F.R.D. 64, which I have no idea

 7     what any of all that means, only to say, I quote, Noting

 8     settlements obtaining 26 recovery -- 26 percent recovery

 9     are reasonable.

10           Our recovery of $50 million represents just 14

11     percent of the DFA, DMS reduced damage model after

12     preliminary judgment of $350 million.         I suppose that

13     should mean that this recovery is unreasonable and

14     inadequate, according to Mr. Abrams.

15           It seems, since I am into the settlement already --

16     excuse me -- I will continue for just a moment looking

17     at the monetary aspect of it with regards to the

18     plaintiffs' incentives.       None of us got into this

19     lawsuit for money.      But for these attorneys to offer us

20     $20,000 to compensate for our risks against -- again

21     demonstrates their ignorance of or contempt for those

22     risks.

23           I received a call recently from a Mr. Joe Davitt.

24     He told me he would be sending a letter objecting to

25     this settlement.      He explained to me he used to be a DFA
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 60 of 254
                                                                         60



 1     delegate, but he said issues he raised, he questioned

 2     the status quo:     How can we as delegates only vote on

 3     nondairy policy issues?

 4           Well, I guess he made too much noise and asked the

 5     wrong questions.      He told Mr. Brad Keating, "I am just

 6     asking the questions I am being asked by my farmers."

 7     The field man, his field representative, stopped by the

 8     farm one day and told him, "We don't have a market for

 9     your milk," and they wouldn't be picking him up anymore.

10     So much for DFA being a farmer-run cooperative.              He was

11     a duly-elected representative.

12           Mr. Davitt called Arden Tewksbury.         Arden said he

13     could get the other local cooperative to pick him up.

14     That co-op sent out their representative.          He said, "It

15     should be no problem to pick up your milk.          I will call

16     you tomorrow to make arrangements."         Well, he did call.

17     He said, "Sorry, Joe.      We can't pick up your milk.          DFA

18     has threatened our access to the milk plant if we pick

19     you up."    Mr. Davitt was a third-generation farmer.            He

20     was forced to sell his cows three years ago.           He said,

21     "I doubt if I will ever milk a cow again."

22           With the exception of the Allens who sold their

23     cows several years ago, this is the risk that we, as

24     class representatives, live with every day.           This

25     falsely called agricultural co-op maintains all its
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 61 of 254
                                                                        61



 1     options with regards to crushing the businesses of

 2     anyone who dares to oppose them.

 3           Our counsel and this proposed settlement leaves

 4     unscathed, in Rick Smith's own words, and they throw

 5     $20,000 our way and have the unmitigated audacity to

 6     suggest that this covers the risk we have taken.

 7           With regards to settlement negotiations:          When you

 8     go from hearing no talk of settlement, no talk of

 9     settlement, not even close to settling, then settle, it

10     has a way of focusing our attention on areas of primary

11     concern.

12           Furthermore, our opinions have been informed by

13     over four years of experience on this case.           Mr. Pierson

14     insisted that injunctive relief would need to keep in

15     mind their business model, them being DFA.          We would

16     need to leave that unaffected.        Injunctive relief that

17     does not affect their business model is simply to

18     rearrange the chairs on the deck of the Titanic.            As

19     long as cooperatives make products and process milk,

20     they have a fundamental conflict of interest.

21           Having said that, we did propose injunctive relief

22     that would not affect their business model, unless:

23           Number one, divesting themselves of all testing

24     laboratory facilities should not affect their business

25     model, unless they have been shaving a little bit of
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 62 of 254
                                                                        62



 1     protein or fat off of the farmers' tests or using

 2     testing as a club or a way to pilfer premiums.

 3           Number two, requiring representation from the board

 4     of directors to be present at all negotiations of

 5     contracts for the supply of raw milk, that should not

 6     affect their business model unless DFA, DMS is doing

 7     something they don't want their directors to see.

 8           Number three, third-party handling of delegate

 9     elections shouldn't affect their business model unless

10     they are concerned about getting the wrong kind of

11     delegates.

12           Why Mr. Pierson, as an attorney allegedly

13     representing the farmers, should be concerned about

14     protecting the business model of DFA and DMS is only one

15     of the many questions we have asked concerning his

16     behavior.

17           One would think our prestigious negotiators could

18     have gotten us something.       What we have here is, in

19     absolute terms, zero.      Our esteemed counsel, to assert

20     otherwise, is, at best, delusional.         While I suspect the

21     language used by Mr. Abrams in his declaration and

22     renewed motion for preliminary approval is sufficiently

23     nuanced, that we couldn't accuse him of dishonesty, it's

24     a semantical stretch to say that some of our proposals

25     were accepted in hope or not at all or in part.             I don't
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 63 of 254
                                                                      63



 1     believe that any were accepted in whole.          As I said,

 2     from when we went from no settlement, no settlement, to

 3     settle, it sharpens your focus.

 4           Garret and I both stated we had nonnegotiables.

 5     Mr. Abrams explained there are no nonnegotiables, except

 6     the money, the money which, of course, affects counsel.

 7     As for our requests, well, we can't have nonnegotiables.

 8     Garret talked about the divesting DFA, DMS of their milk

 9     testing laboratories.      I guess that falls under the

10     category of "not at all."       My idea of third-party

11     handling of delegate elections, as we explained in our

12     document filed on the 23rd, was, shall we say,

13     emasculated.

14           With regards to negotiations, you may have gathered

15     things weren't going well in late June between our

16     counsel and ourselves.       We realized very quickly that

17     this proposed settlement was inadequate, unreasonable,

18     and unfair.     We dug in our heels on behalf of our class.

19           When your Honor denied preliminary approval

20     requesting the reasons for class representatives

21     unanimously opposing this proposed settlement -- excuse

22     me -- Mr. Brown contacted my wife to set up a conference

23     call for us to explain our issues.         We had just invested

24     so much of our precious early summertime in settlement

25     talks, which proved completely fruitless.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 64 of 254
                                                                        64



 1           She said, "If the judge wants to know what our

 2     objections are, we won't waste your time," referring to

 3     counsel.    "We will give her," referring to your Honor,

 4     "the purest document possible.        We will write it

 5     ourselves."     We thought that would be the easiest way to

 6     avoid the wordsmithing and editing that had been our

 7     history with Mr. Pierson, who correctly states in his

 8     declaration that Mr. Brown was our primary contact as

 9     subclass representatives.       That was because we wanted to

10     fire Cohen Milstein if they didn't remove Mr. Pierson

11     who had -- up to that time, had been our primary

12     contact.

13           Anyway, Claudia told Ben, "We, the class reps" --

14     Mr. Brown, sorry -- "We, the class reps, will get

15     together and create a document.        We will send it to

16     Mr. Manitsky to file on our behalf."         Mr. Brown agreed

17     that that would be fine.       He assured us it would be

18     filed verbatim.

19           He also impressed upon Claudia that we need to get

20     this done right away.      I believe it was Friday he

21     called.    On Monday, July 14th, Richard Swantak, Ralph

22     and Garret Sitts, Claudia and I met at the Sitts' --

23     Sitts's farm.     Alice was present via speakerphone.       We

24     put together the document titled Class Representatives'

25     Opposition to Proposed Settlement.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 65 of 254
                                                                       65



 1           Contrary to Mr. Brown's declaration, Miss Allen had

 2     not wavered in her opposition to the settlement until

 3     sometime after the 14th of July.         Fact is, Alice was an

 4     active contributor.      She was particularly concerned that

 5     we should share with the Court the following from our

 6     document, and I quote:       Counsel apparently did not

 7     inform the defendants either -- and this would be in

 8     reference to the class representatives' unanimous

 9     opposition.     And I go on with the quote:       Counsel

10     apparently did not inform the defendants either as DFA

11     remained confident enough about their agreement to

12     publish it as a finished matter to its membership on

13     Thursday, July 3rd, and on Farm Journal's ag website on

14     Tuesday, July 8th.

15           What happened to Alice Allen after July 15th is a

16     subject of speculation.       We overnight mailed our

17     document on the 15th.      It was received by Mr. Manitsky

18     at Gravel & Shea on the 16th.        It was filed with the

19     court on the 23rd in camera.        This was something we

20     strenuously objected to.

21           Our counsel claimed attorney work product and

22     attorney/client privilege.       Our understanding of

23     attorney/client privilege is that it is something the

24     client claims, not the attorney.         And in looking back,

25     or -- and there was some question at the time, even, if
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 66 of 254
                                                                      66



 1     contrary to our agreement, there was some attorney work

 2     product, in the form of tampering with our document.

 3           We, of course, despite our best efforts, were not

 4     able to view the document that was submitted to the

 5     court.    We were unable to confirm or dismiss our

 6     suspicions.     I believe this is our filed copies of that

 7     document.

 8           Before diving into the nuts and bolts of the

 9     proposed settlement, I note in the renewed motion for

10     preliminary approval a couple of items:          Number one,

11     counsel speaks of the proposed settlement being

12     beneficial in the light of timing.         We have discussed at

13     length how the financial compensation is -- is

14     functionally irrelevant.       I will explain how the same is

15     true for the alleged relief, although actually a lot of

16     that's already been covered -- excuse me -- as well.

17           Furthermore, I believe -- what I'd like to get at

18     is furthermore, I believe the threat of this legal

19     action hanging over the heads of DFA, DMS has a

20     beneficial effect on the farm.        Immediate closure of the

21     matter, especially in the form of a sellout to the

22     defendants, would remove the protection that the unknown

23     outcome of these proceedings provides to us.

24           Second point:     Also from the memorandum of law in

25     support of the renewed motion for preliminary approval,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 67 of 254
                                                                       67



 1     it cites Maywalt versus Parker & Parsley Petroleum

 2     Company.    In a pinnacle of arrogance, our esteemed

 3     counsel quotes, "When a conflict arises between the

 4     named plaintiffs and the rest of the class, the class

 5     attorney must not allow decisions on behalf of the class

 6     to rest exclusively with the named plaintiffs."

 7           In the same motion they cite numerous cases and go

 8     to great lengths to explain that they, as counsel, had a

 9     right to negotiate for the class, a right we never

10     questioned.     Furthermore, there is no conflict between

11     the class and the class representatives.

12           All their arguments on these issues is the classic

13     case of complicating the obvious and trivializing the

14     momentous, the obvious being the conflict here is

15     between plaintiff counsel and the court they -- and the

16     class they purport to represent; the momentous being the

17     failure of said counsel to come up with anything

18     remotely resembling a fair, reasonable, or equitable

19     settlement.

20           Enough of the pleasantries.        Let's look at what the

21     settlement says, not what the lawyers say it says.          I

22     will try to summarize this fairly quickly, focusing on

23     the most salient points, and I will attempt to edit as

24     we go.    I hope that doesn't cause much hesitation.

25           The copy I am working with was apparently filed on
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 68 of 254
                                                                        68



 1     October 3rd, and the signature page is signed by

 2     Mr. Pierson and Mr. Kuney on July 1st.

 3           The first thing that I noticed was that on page

 4     one, rather than defining the expansion of the complaint

 5     in the definition section, it's tucked away right here.

 6     We will revisit it when we get to the relief, but

 7     they -- the definition of the complaint is not the

 8     complaint, it's not the complaint and the amended

 9     complaint, but it is the complaint and any other

10     pleading filed in this matter or any consolidated

11     matter.

12           And in the process of these declarations and

13     proceedings, I believe we have basically touched on

14     every -- every issue that is relevant to the dairy

15     industry.    So we are talking about all dairy industry

16     issues when we say "the complaint."

17           Section 1.5.     In this definition, section 1.5, it

18     refers here to the farmers who have not exercised a

19     right to be excluded by April 30th, 2013.          I will -- I

20     will revisit that.

21           Let me see if I will read -- some of these were

22     read, so I will try and spare -- but if I take as much

23     time to --

24                  THE COURT:   Take as much time as you want.         We

25     have all day, and this is your opportunity.           So don't
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 69 of 254
                                                                       69



 1     worry about time.

 2                  JONATHAN HAAR:    Okay.   Well, thank you.     Thank

 3     you.   I don't want to be overly redundant, is all.

 4            Remember when reading the released claims we need

 5     to keep in mind the expanded definition of the

 6     complaint.    I basically went over that.

 7            I notice it wasn't in the definition section.        I

 8     thought that was a little unfair.         Released claims is

 9     everything.     Release -- released parties is everybody,

10     their affiliates and their affiliates' affiliates.

11     Suffice to say -- we have been through these

12     definitions, so I guess I am comfortable with that.

13            Suffice to say, by the end of Section 1 we have set

14     up a scenario where everyone -- where anyone who has any

15     interest of any kind in the class members' farms --

16     including, obviously, the class members themselves -- is

17     absolving anyone who is in any way affiliated with the

18     defendants or affiliated, as I said, with the

19     defendants' affiliates.       Remembering the expanded

20     definition of the complaint, the issues at hand are

21     essentially any question that would have ever arisen in

22     the dairy industry.

23            So the defendants have requested eternal

24     absolution -- that's in Section 6.1 -- and -- all right.

25     I will move on there.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 70 of 254
                                                                       70



 1             Section 3, notice to subclass.      I think Mrs. Haar

 2     has that.

 3             Section 4, I basically define the plaintiffs'

 4     subclasses.

 5             Section 4.2 just speaks about the fairness hearing.

 6     Thank you.

 7             The relative date of the agreement is ASAP.         I

 8     apparently have some confusion here, and maybe you can

 9     clear for me, are we talking about 30 months from the

10     date of this -- of, God forbid, the settlement, or are

11     we talking about the December 31st of 2016?

12                  THE COURT:   The effective date?

13                  JONATHAN HAAR:    No, the end of the settlement

14     period.

15                  THE COURT:   I am going to allow the attorneys

16     to give their definition of it, because it's their

17     agreement, and I will note that is an issue that you

18     have and that needs to be decided as part of this

19     proceeding.

20                  JONATHAN HAAR:    I was just a little confused

21     because this one, I believe, says the 31st of December,

22     2016.     But I have also heard said 30 months.        Whatever.

23     It's -- it's not of great consequence.

24             Release and covenant to sue (sic) is Section 6:

25     Upon the effective date, each of the releasing parties
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 71 of 254
                                                                    71



 1     shall have deemed -- shall deem to have and, by

 2     operation of judgment, shall have fully, finally, and

 3     forever released, relinquished, and discharged all

 4     released claims -- Ralph actually read all of this, so I

 5     will save it.

 6           Section 6.1:     We, the class, are asked to forever

 7     release -- we don't know exactly who, and we don't know

 8     exactly from what.      I don't think this is reasonable.

 9           Section 6.2 just drives the whole point home that

10     we -- we give it all up without even knowing exactly

11     what the "up" is.      With regards to the last sentence of

12     Section 6.2, Plaintiff subclasses acknowledge, and the

13     releasing parties deemed to have acknowledged, and by

14     operation of the judgment shall have acknowledged, that

15     the foregoing waiver was completely, separately --

16     was -- the foregoing waiver -- I'm sorry -- was

17     separately bargained for and a key element of the

18     settlement of which this release is a part.

19           Your Honor, with regards to what we mean as a

20     class, as this waiver is a key element of this

21     settlement, we are seeking denial of said settlement

22     with prejudice.

23           With regards to everyone but the attorneys, the

24     lawyers -- the money, rather, isn't really much worth

25     speaking about, and the reason being, it represents
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 72 of 254
                                                                        72



 1     approximately 1 percent of the average Order Farmer 1's

 2     milk receipts.     I get this generous estimate by taking

 3     the market administrator's daily average for the two

 4     months -- I have -- I have two letters with me, and they

 5     are from -- I think it's September, October, but they

 6     are fall months, which milk production is typically

 7     lower in the Northeast in the fall than in the summer,

 8     but I will use that number.

 9           I round that number down -- the market

10     administrator.     I round the number down to 5600 pounds

11     per day.    I divide that by a hundredweight to get a

12     hundred -- to get my hundredweights.         I divide it by a

13     hundred to get hundredweights, which is how we are paid.

14     I multiply that by $18.       Now, we have been averaging

15     well over $20 for the last two-plus years.          And I will

16     divide what the lawyers' very generous $4,000-per-farm

17     estimate.    And that gets me down to 1 percent of annual

18     gross milk receipts.      So we're talking about a one-time

19     payment equaling 1 percent of their milk receipts.

20           Now, this average farm, milk production averages a

21     little over 50 pounds per cow.        So if we take that

22     number, and we say 5600 pounds per day, we are looking

23     at basically a hundred-cow dairy.         That hundred-cow

24     dairy, in addition to milk receipts, has 50 bull cows

25     every year approximately, because your dairy herd is --
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 73 of 254
                                                                         73



 1     you are hoping to get your dairy to freshen on an annual

 2     basis.    So there's some -- you know, obviously it's a

 3     natural process, so there's some -- doesn't work like it

 4     should in the textbook.

 5           But, anyway, you have basically about a hundred

 6     calves a year on a hundred-cow dairy.         And of those,

 7     approximately half are usually bulls.         Sometimes that's

 8     up or down.     But those are currently selling for over

 9     $300 a head.     If you took $200 a head, you are looking

10     at, what, another -- I wrote -- I did the math --

11     another $10,000 to the bottom line.

12           Cows are also bringing in excess of a hundred

13     dollars -- a hundred pound -- I'm sorry.          Cows are also

14     bringing in excess of a thousand dollars a head.            So

15     let's say our dairy has a conservative cull rate of 25

16     percent, and let's say they only bring $800 a head.              My

17     last Holstein cull that I sent less than two weeks ago

18     brought $1200 a head, or she brought $1200.           So that

19     conservative estimate yields another $20,000.

20           This .1 percent does not take into account this

21     other $30,000, or the fact that if your cull rate's only

22     25 percent, you also have 25 heifer calves that you can

23     get rid of every year because you are replacing those 25

24     cows that you are pulling out.        It's a two-year time

25     span, but that's the way the math works.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 74 of 254
                                                                        74



 1           So that's what we are looking at.         We are looking

 2     at a one-time payment of 1 percent of your gross milk

 3     receipts.

 4           All right.    Now we are going to get into Section F,

 5     which -- oh, no.       Monetary relief -- conduct elements,

 6     I'm sorry.     Section -- it's Section 7.3, is the conduct

 7     elements.

 8           Now, over these conduct elements -- no, I will keep

 9     going.    I'm sorry.     Conduct elements.    Monetary

10     relief -- I just went through the monetary relief.

11           Settling defendants, in terms of this agreement,

12     will not enter into any FSAs, new FSAs.          The younger

13     Mr. Haar established that it's not new FSAs that created

14     the problem.     So there's zero relief there.

15           Settling defendants agree, during the term of this

16     agreement, no new agreements for the supply of raw Grade

17     A milk or any renewal of existing agreements, not -- not

18     that there's none of them, but they shall be presented,

19     reviewed, and approved by the DFA board of directors

20     prior to DFA entering into, renewing such agreement,

21     presenting, reviewed, and approved by the DMS

22     board -- it's the same thing but DFA and DMS.            So it

23     repeats the comment that they will not enter into any of

24     those agreements.

25           This goes back to the negotiations.         I asked that
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 75 of 254
                                                                         75



 1     board members needed to participate in negotiations of

 2     agreements.     In my third declaration, which was filed on

 3     August 9th of 2013, I state in the DFA newsletters --

 4     newsletter, member update that I received, I am

 5     repeatedly told by the board of directors -- or told

 6     that the board of directors has received, they have

 7     reviewed, they have approved.

 8             Never in my now-14-year tenure with DFA do I

 9     remember the board initiating, recommending, requesting,

10     suggesting, or refusing any actions itself.           The board

11     of directors has not and will not direct the management.

12             Settling defendants -- Section (c).       Settling

13     defendants agree that they will, upon written request of

14     any of their respected members who are located in

15     Order 1, disclose a summary of the terms of agreements.

16     This disclosure shall state whether the agreement is a

17     full-supply agreement, the duration of the agreement, or

18     any other material provision, provided its disclosure is

19     permitted by the terms of said agreement.

20             Section (c) sounds like maybe we are going to get

21     something here.     But a little closer look reveals,

22     number one, the overcommitted farmer needs to write in,

23     and the boss knows you are writing to ask about the

24     boss.    Number two, he or she will get a summary, which,

25     of course, to summarize we need to edit.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 76 of 254
                                                                      76



 1           Number three, said farmer can only do this for the

 2     next 23 months if it's -- and I will just state this in

 3     terms of the 31st of 2016 -- December 31st, 2016.           So I

 4     will just use the -- that's what I was working with.           If

 5     it's 30 months, then we need to adjust that, but -- for

 6     the next 23 months, during which time whatever

 7     information the farmer gets -- and Alice spoke to the

 8     opportunity to get information -- we can't act upon.

 9     It's unactionable.      We gave that away.

10           Fourth and finally, the last sentence provides the

11     combine-size loophole:       Provided its disclosure is

12     permitted in said agreement.        Section (c), no

13     transparency, no relief.

14           Section (d).     Settling defendants agree any

15     cooperative member, affiliate, associate in Order 1 may,

16     during the term of this agreement, terminate its

17     relationship upon no more than 90 days without written

18     notice.

19           I will use my 23 months, minus the three months,

20     the 90 days, if the market share and -- the market share

21     and FSS are not addressed, you have 20 months to find a

22     new career.     We haven't affected any of the key players

23     in any way, Rick Smith at his own word.

24           (e).    Settling defendants agree not to oppose a

25     request by subclass counsel to unseal and release
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 77 of 254
                                                                           77



 1     materials submitted to the court.         In connection with

 2     the plaintiffs' motion for certification of

 3     subclasses -- that's court docket number 388 -- and

 4     defendants' motions for summary judgment, court docket

 5     number 479 -- to the extent that the disclosure of such

 6     documents is not prohibited by settling defendants'

 7     obligations to third parties.

 8           A couple things jump out with regards to (e).               Why

 9     just stuff in connection with the two dockets?              How

10     about the whole record?        This looks patently unfair

11     compared to the exhaustive release.         The last sentence

12     effectively negates our efforts at disclosure anyway,

13     that being obligations to third parties.          It is very

14     easy to look for obligations to third parties.

15           Section (f).     Okay.    All of these next sections

16     need to be considered under the umbrella of fact that

17     most of these conduct -- that cover most of these

18     conduct elements, that being, number one, we are asking

19     them -- DFA, DMS -- to review and act -- I think Joshua

20     used this already -- that DFA, DMS to review and act on

21     policies they have already renewed and acted upon and

22     that they have already implemented these policies, and

23     the Northeast Dairy Council is under no obligation,

24     based on this settlement, to change anything.

25           So they are going to look at members' milk checks,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 78 of 254
                                                                     78



 1     and if they feel in the mood -- Joshua had read the

 2     Ernst & Young disclaimer.       I just wanted to mention to

 3     the Court that that was from our DFA -- I think it's a

 4     financial -- year-end financial statement they had

 5     printed that disclosure in there.

 6             It will disclose -- actually, Joshua covered this.

 7     Disclosing the members, the identity of members of the

 8     board of directors.       I guess -- I guess this will --

 9     this would be a change if they -- if they talked about

10     their committees and checked their per diem rate.

11             Thanks.

12             DFA will post on its secure member website -- this

13     is Section (ii).       This is all under -- I think it's

14     conduct elements.

15             (ii).     DFA will post on its secure, members-only

16     website, myDFA, an annual disclosure of all material

17     related-party transactions, other than the sales or

18     purchases of raw milk to or from affiliates,

19     specifically broken out and identified per transaction,

20     not aggregated, with the definition of "material,"

21     "materiality" as involving an amount of $120,000 or

22     more.

23             (iii) also -- or Section (ii) here also equals no

24     transparency; three $100,000 transactions equals a

25     $300,000 transaction, but they're all still under
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 79 of 254
                                                                        79



 1     120,000.    They are not going to aggregate.        There's no

 2     transparency here.      And if you did find something out,

 3     you still can't act on it.

 4           DFA board members and senior executive management

 5     will continue to execute annual conflict of interest --

 6     why is this in here?      This is something they do already.

 7     How can we be selling our rights and our opportunity to

 8     carry this to something reasonable, fair, whether it's

 9     settlement or trial?      They just put in here things that

10     they already do and expect us to thank them for it.

11           In addition, it's all subject to their whim.

12           Okay.   Section (iv), (g):      DFA will disclose to

13     delegates at DFA's annual meeting financial information

14     which shall include materially party -- shall include

15     material related-party transactions as defined in 7(ii).

16           So that's the first loophole, that you can easily

17     negotiate your contracts to be below the material

18     number.

19           They are not going to aggregate.        That's the same.

20           With the definition of "material" -- oh, this is a

21     little different -- includes -- the definition including

22     a transaction of more than $5 million, excluding the

23     sales or purchases of raw milk from affiliates.

24           We're in the milk business.        This is what DFA and

25     DMS are doing.     This is the source of the -- this is the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 80 of 254
                                                                     80



 1     source of the damages.       How -- we are not talking about

 2     the milk business, why talk?        There's nothing there.

 3           Number (v).     DFA auditors shall be selected from

 4     one of the nationally recognized accounting --

 5     accounting firms.      They already do that.      So again, it's

 6     here, and they already do that.

 7           DFA and senior management and audit committee of

 8     DFA board will affirmatively represent that they are

 9     responsible for the preparation, integrity, and accuracy

10     of DFA's annual financial report.

11           Again, we give away the right to do anything about

12     their behavior.

13           All right.    This is Section (j).      In my particular

14     copy, which I say apparently was filed, this (j) is

15     special because it comes before (h).         But -- DFA's

16     Northeast Area Council will undertake a careful review

17     as to whether changes are warranted in the election of

18     area council members and delegates -- I will share

19     something with regard to this a little further down --

20     if the Northeast Area Council so recommends such changes

21     will be implemented.

22           (h).   Compliance with the terms of the settlement

23     agreement will be monitored by the audit committee.

24     There will be two independent advisors.

25           Now, advisors don't know -- don't vote, and they
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 81 of 254
                                                                            81



 1     have no power.     And, in addition, I actually thought

 2     this might have something to do with my -- with my

 3     request for the board members to be present at

 4     negotiations for contracts for the purchase and sale of

 5     raw milk, but then I saw it was cut and pasted from the

 6     Southeast.

 7             On the advisors will have expertise -- oh, and they

 8     are currently free from any other relationship with DFA.

 9     Is that for the term of the settlement?          Are these

10     future players?     Are they former players?       And they are

11     going to report their views to the delegates at the DFA

12     annual meeting.     I was -- well, I already shared about

13     Mr. Davitt complaining about the annual meeting

14     delegates don't vote on milk policy issues.

15             Okay, (i) was the -- we discussed already about

16     the -- I guess Ralph read the -- the antidiscrimination

17     clause, that they are not going to discriminate against

18     us for standing here and telling our story.           Is this for

19     the term of the agreement, or is this forever, as the

20     release is, forever and ever, amen?         And how does it

21     work?

22             They take -- they take my milk.      They tested my

23     milk.    I say it was good; they say it was bad.            How do

24     I -- it's my word against theirs.         The milk's gone.

25     What's my recourse?      There's no -- there's nothing here
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 82 of 254
                                                                       82



 1     to protect me or defend me in any way from what -- I

 2     mean, I am not a lawyer, but it seems to me that

 3     there's -- there's nothing binding in any of this.

 4     There's no punitive terms or anything.

 5           (j).   This is the real (j):       Settling defendants

 6     shall not enter or maintain any agreement or

 7     understanding, written or unwritten, with any

 8     cooperative that limits or restricts any form of

 9     solicitation of milk supplies from dairy farmers,

10     including, but not limited to, any agreement that

11     restricts contacting or approaching dairy farmers to

12     offer more favorable financial terms, services, or other

13     terms or conditions.

14           Again, there's absolutely nothing binding here.

15     They have been doing this.       They knew they shouldn't be

16     doing it, as evidenced by the -- the Rick Smith comment

17     that has been shared with this Court before.           And is

18     this for the -- I assume this is only for the term of

19     the agreement.     This is not binding forever, like our

20     release is binding forever.

21           Settling defendants will have and maintain an

22     ongoing antitrust compliance program.

23           They violated this.      This was a subject that --

24     although unactionable by this Court, Mr. Pierson went to

25     great lengths to explain to the Court the defendants'
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 83 of 254
                                                                          83



 1     violation of the consent decree in DFA antitrust

 2     compliance guidelines and their core policies.              This

 3     equals no change.       They do it already.

 4             And so we are on to the settlement fund.         I think

 5     we have -- I think I have got that.

 6             Okay.    Opt-outs.    I will -- I will look at

 7     opt-outs.

 8             I have spoken to several farmers who are engaged in

 9     legal proceedings or contemplating legal proceedings.

10     The original opt-out paperwork, I suppose, was sent

11     sometime prior to April 30th, 2013.         That's almost two

12     years ago.       When our distinguished counsel discussed

13     damages, they don't consider the damages these other

14     actions by class members may be seeking.

15             Some may have been started after the opt-out notice

16     was sent.       That was the case for Mr. Vaughn Sherman.          He

17     is out of -- out of Ithaca, New York.         He is the largest

18     organic producer east of the Mississippi, I am told.

19     Two years ago when he had the option to opt out, the

20     notice would have been an irrelevant piece of mail sent

21     to a member of this class who probably works 80 hours a

22     week.    Is this fair?       To steal away we don't know how --

23     how many legal actions from this class?

24             Remember, the expanded definition of the -- of the

25     complaint now covers every possible issue, essentially
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 84 of 254
                                                                         84



 1     every possible issue.      This is a sweetheart deal for the

 2     defendants.     But it is patently unfair to these absent

 3     class members, in particular.

 4           Final point with regards to the settlement:           The

 5     areas that are left to DFA's discretion need to be

 6     considered in the light of who we are dealing with.

 7     First, according to the Southeast area farmers I spoke

 8     with, the recent settlement did not really solve any

 9     problems and did not improve transparency.

10           One gentleman I spoke with was explaining -- he had

11     not actually been able to keep up with checking the

12     percentage of Order 1 milk, but he didn't think that

13     they made a fundamental change in that.          I don't know if

14     you are familiar with how in the Southeast they actually

15     took some money, and I believe it was $9 million, for a

16     couple of years and held it in escrow upon the fact that

17     if DFA did not follow through on their commitment to

18     redirect milk, to change the blending price -- because

19     the Southeast is traditionally a milk-deficient area,

20     and so typically the higher-value milk, the Order 1

21     milk, would be consumed locally.

22           But apparently -- and I really don't know a lot of

23     the ins and outs, but apparently the milk had been being

24     rediverted to change the Southeast-area blend price.

25     Well, this farmer's impression was -- and by the way,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 85 of 254
                                                                     85



 1     most of these people asked me not to use their names.

 2     Where I could, I did, but for the reasons that I trust

 3     you are gathering, a lot of people are concerned.

 4           He said that DFA is just going to take the

 5     $9 million and distribute it to the class -- it's not

 6     their money -- and then they can do what they have been

 7     doing and it will just be easier for them to just make

 8     their cost-of-doing-business payment.

 9           I am not sure if this was the same gentleman or

10     another one, talked about recent upset victory,

11     Southeast Area Council.       DFA approached the farmer who

12     had won and explained that if he bumped the man who he

13     had beaten, that his area would lose its representation

14     on the corporate board.       Apparently the gentleman who

15     was the Southeast Area Council board member was also on

16     the corporate board.      And I am not that familiar with

17     the bylaws, but I am assuming, based on the comment,

18     that if you are not on a council, you can't be on the

19     board.

20           And so he was -- whatever -- whatever the case,

21     however that was explained, the bottom line was the

22     winner was convinced not to take his place on the

23     council.    DFA then removed one council seat in the area

24     to consolidate the power of this one person and then

25     voted to extend their terms from two years to three
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 86 of 254
                                                                         86



 1     years.    So much for grass roots representation.

 2             This organization is not member-run.       And this

 3     proposed settlement is inadequate to cause any change in

 4     that.    DFA cheats.    I just explained that.

 5             Another example:   Rick Smith was -- an agreement

 6     was reached with Rick Smith, the -- Rick Smith -- I

 7     assume you are familiar with Rick Smith -- with

 8     scheduled meetings across the -- I don't know his title

 9     at the moment -- across the Southeast.

10             Apparently Mr. Higgins and Mr. Foy were supposed to

11     be at the one that was scheduled for July 11th, 2013, at

12     the Best Western Hotel on Morland Drive in Statesville,

13     North Carolina.     They didn't make it, which is just as

14     well because the hotel was closed for renovations.

15             But if you went past the "closed" sign, you'd find

16     there was a meeting going on, two guest rooms with a

17     partition removed, to quote the farmer I spoke with,

18     without air conditioning, July in North Carolina.

19             A man was setting up video equipment.       Rick Smith

20     showed up late and complained about being videotaped.

21     He said, "Not that I really care, it's just unusual."

22     He gave his, to quote the farmer again, canned speech,

23     and left.    The farmer I spoke with then went and asked

24     the cameraman, who was packing up, "Who paid you?           Why

25     are you here?"     He said, "Oh" -- the cameraman said,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 87 of 254
                                                                      87



 1     "The guy who spoke hired me.        It was a last-minute

 2     thing.     His secretary called last night."

 3           Another Southeast area farmer I spoke with was a

 4     DFA delegate, explained -- he learned about the rule --

 5     that was the one that, again, the younger Mr. Haar

 6     shared about the -- they apparently had a rule change

 7     where you can't just go to your council meeting, as an

 8     owner.     You need to make an appointment, you can state

 9     your case, and then, to quote this guy, you can leave.

10     You can vent and leave.       That's what he said.      And they

11     will close the door behind you and have their meeting,

12     close quotes.     The farmer told me, this is Rick Smith's

13     idea of transparency.      DFA lies.

14           A little closer to home, I have a letter dated --

15     and unfortunately I missed the tutorial about the -- how

16     to use the -- earlier, but I have a letter dated May

17     4th, 2012.     Originally I was just going to hit some high

18     marks, but I would like to read the whole thing, and

19     it's fairly short:

20           "Dear Producer:

21           "The United States has been showing significant

22     increases in milk production, particularly since

23     January.     The average production year to date has

24     grown" -- "has been in excess of 4 percent, which has

25     not occurred in many years.        U.S. can normally grow at a
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 88 of 254
                                                                            88



 1     rate of 1 and a half to 2 percent and see that rate of

 2     increase absorbed through normal sales growth.              Growth

 3     beyond these rates, which we are now experiencing, put

 4     downward pressure on" -- "on our price.

 5           "Unless there is extraordinary growth and demand,

 6     the difference between 1 and a half and 2 percent and 4

 7     percent, and the early" -- "and the early flush due to

 8     the mild winter, have placed a significant burden on

 9     milk for balancing."

10           The "flush" refers to the cows being turned out on

11     grass in the spring and actually even longer days

12     contribute to more milk.       Maybe they don't like this

13     weather.    I don't know.

14           "The stress on balancing is not unique to our area

15     but similar to other parts of the United States.              For

16     example, in California, some farms have produced milk

17     made over a certain base level are going to be charged

18     10 cents per hundredweight for balancing cost.

19     Other groups in the mideast, in Ohio, Michigan area, had

20     to dump milk because it had no place to go.           In

21     Michigan, Indiana area, farms paid 80 cents plus in

22     March for balancing and will probably do so again in

23     April.

24           "Three or four other cooperatives west of the

25     Mississippi have implemented base excess plans.              We
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 89 of 254
                                                                       89



 1     believe those plans are inappropriate for our geography

 2     based on the fact that there's significant process plant

 3     expansion underway.      We will need all the extra milk we

 4     have plus some within 12 to 36 months."

 5             We just said the area is different, and this is a

 6     high-level, high-paid DFA -- or this is DMS -- I'm

 7     sorry -- DMS officer.

 8             And the next sentence starts, "Here in the

 9     Northeast, it's no different."        I thought he just said

10     it was different, but anyway.        "Our plants are brimming

11     full of milk, which is higher than normal for this time

12     of year.     Normally extra milk will be balanced in

13     the range of 2.50 per hundredweight below our regular

14     pricing.     This year, that cost is approximating $6 per

15     hundredweight below our regular pricing.          These costs

16     are clearly way above the normal costs we handle

17     throughout the year.

18             "In light of where we are, we will be making

19     premium adjustments to address the costs associated with

20     balancing.     We will continue to seek all avenues to

21     reduce our balancing costs and keep marketing costs

22     down.

23             "Sincerely, Sharad Mathur."      He is the chief

24     operating officer of Dairy Marketing Services, LLC, and

25     that's May 4th, 2012.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 90 of 254
                                                                        90



 1           This all sounds reasonable, and if you were an

 2     Order 1 farmer from anywhere but central New York, you

 3     might believe it.      But I live five miles up New York

 4     State route from the Chobani plant.         I would actually

 5     like to digress on that a little because, having reread

 6     this -- and just last night I thought, it sounds a lot

 7     to me like fear-driven extortion.

 8           They're dumping milk in the Midwest, pouring your

 9     product down the drain.       What if we can't find a home

10     for your milk?     Don't worry.     You just give us your 10

11     cents and be quiet -- it actually was 30 cents per

12     hundredweight.     They ended up charging us for about five

13     months -- it was for several months, at least, that

14     spring.

15           So, he's talking about how there's so much milk.           I

16     live five miles up New York's State Route 8 from the

17     Chobani plant, Chobani yogurt thing, in South Edmeston.

18     I know many people who work there.         At the time of this

19     letter, the Chobani plant was experiencing explosive

20     growth.    We work on both sides of Route 8.        We saw the

21     trucks coming and going incessantly.         Hamdi Ulukaya, the

22     founder of Chobani yogurt, was looking for 90 to a

23     hundred loads of milk per day.        DMS could not or would

24     not come up with enough milk for him.

25           Not finding enough milk in our area was one of his
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 91 of 254
                                                                         91



 1     primary reasons for moving much of his operation to

 2     Idaho.    So I'm talking to my neighbors who work for

 3     Hamdi Ulukaya, and they are saying, "Ah, we can't get

 4     enough milk," and I am getting a letter from the chief

 5     operating officer of LL -- of DMS telling me, "We gotta

 6     charge you 30 cents to balance this month."           DFA lies.

 7           A little more recently, little more recently:

 8           I have here a letter from Mr. Brad Keating dated

 9     October 25th, 2014, in which he states -- and I won't

10     read this whole one -- "Back in July we communicated to

11     you about the conditions and circumstances we're facing

12     in the marketing area:       the need to implement and make

13     the market adjustment on the check to help defray and

14     recover the costs of milk and the need to implement the

15     market adjustment on the check to help defray and

16     recover the costs of milk balancing."

17           It says, dealing with the same issues, "We are now

18     experiencing increased milk production in the region."

19     October 25th, 2014.

20           I have the milk marketing administrator's letter

21     here dated September 2014.       We received this after the

22     month.    It's reporting on the facts of September.         Milk

23     market administrator shows here pooled milk receipts

24     total 2.072 billion pounds, a decrease of 2.1 percent

25     from last month on an average daily basis.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 92 of 254
                                                                           92



 1            Somebody is either wrong or lying.        Well, maybe

 2     not.     Let's just say he is quicker than the market

 3     administrator and give -- give him the benefit of the

 4     doubt.     Maybe he is informed by more recent data.           Well,

 5     the October newsletter, which came out in November,

 6     states pooled milk receipts did increase .1 percent from

 7     last month.

 8            So after two months in which the -- in the middle

 9     of which Mr. Keating said milk production is rising, we

10     are still at a net loss from August of 2 percent.              We

11     have been told all summer long that there's too much

12     milk; they are dumping milk.        There's too much milk;

13     they are dumping milk.       And we have also been paid

14     record high prices.

15            I am saying to everybody -- excuse me -- who tells

16     me there's too much milk and they're dumping it, if

17     there's too much milk and they are dumping it, how come

18     we are not getting $16 or $14 a hundredweight?              You are

19     getting record high prices, and we are being told that

20     there's too much milk.       Got that skeptical stripe --

21     strip, I guess.     I say, "Show me."      You know, "Show me."

22            I have a neighbor of mine whose cousin is a milk

23     truck driver, telling me, "Oh, Christmas they had to

24     dump the milk."     I said, "Your cousin, he drives a

25     truck, did he open the valve?"
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 93 of 254
                                                                         93



 1             "Well, no, they put it in the silo at the milk

 2     plant."

 3             And of course they stripped the value.        They -- I

 4     don't know.     Perhaps they are dumping water after they

 5     get out all the protein and fat.         But they're not

 6     dumping milk, and it's illusionary to -- it's deceptive

 7     to tell us, and they are our fiduciaries, and they are

 8     telling us that they are dumping milk.          And in the

 9     meantime, they have been hitting us up for 50 cents a

10     hundredweight.     Contrary to Mr. Keating's assertion, he

11     has been charging 50 cents a hundred pounds of milk

12     since October.     It was 15 cents a hundredweight since

13     July.

14             Assuming -- you can do a little math again.

15     Assuming 60 percent market share -- which is

16     conservative; in my neighborhood, it's, I'm sure, over

17     90, at least closer to 90 -- of approximately 2 billion

18     pounds in the order, one point -- that would be 1.2

19     billion pounds, forgetting the 15 cents from July

20     through -- through, I think it was October they

21     started -- this is ongoing right now.

22             So forgetting that, let's just look at the 50-cent

23     market adjustments, four months.         We have 1.2 billion

24     pounds divided by the hundredweight.         It's 12 million

25     hundredweights times -- is $6 million a month times four
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 94 of 254
                                                                        94



 1     months so far.     That's $24 million this fall, in this

 2     order, because Mr. Keating says milk production is going

 3     up.

 4           All to say, these people who are claiming to

 5     represent us as our co-op leaders and are assuring us

 6     they will review and consider making changes?           Well,

 7     they won't.     They will use every loophole, and there are

 8     many in this inadequate, unfair, and unreasonable

 9     proposed settlement.      The fact is, the arbitrary nature

10     of much of the relief combined with the vast loopholes

11     and brief period of opportunity to take action, coupled

12     with the expansive relief which moves our -- which

13     removes all our risk going forward -- oh, I'm sorry.

14     Let me start that over.

15           The fact is in the -- the arbitrary nature of much

16     of the relief, combined with the vast loopholes and

17     brief period of opportunity to take action, coupled with

18     the expansive release, removes all of our risk going

19     forward.    This proposed settlement gives away so much

20     and guts so little that we would be better off as a

21     class going to trial and losing, for at least the

22     defendants would not be able to get the release.            We

23     would lose 1 percent of one year's gross milk receipts,

24     but they would not get their release.

25           Contradict the proposed failure of relief with the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 95 of 254
                                                                        95



 1     following:    Recognizing DFA is a farmer-financed

 2     international milk-processing corporation.          Gone is

 3     Capper-Volstead protection.        Gone is DMS.    Gone is

 4     GNEMMA. But these become recognized as tools of the milk

 5     mafia, which is, in fact, what they are.          That would

 6     equal release.

 7           My final subject:      There has been filed with this

 8     court a letter opposing settlement.         I have the

 9     unparalleled honor of speaking with the author, Maryanne

10     Miller.    She said she'd like this case to go to trial.

11           She also questioned the class definition of

12     Order 1.     She's always pooled in Order 1.       The market

13     administrator considers her an Order 1 producer.

14     Apparently, and I will put this in quotes, Professor

15     Rausser says it's possible that the unregulated areas

16     adjoining Order 1 are part of the relevant market, and

17     that's part of your opening comments from -- from the

18     class certification hearing on September 26th.

19           I had asked for and never received an answer from

20     my counsel, satisfactory or otherwise, as to why, after

21     the initial Dean settlement talks and after mediation,

22     the definition of the class was changed, excluding named

23     plaintiffs, Donna Hall and Vince Neville.          And I don't

24     know how many other farmers.

25           With regards to the primary reason, however, that I
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 96 of 254
                                                                        96



 1     speak of Maryanne Miller, her location is irrelevant.            I

 2     speak of her because the actions and attitudes she

 3     demonstrates are typical to this class.

 4           What she did not mention in her letter is that she

 5     and her sisters are the only ones working their

 6     third-generation farm.       Maryanne is 65.     Her sister is

 7     69.   Her sister should have had her knees replaced back

 8     in 1999, but she won't do it, Maryanne says.            She has to

 9     stand bending over in order to milk the cows.

10           The neighbors tell them they should switch to beef,

11     but she says, "We've always milked cows."          My

12     grandfather milked cows here until he died in his 90s.

13     Her father did the same.       He has been dead 11 years.

14     She says, "When my sister and I come in for supper,

15     about 10 o'clock," after she sets a while, takes a while

16     for her to get up.      But she says she just has to keep

17     moving, keep fighting.

18           Maryanne writes, "I strongly object to this

19     settlement, and I only wish I could attend this hearing.

20     Due to a full farm schedule which I have endured for the

21     past 45 years, it is not possible for me to attend."

22     When I consider these good women, in that old barn,

23     amongst their cows, bringing forth food to feed this

24     nation, and I think of the great honor I have to

25     represent them here, and I think of how these poor,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 97 of 254
                                                                       97



 1     pathetic lawyers would sell their opportunity to

 2     represent these good women and, worse, they would sell

 3     these women out for a measly $800 an hour, your Honor,

 4     we are fighting for more than $800 an hour here.            We are

 5     fighting for the truth.

 6           And at the end of the day, the truth matters.           The

 7     truth is, this is a betrayal.        This is not a settlement.

 8     My only question for my counsel is what more could you

 9     have given away.

10           Your Honor, please do not join DFA and the

11     plaintiff counsel in our betrayal.         Thank you.

12                 THE COURT:    Thank you.

13           We are going to take our lunch break at this time,

14     and we will come back at one, hear from anybody else who

15     wants to speak.     As I noted, I have some questions for

16     the attorneys, and we will hear from them.

17           Anything to bring to my attention before we take

18     our lunch break?

19                 MR. PIERSON:     No, your Honor.

20                 THE COURT:    All right.     Thank you.

21     (Court was in recess at 12:07 p.m.)

22     (The following was held in open court at 1:05 p.m.)

23                 THE COURT:    We are back on the record in Alice

24     Allen, et al., versus Dairy Farmers of America, et al.,

25     and we are in our fairness hearing.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 98 of 254
                                                                    98



 1           Did anybody else want to speak?

 2                 CLAUDIA HAAR:     My name is Claudia Haar.

 3     That's H-a-a-r.     And I am also a class representative.

 4     Thank you for your patience.

 5           As I speak, I am going to be referring to Mr. Haar

 6     as "Jonathan," just so that there's clarity between him

 7     and my son Joshua, rather than saying Mr. Haar, Sr., and

 8     Mr. Haar, Jr.

 9           Also, I want to offer to the Court my deepest

10     apologies because I did not type Mr. Haar's speech.         So

11     it might be a little challenging for the reporter to be

12     able to decipher it.      After 30 years, I still have a

13     hard time, so I had to get --

14                 THE COURT:    Well, I had an easy time hearing

15     him, so don't worry about it.

16                 CLAUDIA HAAR:     Okay.   Good.   Well, because his

17     writing is the part that -- that I'm sorry to say I

18     didn't take care of.

19           It is a privilege to speak directly to the Court

20     today for several reasons.       First, it is a great

21     privilege to be the voice for fellow farmers who are

22     afraid to openly oppose this so-called settlement.

23           Second, as a class representative for the last four

24     and a half years, there have been times during these

25     proceedings when I have been exceedingly frustrated with
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 99 of 254
                                                                   99



 1     our lack of representation, and I believe a farmer's

 2     perspective would have given clarity to our case and

 3     answers your Honor's questions.

 4           Third, my husband and I, as dairy farmers, have

 5     personally experienced some of the illegal behaviors of

 6     DFA, DMS.

 7           Lastly, I have the perspective, as do the other

 8     class representatives, of one having seen the unredacted

 9     complaint and all of the allegations in its entirety.

10           Your Honor, I now direct your attention to

11     Exhibit A, which everyone has.        Please allow me to read

12     some portions of this e-mail Ralph and Garret Sitts,

13     Richard Swantak, and Jonathan and I sent to our

14     attorneys after this Court denied the initial

15     preliminary approval of this proposed settlement.

16           "In the unfortunate circumstance that your renewed

17     motion would succeed in bringing about a fairness

18     hearing, this would result in class counsel and

19     defendants arguing together against class

20     representatives in favor of a settlement which provides

21     absolution for defendants, millions for class counsel,

22     and pennies for the farmers you signed on to represent.

23     This would demonstrate to the Court the collusive nature

24     of this settlement.      Let's avoid that situation."

25           We then offer a suggestion, and closed with "Your
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 100 of 254
                                                                           100



 1      friends and fellow litigants."

 2            Our suggestion was ignored.       When betrayal set in

 3      and it was clear that the last thread of trust we placed

 4      in counsel was met with disdain, we, as class

 5      fiduciaries, knew we all had to speak on behalf of the

 6      12,000 farming families we agreed to represent.              I know

 7      we have heard that there are only 9,000 dairy farms in

 8      Order 1, however the market administrator reports over

 9      12,000.

10            Just because our dairy farmers in the Amish

11      community did not file claims in the Dean settlement

12      does not mean that they should not be counted.              They

13      suffer from the oppressive monopsony, as do we all.                I

14      am friends with many in our local Amish group.              They are

15      always interested in the status of this case and ask

16      about these proceedings.       They greatly appreciate your

17      diligence as guardian of this class.

18            Your Honor, with your permission, I would like to

19      first address farmers' concerns about the settlement

20      notification itself, the packet, and then I will get to

21      the settlement.

22            There are a variety of farmer experiences woven in

23      to help illustrate the points.        I am trying to keep it

24      brief, but there is a lot of material, and I think you

25      should be made aware of it.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 101 of 254
                                                                      101



 1             With regard to the settlement notification, here is

 2      what farmers have told us:       Some had not received a

 3      packet, simply a notice that they would be receiving

 4      one.   They were not aware that there was an opportunity

 5      to oppose the settlement.

 6             Those that did receive a settlement packet wanted

 7      to know why the actual settlement itself was not

 8      included in it for them to read.        I tried to explain

 9      it's probably not usually procedural.         They were not

10      interested in that excuse.       Many farmers do not own a

11      computer or do not know how to operate one.          The average

12      age of dairy farmers -- I believe Mr. Swantak said

13      this -- is 57 years old.       That's not to say that you

14      can't learn things, but they don't need a computer in

15      their everyday work, so learning to use one has not been

16      a priority.    And with the immense implications with the

17      settlement, they just felt that it should have been

18      included right there in a hard copy for them to read.

19             Also, the Amish avoid this type of technology

20      altogether, so it's very difficult for them to be able

21      to get the settlement.      Even if they were not going to

22      claim, they still would have had an opportunity to read

23      it and perhaps send in letters, like some of the Amish

24      community did.

25             Being that the packet was sent out using -- using
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 102 of 254
                                                                     102



 1      our money through the proposed settlement fund, farmers

 2      wanted a hard copy, which would be more useful to them,

 3      especially to read the release of what they would be

 4      giving up.

 5            Number three.    Most farmers are fearful to openly

 6      oppose this proposed settlement.        I spent a little time

 7      on this, so I will try not to get too lost.          They told

 8      us that to send a copy of a letter in opposition to this

 9      proposed settlement to DFA, DMS defendants, which is

10      what was part of the process, would be to send a letter

11      of complaint about your boss to your boss.          They feared

12      possible repercussions, which some had already

13      experienced, just for questioning our so-called

14      cooperative.

15            Your Honor, please allow me to explain how dairy

16      farmers are compensated for their work, to better

17      illustrate our predicament.       I know we have heard a lot

18      about PI count of bacteria and all these different

19      things, but having a teaching background, I thought it

20      would be helpful to actually -- let's look at these

21      things, what is your milk analysis, and that's what I am

22      going to be doing.     Forgive me if you are already

23      familiar with these items.

24            So to do so, I would like to show you a copy of a

25      milk analysis sheet, which every dairy farmer receives
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 103 of 254
                                                                          103



 1      on a monthly basis, and then a corresponding paycheck

 2      for the same period so that you would be able to see,

 3      okay, this is what your -- the consistency of -- what

 4      makes up your milk and then this is how you are being

 5      compensated.

 6            Okay.    So please refer to Exhibit B while I attempt

 7      to use this machine.

 8                    THE COURT:   You say "this machine."     It's easy

 9      enough for a judge to use, so --

10                    CLAUDIA HAAR:    I love when you say that.      I

11      have used that phrase at home with my own children,

12      "Easy enough even Mom knows how to do it."

13                    THE COURT:   Okay.

14                    CLAUDIA HAAR:    Okay.

15                    (Brief pause.)

16                    CLAUDIA HAAR:    Technical difficulties.      Please

17      stand by.

18                    (Brief pause.)

19                    CLAUDIA HAAR:    As you can see, what you are

20      looking at is the front side of our butterfat protein

21      OS, which is other solids, results from December, but I

22      am jumping ahead.

23            At present time, DFA, DMS analyzes or -- we call it

24      tests our milk.     This, in itself, I would say, is a

25      questionable business practice.        Any other industry
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 104 of 254
                                                                        104



 1      dealing in weights and measures is externally regulated

 2      by government agencies.      For example, it's not

 3      appropriate for gas stations to calibrate their own gas

 4      pumps being that their measure is used in the

 5      calculation of the purchase of fuel.         This is why we see

 6      a seal from the state on gas pumps verifying that they

 7      have been inspected and that they are -- have integrity

 8      with regards to what they are measuring.

 9            So the fact that DFA, DMS measure -- measures the

10      quality of our milk and our components, that's why I am

11      trying to emphasize that this is a very serious matter,

12      and it's questionable because they are the ones who are

13      going to be compensating you.

14            So farmers are primarily interested in butterfat

15      and protein levels in their milk because these

16      components make up the largest portion of our

17      compensation, as we will see when we look at the milk

18      check.

19            So I am just going to point this out here.            Okay.

20      On the left here, I am pointing to the dates.          Actually,

21      you can see that date, all the way down.          This is for

22      December.

23            Your next column, moving to the right, it says

24      "Bfat" is butterfat.      So that's your percentages.        You

25      hear about two percent milk people buy?         And that sounds
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 105 of 254
                                                                        105



 1      like it's really low.      Well, probably the most is going

 2      to be five percent, so it's not -- it's not too -- too

 3      different.

 4            The next one is your protein levels.         The next one

 5      is your other solids that are in the milk.          And the

 6      MUN -- I don't remember what that one is about, but they

 7      don't -- oh, no, I'm sorry, the milk, urea and nitrogen.

 8            Okay.   Now I am going to move this up, and you can

 9      see the top chart -- it's a little bit confusing.             The

10      butterfat is, I believe, the solid bars, and the other

11      solids are on the top.      Mr. Haar didn't explain this to

12      me, but I am a little nervous.        Anyway, the main thing

13      that I want you to see is that farmers are concerned

14      with their butterfat and protein levels.

15            Okay.   So if a farmer starts feeding his cows extra

16      corn silage due to an overabundant harvest, then he

17      should see an increase in his butterfat because that

18      corn is going to be stored as energy, so the fat should

19      go up.

20            However, this was not the case with a fellow dairy

21      farmer who spoke to me.      He was suspect that DFA's milk

22      test was not accurate.      He called his field

23      representative to come out and test his milk under the

24      guise of checking the PI count, which I will explain the

25      PI count.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 106 of 254
                                                                     106



 1              When the field rep arrived and took the sample, he

 2      asked the farmer, "What test did you want me to run?"

 3              "Why don't you just run 'em all," the farmer

 4      replied.

 5              When the test came back, the butterfat component

 6      was 4.1 percent.       Later that day, the milk truck came to

 7      pick up the farmer's milk, and like I said before, every

 8      time the milk truck comes, an individual sample is taken

 9      of that farmer's tank.          So of course he took the usual

10      sample.    That test showed up that the butterfat

11      component was only 3.5 percent.

12              Now I realize 3.5 percent, 4.1, doesn't seem like a

13      big difference, but when we look at the paycheck, that's

14      where the rubber meets the road.          The sample the truck

15      driver takes is the one that's used to determine the

16      farmer's pay price.          This farmer had to argue with our,

17      quote, cooperative to be reimbursed for some of his lost

18      revenue.

19              Okay.    So now I am going to put up Exhibit C.     This

20      is the other side of the milk quality test.          So the one

21      side you have your components of your fat protein, other

22      solids.    On the other side, you have your quality.

23      Okay.     So let's walk through this.

24                      THE COURT:    So just a minute.

25                      CLAUDIA HAAR:    Sure.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 107 of 254
                                                                        107



 1                  THE COURT:    No emergency.     We are just fixing

 2      the monitors for people who can't see them.

 3                  CLAUDIA HAAR:    Oh, okay.

 4                  THE COURT:    Okay.   Keep going, please.

 5                  CLAUDIA HAAR:    Sure.    Thank you.

 6            On this exhibit we see -- and I apologize.            I had

 7      to write at the top.      I didn't get to do fancy sheets,

 8      but we had baby lambs and they were in the house, which

 9      was distracting.

10            Okay, on the far left we have the date here, and

11      then our first column, this shows a supposed quality

12      test result.    The first column to the right of the date

13      column is titled "PLC/PAC/ML."        This shows your milk's

14      bacteria count, which is related to the cleanliness of

15      your facility and equipment.

16            The second column to the right, titled "Optical

17      Cell Count," measures your milk's somatic cell count,

18      which is related to the health inside your cow's udder.

19      Older cows tend to have a higher somatic cell count.

20            The third column to the right is titled

21      "Preliminary Incubation," which you have heard us refer

22      to as our milk's PI count.

23            DFA, DMS started using this test around 2005.            We

24      were told that consumers wanted to be able to leave milk

25      out for an extended period of time.         To this day, I have
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 108 of 254
                                                                        108



 1      not found one person that has this desire.          The nature

 2      of milk is that it is perishable, and leaving it

 3      unrefrigerated will hasten its spoiling.          These facts

 4      have not escaped consumers.

 5            The preliminary incubation test is conducted by

 6      leaving a sample of milk unrefrigerated for 24 hours.

 7      You can imagine the bacteria level of this sample, and

 8      then they measure it.

 9            The PI count is affected by environmental

10      conditions completely beyond the control of the farmer,

11      as our field representative explained to us.          Our field

12      representative said, you know, you try to keep things

13      clean and neat, which affects your bacteria, but

14      essentially, because it's exposed to environmental

15      conditions, you can have a high PI count and there is

16      nothing that you have done to contribute to that.

17                  THE COURT:    I would assume if the testing

18      environment was warmer versus colder, that, in itself,

19      would have a --

20                  CLAUDIA HAAR:    I am totally in agreement.

21            Our field representative still claims to this day

22      that the highest PI count for the month would be

23      dropped, as we were originally told.         But if you look at

24      the bottom of the PI column, to the December average,

25      which would be over here -- I don't know if you can see
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 109 of 254
                                                                       109



 1      that -- you will notice the highest PI count was

 2      included to arrive in this calculation.

 3            I would like to point out that none of our milking

 4      practices were changed during this period.          In other

 5      words, we didn't -- we milked our cows every day the

 6      whole month of December exactly the same that we had,

 7      and yet we have such an erratic range of data.

 8            Because DFA, DMS have linked all three tests --

 9      that would be the bacteria, the somatic cell, and the PI

10      count -- we did not qualify for any premium during this

11      month.    It used to be that if you kept your bacteria

12      within the range you can see -- let me point to the

13      bottom.    Let's see.    Let me move it up a little bit.

14            Okay.   On the bottom you see that there's a range

15      here of excellent, good, fair, poor, unsatisfactory.

16      And then they have the coinciding numbers for that

17      column to say how your milk ranks.

18            It used to be that the levels -- let's see where I

19      am.   Just a moment.     Okay.   No, that's pretty much the

20      point I was going to make about that.         Just that you

21      can -- oh, no, about the three columns.         Okay.

22            So it used to be that if you did well and your

23      bacteria -- let's say our bacteria was excellent,

24      between zero and 5,000.      Okay, then you would get a

25      price premium, let's say maybe 20 cents extra per
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 110 of 254
                                                                     110



 1      hundredweight for that month.       And then if you did more

 2      poorly in the somatic cell, maybe you were only good or

 3      fair, then you might not get that price premium, and so

 4      they used to be done independently.

 5            But now they are linked all together, which is

 6      significant because if the preliminary incubation could

 7      be tampered with, then that means that those farmers

 8      would not receive any price premium over the top.

 9      However, the co-op is still able to market that milk and

10      get the price premium that they want from the

11      marketplace.    So essentially they're skimming off the

12      top, not to be redundant.       Okay.

13            I would like to now turn to Exhibit D.         This is the

14      corresponding milk check that shows how Mr. Haar and I

15      were compensated for our milk.          At the top you can view

16      all of our milk analysis information.          So basically they

17      shrunk what we just were looking at in Exhibit B and C.

18      Exhibit B data is on the left, while Exhibit C data is

19      on the right.

20            Below this section is the pricing information.

21      Please follow the butterfat and protein lines all the

22      way to the right, while I try to point at the same

23      time -- here we go -- all the way to the right to see

24      that these two components contribute the largest

25      monetary compensation of our payment.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 111 of 254
                                                                       111



 1              Your Honor, you may have been flooded by 10,000

 2      letters and/or requests to speak in opposition to this

 3      proposed settlement if farmers were not acutely aware

 4      that DFA, DMS has the ability to directly affect their

 5      paycheck by controlling their milk testing.

 6              This point was reinforced when I met a perfect

 7      stranger on January 3rd of this year.         We were on our

 8      way to Jonathan's mother's 90th birthday celebration.

 9      We stopped in Price Chopper to pick up some last-minute

10      items.    Jonathan and I split up in the store to be more

11      efficient, and he handed me a copy of our letter to

12      alert farmers of this proposed settlement and the

13      effects it might have on them.

14              This is Exhibit E.   So this is a letter that we had

15      put together jointly -- you can see on the second page

16      of it -- with Ralph and Garret Sitts and Richard

17      Swantak, because once the notification had gone out

18      about the settlement, we felt it was our responsibility

19      and duty to let farmers know, "Here's something you

20      really need to pay attention to," especially because it

21      was through the holiday season, which is challenging in

22      terms of time.

23              Okay.   So Jonathan hands me one of these letters

24      and says, "Just look for a farmer."         That's what he

25      said.    I was successful in picking out an older farmer
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 112 of 254
                                                                         112



 1      in his well-worn Carhartt overalls and jacket and his

 2      well-worn hands too.      After patiently listening for a

 3      minute, his immediate comment to me -- this is the first

 4      thing he said -- "Aren't you worried about your somatic

 5      cell count?"

 6            Now, why would he say that if he didn't recognize

 7      the significance of DFA, DMS being in control of our

 8      testing?    As a retired, life-long dairyman who now

 9      raises beef, this man knows the game all too well and

10      was concerned for us.

11            Farmers have also been reticent to openly oppose

12      this settlement because DFA, DMS controls the milk

13      testing of every tractor-trailer load of milk.              If they

14      say that your farm has contaminated a load, then you

15      have to pay for that load, approximately $20,000 at the

16      current milk price.

17            In other words, your sample that's taken from your

18      farm, they analyze that, and all of your milk gets

19      sucked out of the tank, goes into the big tanker, and

20      depending upon if it's a smaller truck or the full-sized

21      tanker -- I believe the full-sized tanker is 90,000 --

22      I'm not exactly sure, but it holds a tremendous amount

23      of milk, suffice to say.

24            And so if your milk -- like let's say you had to

25      treat a cow that had an infection, so you treated him
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 113 of 254
                                                                    113



 1      with some penicillin, you were supposed to withhold that

 2      milk until that penicillin comes through the cow's

 3      system.     If, by accident, the cow kicks the pail and

 4      some of that milk goes into your milk and contaminates

 5      it, or if you put that cow's milk in by accident because

 6      you forgot, then that milk of your milk tank, when it

 7      goes into the larger milk tank, it contaminates all of

 8      that milk.     Okay.   So that's why you're responsible for

 9      the full value.

10              Usually by the time the farmer is informed, the

11      milk has already supposedly been dumped, so you cannot

12      take an independent sample.       I say "supposedly" because

13      there's been many people that have had this experience

14      where they are told by DFA or DMS, "Your milk

15      contaminated a tanker load of milk, and so you need to

16      pay."     That milk is gone, so you cannot go and try to

17      get an independent sample.       It's their word against your

18      word.

19              And I think that's why -- I think it was Mr. Ralph

20      Sitts had mentioned about the $20,000 that we would be

21      getting as class representatives.        "Oh, you know, that's

22      a big amount of money."      That can be gone like that.    So

23      the money is not an issue.

24              Another reason that farmers are apprehensive to

25      openly oppose this proposed settlement is because of the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 114 of 254
                                                                        114



 1      monopoly that DFA, DMS hold on the milk market.             I spoke

 2      to a farmer who was a partner owner of a 2,000-cow

 3      dairy.    He wasn't sure if he should speak out against

 4      this settlement.     "Where would I sell my milk if they,"

 5      meaning DFA, DMS, "take away my market?"

 6            I assured him saying, "I don't condemn you.

 7      Whatever you decide.      I know you have a lot of families

 8      depending on you."     We can always eat venison and eggs.

 9      We sell eggs also, so we have a lot of eggs.          The

10      farmer -- this farmer, along with so many, asked me to

11      please not name them.

12            Jonathan and I have experienced harassments by DFA

13      since we became involved with this lawsuit.          We started

14      having multiple inspections at -- when -- at times when

15      you normally wouldn't.      You would have one inspection,

16      and you passed; you go on.       But since we signed up as

17      class representatives, that hasn't been the case.

18            And we started having these multiple inspections

19      particularly before Jonathan's deposition and prior to

20      him speaking to the Court.       We never could figure out

21      exactly how defendants seemed to know about these

22      events.    It seemed like it was too much of a

23      coincidence.

24            For the first time ever, we were threatened to be

25      dropped by the cooperative when our milk inspector
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 115 of 254
                                                                     115



 1      complained about the excessive mud around our barnyard

 2      just after Hurricane Irene.       At that time, we were

 3      shipping good to excellent quality milk, so here all of

 4      the scientific proof is that your milk is -- is

 5      excellent quality, and yet he came to the farm and he

 6      saw the mud, which I believe Rutland had quite a time

 7      with that hurricane, you know, these -- these items are

 8      beyond our control.

 9            Fellow farmers were not able to get milk poundage

10      information -- okay, this is -- I am going on now.          That

11      was a long section having to do with why farmers would

12      be reticent to bring up objections.

13            Now I am going on to my next point, which is about

14      fellow farmers were not able to get milk poundage

15      information from the market administrator telephone

16      number that was given on the proposed settlement

17      notification.    I realize someone already covered this,

18      but I will go on.

19            They expressed frustration about trying the number

20      over and over, in between farm work, because the market

21      administrator's hours, I believe, only go till five

22      o'clock.

23            As a class representative, Jonathan called the

24      market administrator himself.       Eric F. Rasmussen, in the

25      Boston office, was not available.        Jonathan was directed
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 116 of 254
                                                                    116



 1      to Mr. Rasmussen's counterpart in the Albany office,

 2      Peter Fredericks.     Mr. Fredericks explained, and I

 3      quote, "We're not party to this.        We were dragged in."

 4            When Jonathan asked if anyone had called to ask

 5      permission to give the market administrator's number,

 6      Mr. Fredericks said, "No.       If someone would have called,

 7      I'm sure Eric would have let me know.         We talk all the

 8      time."     Mr. Fredericks was told that Rust Consulting was

 9      at fault.     Mr. Ben Brown had told Garret Sitts and

10      Jonathan that Cohen would not use Rust Consulting again

11      after a number of blunders with the Dean settlement,

12      which they handled.

13            Mr. Fredericks also commented about the boundary of

14      Order 1.     Remember, he works at the market

15      administrator's office.      He commented on the boundary of

16      Order 1 being used in this case, which leaves out

17      farmers who sell into Order 1 but do not reside in.         And

18      I quote, "If they," referring to plaintiff counsel,

19      "wanted to maximize the number of claims" -- in other

20      words, farmers relieved -- "they would never have

21      handled it like this."

22            Your Honor, before I go on with farmers' issues

23      dealing with the settlement itself, farmers insisted

24      that I ask you if you know what the protocol is or if

25      there is a protocol for farmers who have openly opposed
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 117 of 254
                                                                      117



 1      this proposed settlement, in the event that they

 2      experience retaliation from DFA, DMS, either now or in

 3      the future?     They were asking me, "Do we call the Court?

 4      Are we supposed to call counsel?"

 5            I said, "I have no idea if there even is any type

 6      of protections in place."        So, I don't know if you know,

 7      and maybe you can get back to us.

 8                   THE COURT:   So, you have the settlement

 9      agreement, and it has a provision in it, and as your

10      fellow class representatives who talk about how is it

11      enforced, where's the protection, who has the burden of

12      proof, those are some of the questions I have for the

13      attorneys.

14            In the absence of that, you have the rights of a

15      citizen.     If you think a crime has been committed, you

16      call the police.     If you think your civil rights have

17      been affected, you file a lawsuit.

18            So there isn't any special protection that comes

19      out of being in a lawsuit, but I believe the courts take

20      a serious claim seriously.

21                   CLAUDIA HAAR:      Okay.   Thank you.   I'm sorry.

22      I didn't mean to jump ahead.

23                   THE COURT:   No.     That's fine.

24                   CLAUDIA HAAR:      I didn't know that was going to

25      be one of your questions for counsel.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 118 of 254
                                                                      118



 1            In trying to organize farmers' concerns about the

 2      settlement, I was grateful to find and will now use the

 3      nine-factor framework that this -- that the Second court

 4      has identified in determining whether a settlement is

 5      fair, adequate, and reasonable.

 6            Number one, the complexity, expense and likely

 7      duration of the litigation.       I deal with these issues

 8      one at a time, and I deal with them in the most length.

 9      So it's -- the rest -- I won't spend as much time on

10      each of the nine, just to spare you.

11            How complex is this case?       While there is a level

12      of complexity to our case with regards to figuring out

13      damages, which most of them have been figured out

14      already, the body of this case is so simple that even a

15      dairy farmer can figure it out.

16            DFA, DMS is not a cooperative at all, according to

17      the Capper-Volstead term that it must operate, and I

18      quote, for the members' benefit of its -- for the mutual

19      benefit of its members.

20            Our collective experiences have proven this.          DFA,

21      DMS should not be immune under any Capper-Volstead

22      protections, especially their consolidation of the milk

23      markets as is alleged in this case.

24            Okay.   Now I will direct your attention to

25      Exhibit F.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 119 of 254
                                                                         119



 1                  THE COURT:     So, Jen, what happened to the

 2      system?

 3                  MS. JEN:     Did you want to show Exhibit F?

 4                  CLAUDIA HAAR:     No, no, no.    It's an article.

 5                  THE COURT:     Okay.

 6                  CLAUDIA HAAR:     I figured you folks could look

 7      at that.

 8            I applaud Christine A. Varney.        She is the

 9      Assistant Attorney General of the antitrust division at

10      the United States Department of Justice who so clearly

11      explains the intention of Capper-Volstead in her

12      thorough article I have included as Exhibit F.

13            I appreciated this because I was not fully

14      understanding what the implications of Capper-Volstead

15      was, and so it gave me quite an education.          That's why I

16      have included the entire article.        Also, with regards to

17      Ms. Varney's position, I think that it should be

18      considered seriously.

19            In fact, this article was so powerful in its

20      implications with regards to our case directly that five

21      months later Senator Charles E. Schumer from New York

22      wrote to Ms. Varney urging her to leave the antitrust

23      laws alone as they relate to dairy cooperatives.            So

24      obviously this must have struck a chord with someone in

25      the cooperatives, and they contacted Senator Schumer and
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 120 of 254
                                                                        120



 1      said, "You have gotta do something."         That's my opinion.

 2            I have provided this article and another related to

 3      this same topic as Exhibits G and H.         I won't read from

 4      them right now, but it basically explains how Senator

 5      Schumer is -- is asking Miss Varney, you know, "Please

 6      don't touch this area of law because it's very important

 7      that we keep it in place."       Of course, he has his

 8      motivation.    And I do know that, as a cooperative, we do

 9      donate money to various political causes.

10            And the second one, "Regulations May Hurt Dairy

11      Co-ops," this is Exhibit H.       They both have the same

12      author.   I should stop and explain that.         Mark Heller

13      wrote both of these articles.       They are both from the

14      Watertown Daily Times.      Interesting, Mark Heller's

15      mother grew up on a dairy farm down in Chenango County,

16      which is just 10 minutes from where we live.

17            Okay.    So this article, "Regulations May Hurt Dairy

18      Co-ops," Mark Heller interviewed Edward Gallagher, vice

19      president of economics and risk management at Dairylea

20      Cooperative.    To summarize it, what he says is that

21      regulations may hurt dairy cooperatives.          It might make

22      it difficult for them to operate and do the business

23      that they do on behalf of farmers.

24            Dairylea merged with DFA officially in April 2014.

25      So while he was not representing DFA, DMS per se, they
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 121 of 254
                                                                       121



 1      are now officially merged.       And I found out that

 2      information from Mark Heller because I had called him to

 3      get his permission to use his article.

 4            Interesting also, two years after he had written

 5      these articles, his job at the Watertown Daily Times was

 6      ended.   They closed that position.       So he works

 7      someplace else now.

 8            Why our counsel did not clearly represent

 9      simplicity of the body of our case to your Honor remains

10      a mystery.    At the class certification hearing,

11      September 26th, 2011, your Honor asked these questions

12      of Mr. Kit Pierson, and I quote:        "Who is doing what to

13      whom and why?"     This was almost two years into the

14      litigation.

15            Unfortunately, instead of answering your Honor's

16      questions, Mr. Pierson spent quite a bit of the Court's

17      time explaining the defendants' position.          Perhaps that

18      was because he was -- he has 24 years' experience as a

19      defense attorney, largely in antitrust and class action

20      suits.   After that time, Mr. Pierson was hired by Cohen

21      Milstein in 2009, when this case was filed.

22            After the class certification hearing, in September

23      2011, we asked our counsel to please answer your Honor's

24      basic questions.     We said, "She needs to understand the

25      fundamentals of the case."       But what do we know?       We're
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 122 of 254
                                                                         122



 1      only farmers.      They would not.

 2             In October 2011, Jonathan handwrote a note to

 3      address these issues and sent it to the Court.              We

 4      didn't know that that wasn't protocol, and being

 5      farmers, you run into problems; you're on your own.              So

 6      you try to solve them as clearly and directly as you

 7      can.

 8             Okay.    So we learned that the proper protocol was

 9      to sent the information via our counsel.          No problem, we

10      thought.     We then asked counsel to file Jonathan's

11      letter.     They would not.

12             Some months later, Terry Sullivan, who is a highly

13      regarded attorney with BakerHostetler, a woman who has a

14      lot of experience and is highly regarded, offered to

15      help Jonathan with the declaration to get this

16      information to the Court.        So the two of them worked on

17      it.    Mr. Haar was very -- felt very satisfied that the

18      product said what he wanted to say, but he was able to

19      take some help in terms of making it legible, at the

20      least.

21             Mr. Pierson insisted on critiquing the document.

22      Jonathan disagreed with all the neutering of his salient

23      points by Mr. Pierson.        There was no sense in continuing

24      to argue.      Mr. Pierson put his final version in double

25      envelopes.      Jonathan was instructed to sign the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 123 of 254
                                                                         123



 1      declaration and send it to Andy Manitsky, who would then

 2      file it with the Court.

 3            The UPS lady came down our long driveway.             We live

 4      on a dead-end road.      The kids all hollered, "She's here.

 5      She's here."    When she presented the large envelope,

 6      Jonathan ripped it open, he took out Mr. Pierson's

 7      version and put his original document, signed, into the

 8      smaller envelope, and sent it on its way.

 9            Cohen only found out two weeks later when Jonathan

10      expressed his relief to Ms. Sullivan of finally having

11      answered your Honor's questions that are foundational to

12      our case.    We have included Jonathan's original

13      declaration, which is Exhibit I; the critiqued version,

14      which is Exhibit J; and I'm sorry, but I failed to -- I

15      have the third version, which was Mr. Pierson's version

16      that he had put in the envelope that we took out.

17            We realized that this was a little extreme to go

18      through this process, but we needed to make sure that

19      Mr. Haar's declaration was indeed the words that he

20      wanted to declare.

21            This experience contributed to us questioning

22      Mr. Pierson's loyalty and violations related to Rule

23      23(g)(4).    There are so many experiences that I could

24      share of how Mr. Pierson and Cohen and Milstein fought

25      against us and this case, making it much more complex,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 124 of 254
                                                                        124



 1      but I will refrain.

 2              What does all of this mean, what I have presented

 3      you, articles about Capper-Volstead, issues we have

 4      with -- with our counsel?       What does it all mean?

 5              As we read through the papers of our case

 6      proceedings and attended hearing after hearing, we

 7      wondered, why is there so much confusion?          We know our

 8      case, but what we're hearing and what we're reading is

 9      not adding up.     Like your Honor asked, who is doing what

10      to whom and why?

11              It finally came to me, after a nightmare at 5:45

12      this morning.     It's a nightmare for several reasons.             I

13      will be honest.     We have worked with this counsel for

14      quite some time, and there's no pleasure in having to

15      share this information, but it's only because I love

16      them.    Like I tell my children, "I love you.        That's

17      why, if you are doing something wrong, I have gotta

18      correct it.     It's for your own good."

19              Your Honor, there are actually two nightmares of

20      injustice going on here simultaneously.         The first is

21      that DFA, DMS has taken a perfectly sound structure,

22      that being of the dairy cooperative, which literally was

23      meant for dairy farmers working cooperatively to market

24      their milk.     DFA, DMS has corrupted this system by

25      misusing Capper-Volstead in a two-fisted approach:             In
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 125 of 254
                                                                    125



 1      the one fist, oppressing the producers through

 2      monopsony, while at the same time, in the other fist,

 3      oppressing the processors through monopoly.

 4            I'm sorry.    I said that wrong.

 5            The first fist is oppressing the producers through

 6      monopsony, while at the same time oppressing the

 7      processors through a monopoly.        This is a brilliant

 8      plan, but so was Hitler's.       Evil is evil.

 9            Now, the second nightmare of injustice.         Our

10      counsel has taken a perfectly sound structure of

11      antitrust class litigation, whereby citizens of this

12      great nation are able to find justice against illegal

13      oppressive behaviors of giants, which we otherwise, on

14      our own, would not be able to do, or so we thought.

15            How does this work, you may ask?        Your Honor, it's

16      simply a game of cat and mouse.        Counsel gets

17      information from class representatives, and we are all

18      too happy to share this information because we're

19      thinking, This is going to lead to justice, and we are

20      going to have change, and there's going to be a brighter

21      day for dairy farming, the economy of -- the world

22      economy, our children.

23            But they get just enough information to hold

24      defendants' neck up against the wall, and then they say,

25      If you just give us the money, nobody will get hurt.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 126 of 254
                                                                     126



 1            Our counsel has corrupted this system by

 2      specifically addressing off-target issues designed

 3      specifically not to affect any of the business practices

 4      of the defendants, thereby not providing any relief

 5      whatsoever for the dairy farmers or even for the

 6      processors.

 7            They have addressed these off-target issues

 8      voluminously, as you know.       I have heard you say, and I

 9      believe it, that you read every word that comes across

10      your desk.     So I'm going to refer to Exhibit K just for

11      a moment.     Page two of this -- this is an article from

12      Laws360, which is a law publication, and it deals

13      specifically with our case.

14            I would like the Court at a later time to be able

15      to read all of it.     They speak about your ability to

16      split the baby, which refers directly to King Solomon's

17      wisdom in trying to figure out justice.         It's quite an

18      honor.

19            So this article is titled, "Milk Processors Soured

20      After Rare Monopsony Ruling."       I am not going to deal

21      with the article right now -- I will in a few moments --

22      but I am going to direct your attention to page two,

23      right underneath the boldface title saying "Plaintiffs'

24      Sundry Antitrust Claims, Conspiracy, Monopsonization,

25      Attempted Monopsonization and Price Fixing Claims."
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 127 of 254
                                                                       127



 1            For the plaintiffs' remaining claims, the court

 2      effectively split the baby.       And after exasperated

 3      admonishment of both sides' extensive lists of

 4      undisputed facts -- and then they list how many was in

 5      each one -- the court ultimately -- and then it goes on,

 6      and I will deal with that in a minute, that you were --

 7      you were basically buried in all of this information

 8      that was undisputed facts but were still able to bring

 9      some semblance of understanding out of it.

10            Most recent time is the first page in the last

11      filing that the defendants and the plaintiff counsel had

12      given you, I believe it was supposed to be in seven days

13      before this hearing.      And the first page in this packet

14      is the request to exceed the page limit.          I know you

15      have said, and as a teacher I completely concur, that

16      you should be -- if you are intelligent, which these

17      gentlemen are, and ladies, you should be able to state

18      your points succinctly as possible.         So why the

19      exceeding of the page limit?       Why this big workload?

20      We'll get to that.

21            Joshua has done research and found that Cohen

22      employs this strategy often, the first page saying,

23      Could we please exceed -- of course you don't have a

24      chance to respond because then you have the whole

25      voluminous filing before you.       Did they think that they
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 128 of 254
                                                                    128



 1      would fool you, your Honor?       Or perhaps they would weary

 2      you to just sign off on this settlement and make them go

 3      away.    I won't ask you, but I'm sure that the thought

 4      might have crossed your mind.

 5              What they didn't account for in all of their

 6      schemings was providence.       It is my belief that God

 7      Almighty has put you in this position for such a time as

 8      this.    That is why you, your Honor, who were looking for

 9      truth, and we, who were looking for justice, were

10      thoroughly frustrated, until now.

11              This fairness hearing will prove fair in only one

12      way:    It is that we have had this opportunity, as

13      farmers, to deliver the truth directly to you about what

14      has been going on here.

15              Your Honor, that you may serve justice that we are

16      seeking, that is why we are delivering this truth to

17      you.

18              And I will make a side note that -- I think it only

19      came to me that -- early this morning, not that I slept

20      very well this whole week, because I realized that the

21      words that I am saying are very weighty and they have

22      strong implications, and this is not really a place that

23      I wanted to go to.     When I signed up to be a class

24      representative, I was looking relief for fellow farmers

25      and our farm and looking at the future of dairy farming.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 129 of 254
                                                                          129



 1      I had no idea that we were going to be able -- we were

 2      going to be realizing that there is this corruption

 3      going on, not just with the defendants, but also with

 4      our own counsel.

 5            So that is why I use the term about it's a

 6      cat-and-mouse game, you know.       We will beat you up a

 7      little bit, but really not too hard.         Hand us the money,

 8      and we will go away for a while.        It's also job security

 9      because, being that they're not going to change anything

10      that they do if we agree to the settlement, then in 10

11      years we can be right back in here again and be able to

12      keep busy.

13            I would like the Court to know that we did search

14      for additional or potentially new counsel.          It's not

15      like we haven't tried.      We have called antitrust firms

16      all across the country.      We heard many excuses.         The

17      last firm was kind enough to be honest and explain that

18      the world of antitrust lawyers is rather small, and it

19      was doubtful if we would get anyone to step on the toes

20      of our current counsel.

21            My son Elijah, who is here today, recognized this

22      immediately as an unwritten nonsolicitation agreement.

23      Thank you all for the education.

24            One of Mr. Abrams' former colleagues offered to

25      help us add new counsel.       This proposed new counsel
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 130 of 254
                                                                     130



 1      informed us that if we added or procured new counsel

 2      completely, we would run the risk of losing our position

 3      as class representatives.       We left off our search for

 4      now, recognizing that we may need a court order for new

 5      appointment, as in the recent Pella case, from the

 6      Second -- Seventh Circuit, which was decided June 2nd,

 7      2014, where they dealt with appointing new counsel.

 8            I will now address the expense of protracted

 9      litigation.    If I may assume that Mr. Kuney and his

10      associates make the similar 600 to $800 an hour as our

11      attorneys, then they would be due -- that would be these

12      folks -- they would be due about $5 million a year for

13      their services.

14            We need to look at this number in relation to the

15      expense of the class for doing business as usual, which

16      would be the effect of taking this proposed settlement.

17      Having spoken to farmers in the Southeast, we know that

18      things have not only returned to business as usual, but

19      as we heard before, that they have become even worse.

20      If it is farmer owned and farmer driven, then why must

21      you give written permission to show up at a meeting and

22      only be allowed to say your piece and then you must

23      leave?

24            Dr. Rausser's damages models have ranged from a

25      billion dollars to the current figure of $350 million,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 131 of 254
                                                                        131



 1      which we are -- were approved to go to trial with.

 2      Taking -- excuse me.      Taking the lesser amount of

 3      $350 million in damages, to be conservative, divided by

 4      the 12-year period -- this would be from 2002 to 2014 --

 5      the expense of the class doing business as usual with

 6      DFA, DMS is costing us farmers roughly $29 million a

 7      year.    So I don't mind paying Mr. Kuney 5 million.        I

 8      mean, hey.

 9              This is nearly six times the annual cost of

10      continuing this litigation.       So, if we project that this

11      case were to take, let's say, another four years, making

12      it 10 years all together -- I like 10 because it's a

13      good round number -- we farmers would have paid out

14      $50 million to defendant counsel.        If we don't sell

15      ourselves out or persevere for something fair,

16      reasonable, and adequate, we would be unencumbered from

17      this $29 million-per-year expense for milk market

18      suppression that we are already paying.

19              So in less than two years, that $29 million would

20      pay back Mr. Kuney and the firm of this litigation, and

21      we could start using that $29 million a year, which

22      would be kept by farmers, to reinvest into our farms,

23      feed distributors, seed companies, farm equipment

24      dealerships, agricultural supply stores, hardware

25      stores, mechanic shops, diners and other businesses,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 132 of 254
                                                                       132



 1      thereby revitalizing our rural, local economies across

 2      the Northeast.

 3              Your Honor, if this case takes 20 years, then it

 4      would take us four years to pay it back.          Dairy farmers

 5      that I have spoken to said that they would pay this cost

 6      for freedom from our oppressors.

 7              We are not a class of people that are looking for a

 8      handout because we know how to create wealth from the

 9      land.    We enjoy that hard work.      So the idea of getting

10      $4,000, some money back, means nothing.         If we cannot

11      change the structure of how this corrupt model has

12      hijacked what dairy cooperatives were meant to be, then

13      we have no relief whatsoever.       If anything, it just

14      gives them more strength to just tighten the fist.

15              With regard to the duration of litigation,

16      considering our CEO was previously an attorney from

17      Brooklyn -- that's Rick Smith -- and his administration

18      has painstakingly attempted to conceal their illegal

19      behaviors, it's -- what I am trying to say is that

20      Mr. Smith is a smart man, and they have gone through

21      extensive measures in order to conceal their illegal

22      behavior.

23              Also, our senior vice president, Greg Wickham, is

24      brother-in-law to Lawrence Schwartz.         Who is Lawrence

25      Schwartz?    He holds the position of secretary to present
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 133 of 254
                                                                         133



 1      governor of New York Andrew Cuomo.           Like we have

 2      recently seen with the current Sheldon Silver case,

 3      misconduct at these levels takes time to unravel.              It is

 4      interesting to note that Mr. Silver, who is a native to

 5      lower Manhattan, took position as Speaker of the House

 6      in 1994.

 7            What on earth does that have to do with what we are

 8      here for today?        I will tell you.     This is the same

 9      requested time for the releases of the settlement to

10      begin.     Your Honor mentions this odd request that

11      extends roughly eight years prior to this case in your

12      denial of preliminary approval.           Suffice to say, this

13      case will take more time to litigate, but the outcomes

14      may have further-reaching and longer-lasting

15      implications than any of us had originally anticipated.

16            I will now address the next factor in the

17      framework.     I called it your framework because I

18      misunderstood.        I thought this was only Second Circuit.

19      My son Joshua educated me, so -- he says, "Ma, you can't

20      say that."     I am just mentioning that because when you

21      get the copy of it, you would be like, Whoa, what

22      happened?     That's what happened.        The mother was

23      ignorant.     Okay.     But at least I know how to learn from

24      my mistakes.

25            The reaction of the class to settlement.          This is
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 134 of 254
                                                                      134



 1      the second factor in our framework.         What is the

 2      reaction of the class?

 3            I noticed a common theme among most of my fellow

 4      farmers who are in favor of this proposed settlement.

 5      They were honest enough to admit a lack of knowledge

 6      about this case in general or the proposed settlement in

 7      particular.    I would hope that after today's hearing,

 8      they would set aside time to research for themselves the

 9      claims that we are making.       Since DFA, DMS have chosen

10      not to open the record of the case and to keep the

11      majority of the evidence confidential, I realize that

12      their research will be hampered.

13            I would also like to say that we respect these

14      farmers as fellow colleagues and recognize their effort

15      on their farms.

16            It has come to my attention, as a class

17      representative, that there are two other pending

18      litigations against DFA, DMS at this time.          Farmers

19      involved see the -- this broad release and the proposed

20      settlement as unfair and completely unreasonable with

21      regard to being able to pursue any further relief for

22      illegal behavior that has recently been discovered, not

23      to mention the future recovery for illegal behaviors yet

24      to be found out.     Farmers are wondering about the

25      legality of the broad release as well.         They're saying
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 135 of 254
                                                                         135



 1      to me, Can they even do that legally?

 2            The letters you received in opposition sums up the

 3      majority of what farmers think about this proposed

 4      settlement.     I notice a common element in that many do

 5      not want any settlement monetarily, not even injunctive

 6      relief.     These people want this case to go to trial so

 7      that evidence, which currently only rests with class

 8      representatives, would be made public.         Farmers want

 9      justice.     If we plant corn, then we reap corn.           If DFA,

10      DMS has sown corruptions, farmers want them to reap

11      judgment.

12            Some farmers have said that without any remedy for

13      DFA, DMS cooperative status, the milk market

14      suppression, DFA, DMS testing, and in-house elections,

15      the monetary relief is inconsequential.         Some farmers

16      have said that the lawyers could have all the money if

17      they would accomplish the above items of injunctive

18      relief, which would be meaningful and reasonable.

19            We are farmers -- I already said that.         Sorry.      I

20      jumped ahead of myself.

21            It seems to me that whether you are Donald Trump or

22      a homeless beggar on the street, nobody likes to be

23      stolen from.     To accept this unfair, unreasonable, and

24      inadequate relief would be like getting a dead calf back

25      from a crooked cattle dealer who has just stolen your
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 136 of 254
                                                                       136



 1      whole herd.

 2            Some farmers are weary of this fight.         They want it

 3      to be over and just go away.       This all sounds very nice

 4      and appealing, but agreeing to this proposed settlement

 5      actually ensures that it won't be over, and it will

 6      never go away.

 7            How can we give up?      I think of my father, Pasquale

 8      Catalano, who is a 92-year-old World War II veteran and

 9      a Purple Heart recipient.       He was a sergeant in B

10      Battery, 359th Field Artillery Battalion, 95th Infantry

11      Division.     These men earned the title of the Iron Men of

12      Metz for their notable accomplishment of liberating the

13      French city of Metz.      Each person in that generation did

14      their part.     Collectively, they triumphed, bringing

15      deliverance to those in concentration camps and an end

16      to the war.

17            I am grateful and proud of that generation, but I,

18      too, realize that the price of freedom is eternal

19      vigilance.     As Benjamin Franklin put it:       How can I

20      expect our six children to value freedom, stand up for

21      truth, and fight for liberty, if I am not willing to

22      sacrifice in the face of such a great injustice?            This

23      is how I, as a farmer, feel about this case in general

24      and this sellout of a proposed settlement in particular.

25            Counsel has attempted to devalue farmers'
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 137 of 254
                                                                       137



 1      opposition in this settlement.        They say that they know

 2      what is in the best interests of the class.          I will just

 3      address one letter that they commented on, which was

 4      Mr. Eby's letter of -- in opposition to the settlement.

 5      Counsel's argument against Mr. Eby's claim is that he

 6      used the Southeast litigation case in comparison to this

 7      Northeast litigation case, which I find is quite ironic

 8      being that these attorneys completely rely on their own

 9      ability to take similar cases and match them up to their

10      arguments -- or perhaps their paralegal's ability, to

11      match their own -- these similar cases to their

12      arguments in order to litigate them.         This is exactly

13      what Mr. Eby did, and he doesn't have a law license.

14            So in the words of my son Benjamin, who is not here

15      today -- he is taking 19 credits in animal science to be

16      a veterinarian, so he is looking to stay in the

17      agricultural community -- the relation -- this is what

18      Benjamin said:     The relation between a lawyer and

19      farmers is like that of a potato in a corn crib.

20            Your Honor, counsel's criticisms of farmers in

21      opposition are rendered irrelevant with their choice of

22      maintaining ignorance as to our concerns, risks, and

23      livelihood as farmers.      I received permission from

24      Anthony Bilinski to use the last portion of his letter

25      to sum up what the majority of the class thinks about
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 138 of 254
                                                                       138



 1      this settlement.     This is a gentleman who lives nearby,

 2      and -- and he opposed the settlement.

 3            And I quote -- you have a copy of it.         I quote,

 4      "Yes, I know I will likely pay dearly for this letter if

 5      you choose to ignore it, but there is a saying which I

 6      believe applies here.      All it takes for evil to triumph

 7      is for good men to do nothing."

 8            Okay.    So now we get to move on to the third factor

 9      in the framework in trying to determine whether or not

10      the settlement is fair, reasonable, and adequate:           the

11      stage of the proceedings and the amount of discovery

12      completed.

13            Despite the fact that this Court instructed

14      both defendants and subclass counsel at the August 1st,

15      2013, hearing that if they were going to settle, now is

16      the time.     I remember you specifically saying that.         You

17      explained about the -- you explained the effort and

18      resources involved in preparing for a jury and trial.

19            As the Court is aware, we were just 18 days from

20      trial when defendants and subclass agreed on a monetary

21      settlement and notified the Court, before any of us

22      class representatives, that only some injunctive relief

23      need be ironed out.      We are as far along as we can be to

24      trial, save the motions in limine, hearing and trial.

25      So we have an established case.        We have our damages
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 139 of 254
                                                                       139



 1      ready to go.

 2            Number four:    the risks of establishing liability.

 3      We were told by Mr. Ben Brown that he couldn't wait to

 4      take this case to trial.       An attorney at Baker had told

 5      us that they were sure we would win at trial.          Their

 6      only concern was that they -- was what they would

 7      receive in damages.      Because you remember, with the Dean

 8      settlement, they did not receive all that they requested

 9      from this Court.

10            I have provided a copy of the article, Exhibit K

11      from Law360, whose title says it all:         "Milk Processors

12      Soured After Rare Monopsony Ruling."         This article was

13      written about our case specifically and after your

14      summary judgment ruling.       To quote the article, "The

15      Court" -- this is where I left off before, saying that

16      after you had all this piles of undisputed facts to work

17      through, you ultimately found that genuine issues of

18      material fact persisted, and the conspiracy,

19      monopsonization, and attempted -- monopsonization claims

20      must be decided by a jury.

21            In this case, the macroeconomic impact doesn't

22      favor the monopsony with regard to the consumer because

23      they receive no benefit.       In other words, for all of the

24      suppress- -- oppressive behaviors of DFA, DMS, whether

25      they pay us more as farmers or less as farmers, when you
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 140 of 254
                                                                         140



 1      go to the store, the price remains the same.           So it's

 2      not like, Well, we paid the farmers less, and then when

 3      you go to the store it's a little bit cheaper, so

 4      consumers are getting some benefit.         They are

 5      essentially using their power on both ends of the

 6      spectrum, as a middleman has the power to do.

 7            Number five:    the risks of establishing damages.

 8      Our case made it through summary judgment with

 9      $350 million in damages to proceed to trial with.

10      That's all that I have about that.        That was pretty

11      quick.   So pretty much we are in good shape.

12            The risks of maintaining the class through the

13      trial.   Your Honor, I noticed in the defendants -- in

14      the defendants -- of the proposed settlement, filing of

15      memorandum of law in support of the dairy farmers'

16      subclass motion for final approval of the postsettlement

17      with defendants, that -- the last filing that they made

18      seven days ago, that although they have a heading which

19      includes maintaining a class action through trial, there

20      are no arguments listed in that section.

21            Your Honor went through a rigorous analysis before

22      certifying subclasses.      We have no reason to doubt that,

23      having been established, they would not be maintained

24      through trial.

25            The ability of the defendants to withstand a
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 141 of 254
                                                                     141



 1      greater judgment.     Do the defendants have the ability to

 2      withstand greater judgment?       Yes.   We have attempted to

 3      clearly explain how the defendants have unlimited access

 4      to our capital.

 5            Eight:   the range of reasonableness of the

 6      settlement fund in light of the best possible recovery.

 7      Our best possible recovery is that we win at trial with

 8      our damage model of $350 million being trebled, to equal

 9      1 billion, 50 million dollar recovery.         In light of

10      this, the settlement fund is completely unreasonable.

11            The range of reasonableness of the settlement fund

12      to a possible recovery in light of all the attendant

13      risks of litigation.      Mathematically, $50 million

14      represents about 4.4 or 4.8 percent recovery.          In order

15      for this to be reasonable, we would have to have a

16      greater than 95 percent chance of losing at trial.

17      Prior to the blurring influence of settlement, our own

18      counsel would never have assigned this case to that

19      level of risk.     The lack of injunctive relief, coupled

20      with the release, renders this proposed settlement worse

21      than if we had went to trial and lost.

22            In conclusion, your Honor, we farmers want to thank

23      you for seeking out truth to bring about genuine

24      justice.    You have not been willing to just play the

25      good old boys' game.      Thank you for your patience.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 142 of 254
                                                                       142



 1            And in summary, your Honor, here is our position:

 2      We have the mountains of Sinai on our right.          On our

 3      left, Pharaoh and his armies who, for a moment, heard

 4      our cry of "Let my people go."        But at the last, have

 5      turned to pursue us, only to drag us back to Egypt and

 6      the bondage we endured.

 7            We beseech you, your Honor, as our guardian, with

 8      the power to eviscerate the oppressors, to rend the

 9      settlement asunder before us with prejudice, that we

10      might fight on into the promised land, a land flowing

11      with milk and honey.      Thank you.

12                  THE COURT:    Thank you.

13            Does anybody else want to speak?

14                  KENNETH DIBBELL:     Your Honor, I would like

15      to vehemently oppose this settlement.

16                  THE COURT:    So, first things first, your name.

17                  KENNETH DIBBELL:     Kenneth Dibbell.

18                  THE COURT:    Kenneth Dibbell.

19                  KENNETH DIBBELL:     You have it.

20                  THE COURT:    And I do have it, and it's spelled

21      D-i-b-b-e-l, right?

22                  KENNETH DIBBELL:     Two Ls.

23                  THE COURT:    Two Ls.

24                  KENNETH DIBBELL:     Going back, I would like to

25      vehemently oppose the settlement as proposed as being
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 143 of 254
                                                                        143



 1      totally unfair to the producers in Federal Order 1

 2      versus those in the Southeast case.         There is no

 3      comparison.

 4            I'd like to do a little history on farm numbers.               I

 5      was born just 17 miles from here -- correction, 26 miles

 6      from here.    Grew up a lot in Stowe.       All during World

 7      War I, boy -- World War II, 1940, we had 4.66 million

 8      expected dairy producers in this country.          Today, we

 9      have 1 percent of that number, 46,000, is all the

10      producers we have left in this country.         And a very

11      large portion of the milk is being made by a small -- 20

12      percent of the farms, the large farms.

13            It's been a total injustice how the dairy community

14      family farms have been treated by the federal

15      government, by their cooperatives, period.          When it

16      comes to cooperatives, on the milk-testing issue, my

17      cooperative shipped milk to Kraft Foods for 10 years

18      under two contracts, through -- we had an independent

19      lab do the butterfat, bacteria, et cetera.

20            Well, DFA, DMS convinced Kraft to buy their milk

21      from them instead of from the South New Berlin Co-op.

22      We had a choice.     We had no market for our milk other

23      than DMS, or we could have hauled it all the way to

24      Winchester, Virginia, and our trucker wasn't real

25      impressed with that.      So we signed up with DMS.         In the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 144 of 254
                                                                     144



 1      first two months, everybody's butterfat went down two or

 2      more points, their bacteria went up, and their somatic

 3      cells went up.     The same milk had been testing good for

 4      10 years.     That's just an illustration of the

 5      hanky-panky that goes on with DFA, DMS.

 6            The federal government is equally responsible for

 7      this fiasco that has put 99 percent of the dairy

 8      producers out of their business.        They have stolen

 9      their -- their heritage and ruined their livelihood.

10      You have heard it -- farm families say here their kids

11      are not interested.       Well, it is hard work.     There's a

12      lot of reward monetarily, but those kids who grew up on

13      the farm and learned to work are still out there working

14      somewhere.     Those who grew up in town and didn't learn

15      to work are now living off the system.         Second and third

16      generation.     Outrageous.

17            Federal government has created several so-called

18      safety nets to protect dairy farmers, none of which

19      worked.     Price support system works better than most,

20      but it cost the taxpayers quite a lot of money because

21      they had to buy their surplus product and give it away.

22      Well, now we have got 46 million people on food stamps.

23      That's not a small bill.

24            I don't have that one with me.

25                   THE COURT:    I did read your whole letter.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 145 of 254
                                                                      145



 1                  KENNETH DIBBELL:      I beg your pardon?

 2                  THE COURT:    I did read your whole letter and

 3      the attachments.

 4                  KENNETH DIBBELL:      The part that I left back

 5      there, you have it in your packet.        I'd appreciate it if

 6      you study it.     I have got one in my hand, just one more.

 7                  THE COURT:    Sure.

 8                  KENNETH DIBBELL:      USDA Economic Research

 9      Service calculates the cost of production on a U.S.

10      dairy farm, 50 cows or less, as $50.84 per

11      hundredweight.     Go to a hundred cows, it's $40 and

12      change.   It doesn't get down to $27 until it hits a

13      thousand cows.     This should be fixed, but we have been

14      trying for a long time to get a price hearing in

15      Washington.     Well, it hasn't happened.

16            And it's -- our Senator from New York, Kirsten

17      Gillibrand, had it in her farm bill proposal that, upon

18      request, the secretary would have to hold a price

19      hearing, if we could ever get a hearing, we could get

20      this thing on a fair pricing basis, at least.

21            Senate Bill 1645 from 2007, the Casey-Specter bill,

22      would have prevented this current disaster and a loss of

23      a lot of farms in between because it had supply

24      management function.      If it continued to grow

25      oversupply, those who were causing it were going to get
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 146 of 254
                                                                       146



 1      less for their milk, and they were going to maintain the

 2      pay price for the lesser producers.         Their heritage.

 3      But didn't happen.

 4            One more, and I can't remember it.        Thank you for

 5      listening.

 6                   THE COURT:     All right.

 7                   KENNETH DIBBELL:      And study your paperwork.

 8                   THE COURT:     I will.

 9                   KENNETH DIBBELL:      Thank you.

10                   THE COURT:     We are going to take our

11      midafternoon break at this time, five to 10 minutes.           We

12      will come back and resume our hearing.

13            Anything to bring to my attention before we break?

14                   MR. PIERSON:     No, your Honor.

15      (Court was in recess at 2:28 p.m.)

16      (The following was held in open court at 2:40 p.m.)

17                   THE COURT:     We are back on the record in Alice

18      Allen, et al., versus Dairy Farmers of America.

19            And do we have somebody else who wants to speak?

20                   LARRY BAILEY:     Yes, your Honor.

21                   THE COURT:     Yes?

22                   LARRY BAILEY:     Your Honor, my name's Larry

23      Bailey, B-a-i-l-e-y.      And I am going to come at this in

24      a little different light of where -- in favor of the

25      settlement agreement.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 147 of 254
                                                                         147



 1              First, I'd like to give you a little intro that we

 2      are a family farm.     I farm with my wife, my in-laws, and

 3      my brother-in-law.     We milk 1100 cows in Fort Ann, New

 4      York, which is in Washington County, New York.              And as

 5      you well are aware, it borders Vermont and several other

 6      large counties -- or counties in New York State, eastern

 7      New York State.

 8              And within our county there are several different

 9      sizes of farm, from the Amish community now in

10      Whitehall, New York, of 10 cows, to farms that are quite

11      a bit larger than we are.       And as you know from our

12      letter, that we are a member of DFA for now.          We are in

13      our 15th year as a DFA member and very happy with that.

14      Currently, we are currently shipping between 2.3 and 2.4

15      million pounds of milk a month, and it is mainly going

16      to HP Hood in Agawam, Mass.

17              Previously to DFA, we were with an independent, and

18      we chose to go with DFA for the competitive price

19      advantage.    And we wanted to share that there are

20      choices today, and we do have choices today, and on a

21      regular basis, I do look for other options to market my

22      milk.    And so far, in 15 years, even though I do talk to

23      one company probably six times a year -- I am good

24      friends with one of the guys who runs it -- DFA has

25      always been able to give us a competitive price for the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 148 of 254
                                                                          148



 1      hard work that we do on a daily basis.

 2            And in addition, I'd also like to tell you that

 3      we -- in addition to the farm, we also run a grain and

 4      trucking company.     We -- we sell processed grain to

 5      farmers, and we deliver for Cargill Animal Nutrition out

 6      of Salem, New York.      And currently we have nine units on

 7      the road and seven drivers, and we deliver those feeds

 8      into New York, Vermont, Massachusetts, New Hampshire.

 9      And it's been a very successful company, and we enjoy

10      what we do, and we get to visit with a lot of fellow

11      dairy farmers and become their friends.

12            Furthermore, we also own and operate two farm store

13      locations, one in Fort Ann, New York, and one here in

14      St. Albans, Vermont.      And, you know, in these stores, we

15      see different people, we meet people, and we sell things

16      from clothes to boots, fencing, garden supplies.            And

17      actually, I just got back from my convention in Denver

18      where we bought perfume and cologne, so that was a

19      little bit different and a little bit out of the

20      ordinary.

21            And we are a member of the class, and we'd like to

22      see this lawsuit come to an end, and we are in favor of

23      the settlement.     In business, as you are well aware, and

24      we have been in business for a lot of years, there

25      sometimes needs to be compromises made.         These
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 149 of 254
                                                                    149



 1      compromises sometimes move to further benefit everybody

 2      involved.     And businesses need to do this sometimes to

 3      move forward, get on to running and managing their

 4      businesses.

 5            Just like dairy farmers, we need to come together

 6      with our fellow dairy farmers, move on, and go forward.

 7      And visiting with fellow dairy farmers in my community

 8      and customers and friends, you know, we are all feeling

 9      that this needs to come to an end, move on, move

10      forward, turn over a new leaf, and continue forward.

11      And that also helps the relationship that we can have

12      with all our other dairy farmers and all our other

13      farmer families.

14            I'd like to show you that from our farm, and other

15      agribusinesses that we run, and fellow friends, dairy

16      farmers, and other things, our feelings are reflective,

17      as a member of this class, to go forward as a settlement

18      with this lawsuit.     Compromise made here would be a good

19      thing.   We need to allow our friends, our families,

20      other dairy farmers to move forward and get back to do

21      what they do best, running their business, to provide

22      the public with a great nutritional product called milk.

23            Thank you for your time.

24                  THE COURT:    Thank you.

25            Anybody else who would like to speak?
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 150 of 254
                                                                        150



 1                  PAUL BOURBEAU:     Good afternoon.     I'm Paul

 2      Bourbeau, and I really appreciate the opportunity to be

 3      able to speak -- that's spelled B-o-u-r-b-e-a-u -- from

 4      St. Albans, Vermont, in Franklin County, not too far

 5      away from the Canadian border.

 6             I have a fairly unique experience to share with

 7      you.   I am going to give you a little bit of bio and

 8      just to let you know that we have continued to go back

 9      to the DMS system and have made the conscious decision

10      to stay with DMS.

11             I'm born and raised on a dairy farm.        My father was

12      a director of St. Albans Co-op.        When we purchased our

13      own farm in 1982, at the ripe old age of 23, looked

14      around and felt very comfortable with what St. Albans

15      Co-op was offering to many of our neighbors.          And the

16      most competitive, successful farms in our area were

17      members of a co-op system.       Even though there were

18      independents there and other places for us to ship our

19      milk, we decided to go with St. Albans Co-op.

20             We stayed with St. Albans Co-op, but then in

21      February of 2000, we had a barn fire.         We lost all of

22      our milking facilities, lost about half the cows.           Make

23      a long story short, within a couple of hours, the

24      decision had been made for us we were out of the dairy

25      business.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 151 of 254
                                                                    151



 1              We spent all of the year 2000 doing some soul

 2      searching, wondering if that was really the business we

 3      wanted to be in.     And the fact of the matter is I guess

 4      it's something that gets into your blood, and we decided

 5      we were going to build back.

 6              We were offered that opportunity again, in the year

 7      2001, when we built back, where are we going to ship our

 8      milk.    By that time, we had the DMS system up in place.

 9      We looked at what cooperation and working together was

10      allowing producers to do by being part of a larger

11      organization, and we made the decision to go back to

12      St. Albans Co-op and be part of that DMS system.

13              Fast-forward to 2008, the end of 2008, we were

14      looking at a downturn in the economy.         We were looking

15      at a rapid increase in the milk production, and there

16      were a lot of things that were pointing to a low milk

17      price in 2009.     As it turns out, milk prices crashed

18      terribly in 2009, much worse than I would have ever

19      imagined.

20              My wife and I made the difficult decision -- now,

21      keep in mind, I have been a farmer since I was able to

22      put my boots on by myself.       That's what I'd always,

23      always done, that's what I wanted to do, and that's what

24      we continued doing.

25              But still, at the end of 2008, we made the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 152 of 254
                                                                     152



 1      difficult decision to put in a bid, which ended up being

 2      accepted, to participate in the buyout program with CWT.

 3      For one year, we didn't milk any cows.         We sent a letter

 4      to our vendors, to our friends, saying that this was

 5      strictly a business decision, and it was breaking our

 6      hearts, but we truly believed the only way to be in

 7      business long term -- as crazy as it sounds, to stay in

 8      the dairy business long term -- was to have no cows

 9      short term.

10            A lot of farmers went out of business in 2009.

11      It's been estimated that farmers lost an average of a

12      thousand dollars per cow in 2009.        I think we made the

13      right decision being out of business in 2009.          Obviously

14      it wasn't a profitable year, but we -- it allowed us to

15      get back in.

16            So here we were at the end of 2009.         We had

17      co-ops -- I had a co-op that was not part of the DMS

18      system wanted our milk really bad.        I am going to be

19      very honest with you, the last name Bourbeau, being

20      three miles away from the St. Albans Co-op plant, there

21      was -- and also we're only a few minutes away from the

22      Canadian border -- opportunities to sell our milk to

23      independents, and maybe our milk would have been

24      exported; we still made the decision to go back to DMS

25      system.   We shipped our milk to St. Albans Co-op.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 153 of 254
                                                                     153



 1            A few years ago, we -- just three years ago, we

 2      made the decision to switch to Dairylea.          We looked at

 3      what was happening at St. Albans Co-op, looked at

 4      different expenditures that were going to have to be

 5      made for St. Albans Co-op to stay in business, et

 6      cetera.   So without going into a whole lot of details,

 7      we decided to switch to Dairylea.        Common theme there,

 8      though:   We wanted to keep our milk in the DMS system.

 9            Dairylea, as has been mentioned before, and you

10      have heard many times -- and I sincerely mean this.          I

11      am very, very impressed.       For five years all the

12      information has probably been duplicated, triplicated,

13      and so many times sent back to you, but still you're

14      listening, and I really appreciate it.

15            At the end of -- when Dairylea was no longer

16      Dairylea and became part of DFA, we had a choice again,

17      Bonnie and I.    Are we going to go with DFA?        We have a

18      choice here.    We can go to another co-op.        And we

19      decided to stay with DFA, again, to be part of that DMS

20      system.

21            Going back to my younger days, I was there when

22      St. Albans Co-op formed the Young Cooperators Program,

23      program for young farmers and members of farm families

24      to become part of an organization that's part of the

25      co-op in order to learn about our industry and see
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 154 of 254
                                                                     154



 1      what's happening.     My wife and I were part of that

 2      St. Albans Co-op Young Cooperators Program.          We ended up

 3      being national chair couple of the YCs.         Of all the

 4      thousands of members in the YCs, we became national

 5      chair couple.

 6            I only explain that to you because in our travels,

 7      in meeting with the other representatives of different

 8      regions of the YCs, we came back home with a much

 9      greater appreciation of what we had been taking for

10      granted, how much competition there was for our milk and

11      the choices that we had to market our milk.          Not

12      other -- not all other areas of the country had that

13      ability.    So we came back home with a much greater

14      appreciation of something that we might have taken for

15      granted for a long time.

16            In 2009, when the price of milk collapsed and there

17      was a lot of angst in the industry, I had been

18      involved -- as I said, starting with the YCs, I had been

19      involved for many, many years -- with the support of my

20      wife and my family, really paid attention to dairy

21      policy.    Senator Leahy, Congressman Welch nominated me

22      to serve on the newly formed dairy industry advisory

23      committee that Secretary Vilsack put together, an

24      emergency committee, two-year term, to look at new dairy

25      policy and what could we set up.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 155 of 254
                                                                      155



 1            There were a few dairy farmers on that board.

 2      There were industry representatives.         There were people

 3      from academia; like I said, processors and purchasers;

 4      consumer groups.     So -- and government officials.        This

 5      was a very wide-ranging group of individuals with

 6      different interests and different concerns when it

 7      pertained to dairy.      I had always looked at it just from

 8      a dairy farmer.     All of a sudden I was looking at it

 9      from a completely different viewpoint.

10            Again, when we were looking at different ways to

11      come up with different programs to help dairy farmers,

12      one of the things that really stood out, one of the

13      programs -- and the government agencies came in and they

14      said to us, we're trying to figure out exactly what is

15      the market price for milk, what is the actual price for

16      milk in the United States.       And there were three dots

17      around the country, three areas where you could go and

18      there was enough competition for producers' milk that

19      you could actually understand what the true price was,

20      the true clearing price.       And one of those dots was

21      almost right over our farm up here in the Northeast.

22            So, again, I came back from that two years,

23      traveling to Washington, D.C., close to every three

24      weeks, with an even deeper appreciation.          Again, here is

25      a government agency, the national government, is saying
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 156 of 254
                                                                       156



 1      my area of the country, where I am in Franklin County,

 2      Vermont, that's one of the areas they believe is the

 3      truest competition and a lot of competition for my milk

 4      where I have enough different choices.

 5            So given all of that backdrop --

 6                  THE COURT:    How much of that --

 7                  PAUL BOURBEAU:     Go ahead.

 8                  THE COURT:    How much of that do you think is

 9      because of the brand of Vermont milk, and the people,

10      for example, Ben & Jerry's, and we have a lot of cheese

11      producers who want to say, I'm getting my milk from

12      Vermont?

13                  PAUL BOURBEAU:     Very, very honest -- excellent

14      question.    Excellent question.      But for individual

15      brands, like the Ben & Jerry's, that does make a

16      difference where the milk is coming from.          What they

17      were looking at, at that level, the USDA, of how many

18      people were looking to buy our milk, and very little of

19      it had to do with just the fact that it was from

20      Vermont.    We had the whole federal order.        And the

21      federal order had a lot more to do than just Vermont.

22      But excellent question.

23            But -- so I just give you that background just to

24      show you how many different organizations that was

25      involved in, and we still kept coming back -- even with
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 157 of 254
                                                                      157



 1      all that knowledge, kept coming back to the DMS system.

 2            Why am I in favor of this agreement being accepted

 3      and this lawsuit being settled?        I am going to be

 4      perfectly honest with you.       The first thing that comes

 5      to me is the stubborn Frenchman in me wants to fight

 6      this right to the very end and prove we don't owe a

 7      penny.   We didn't do anything wrong.

 8            I have been a school board member for 30 years,

 9      been lead negotiator for almost 25 years serving four

10      different school districts and a high school, lead

11      negotiator with -- for four schools right now, with

12      currently two associations support -- union -- support

13      staff union and a professional staff.

14            Over and over and over, the only way you come to

15      agreement is by compromise.       And there are times when we

16      have had to do things that we didn't really feel

17      comfortable with, but we knew that the best way to move

18      forward and what was the best for the children was to

19      accept an agreement that we didn't really feel

20      comfortable with.

21            I can't say that I truly feel comfortable with the

22      50 million.    I don't know that I really feel comfortable

23      with saying, Yes, we will do this.        We will pay this,

24      because, for me, there's a small part of me that says,

25      Well, even though we are saying we didn't do anything
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 158 of 254
                                                                       158



 1      wrong, there's a small part that's admitting guilt.            But

 2      that's not the way I am viewing this agreement and why I

 3      think it's time to settle.

 4            This is casting such a long shadow over not only

 5      DFA and DMS and St. Albans Co-op, formerly Dairylea,

 6      it's all over this -- our industry.         It's all over all

 7      the producers.     We have got this lawsuit.       We are such a

 8      minority.    It was mentioned before only 46,000 dairy

 9      farmers left in the United States.        Look at how few are

10      left here in the Northeast.       We need to work together.

11      We need to build coalitions.       We need to work with other

12      organizations.

13            I think having this lawsuit here, not knowing where

14      it's going to go, not knowing how many years this is

15      going to last, is really hampering our efforts in this

16      outreach program to get others to work with us as we

17      look forward to having a brighter future for us as dairy

18      farmers.    So this isn't just a DFA or DMS thing.          It's

19      for all farmers and the uncertainty of where this

20      lawsuit could bring us.

21            So, in closing, I thank you very much.         I am really

22      biting my tongue, resisting the urge to retry this case.

23      There's things that I have heard today that I definitely

24      don't agree with, but I think the point of today is what

25      do we feel about this agreement, and I strongly,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 159 of 254
                                                                     159



 1      strongly believe that it's in the best interests of all

 2      producers to -- to get this over with and move forward

 3      with this.

 4            And even though in my letter I said I did not know

 5      all the intimate details -- I haven't been in court

 6      every single session -- I've paid very close attention.

 7      I didn't end up on a DIAC committee, I didn't end up

 8      chair of the national YCs by not paying attention to

 9      what is going on.     I have a fairly good knowledge of

10      what was going to occur, what has occurred, what's been

11      alleged, and I still believe that this is the right way

12      to go.

13            And there's a saying that I have used in the past,

14      and I will use it again.       There comes a point in time --

15      there comes a point in time when you are sitting here

16      wrestling over something and trying to win, the best way

17      out for you to win that tug-of-war is just to go to your

18      end of the rope and call it a day.

19                   THE COURT:    Thank you.

20                   PAUL BOURBEAU:    Thank you very much.

21                   THE COURT:    Anybody else who would like to

22      speak?

23            Yes.

24                   REG CHAPUT:    Thank you, your Honor.     My name

25      is Reg Chaput, C-h-a-p-u-t.       And I will try to be as
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 160 of 254
                                                                      160



 1      brief as I can possibly be.

 2              So I farm in partnership with my brother Michael up

 3      in North Troy, Vermont.      The name of the farm is Chaput

 4      Family Farms, and we milk a thousand cows at 2500 acres,

 5      and we employ 22 people.

 6              I have been fortunate enough to have been born and

 7      raised on the farm.      I'm 57 years old, so I guess that

 8      makes me the average dairy farmer, from what I hear.

 9      And other than a four-year stint in the Army, all my

10      time has been spent on farms.

11              The last 35 years on my own, I have had the

12      opportunity of being in three different co-ops and two

13      independent handlers, so I have got a real good flavor

14      of what options are available out there to market your

15      milk.

16              And I am not a cynical person by nature, but I am a

17      cautious person, so I -- it was important to me, when I

18      got involved with Dairylea in 1997, to start becoming

19      really involved with the co-op.        So I have attended a

20      lot of meetings, been on a lot of the committees.

21              And though I don't -- and I think I am the type of

22      person that I like to ask the tough questions and hold

23      people accountable, and I can say in all that time that

24      I don't feel that there has been any reason to suspect

25      that there has been any type of, you know, agreement to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 161 of 254
                                                                    161



 1      harm in any way.     I think they're always trying to make

 2      the best decisions in -- for all the co-op, even though

 3      I may not agree with everything that they say or agree

 4      to.     I step back from that, I realize; a lot of times

 5      it's simply because it didn't impact me the way I wanted

 6      it to.

 7              But I really think it's important to start moving

 8      away -- to settle this because it's been a real

 9      distraction for the co-op leadership, and it's taken

10      them time away from, you know, putting programs in place

11      that could help dairy farmers from searching for other

12      milk marketing opportunities.       And so I really feel that

13      it's time to just put this to rest.         And so that's all I

14      have to say.

15              And thank you for your time.

16                   THE COURT:     Thank you.

17              Anybody else?

18              Yes, sir.

19                   BILL ROWELL:     My name is Bill Rowell,

20      R-o-w-e-l-l.     My brother and I milk 950 cows in Franklin

21      County, Vermont.     We produce 25 million pounds of milk a

22      year.     We are members of the St. Albans Dairy Co-op,

23      which is part of the DMS system.

24              If you look at our dairy production ending 2014,

25      you will see the United States produced 205.9 billion
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 162 of 254
                                                                        162



 1      pounds of milk.     If you look at our export market of

 2      last year, you will see that we were exporting

 3      17 percent of that annual production.         Today, that

 4      export market is down around 13, perhaps down as low as

 5      12 percent presently.      That additional milk has to go

 6      somewhere.

 7              I'm not a milk marketer.    DMS has done a good job

 8      marketing milk, finding a home for it, for the best

 9      possible price under volatile market conditions.            Food

10      processors are notorious, like any other consumer, of

11      trying to find the best possible price.         Milk is the

12      chief input for any dairy processor.         They are going to

13      buy it just as cheap as they can get it time and time

14      again.

15              We worked for seven and a half years to change

16      national dairy policy.      That was a long road.      We went

17      to Washington many times, many, many times, traveled

18      across the country many times, trying to get farmers to

19      work together.     That's a difficult project.       It's --

20      probably herding chickens would be easier.

21              We did get a safety net that the farmer can buy

22      into.    We did not get a management tool.        So now when

23      there's an oversupply of milk, which we're presently

24      facing -- because feed is cheap, everybody's producing

25      milk, grain is plentiful worldwide, and everybody in the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 163 of 254
                                                                        163



 1      world is producing all the milk they can -- the market

 2      will finally get to the point where it can't absorb all

 3      of the milk.     Who is going to market it?

 4            And in the Northeast, we lack -- particularly in

 5      Vermont, we lack adequate infrastructure.          In other

 6      words, we don't have an overabundance of processors.             So

 7      who is going to market your milk under those conditions?

 8            DFA built a plant in Nevada, last year or two, for,

 9      I think, around a hundred million dollars, and they are

10      taking excess milk and making powder for export, trying

11      to find a home at the best possible price for the milk

12      in this country.

13            I'm apprehensive anytime that I do business with

14      someone.    You always question, is it the best deal?           Is

15      the integrity there?      How do I do better?      And I will

16      tell you this:     From my perspective, for the amount of

17      milk that we are making, I would hate to have to market

18      it, and I doubt that I could do better than what DMS is

19      doing for us.

20            So I will stand with them, and I would like to see

21      the lawsuit concluded because this lawsuit is casting an

22      image over the entire industry.

23            Now, on our farm over the last six and a half

24      years, we have had better than 20,000 people from 27

25      countries tour the farm.       And we often get comments
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 164 of 254
                                                                        164



 1      about the image of the dairy farmer and/or the dairy

 2      industry.      It -- it brings into question the integrity,

 3      and doing so brings into question the quality of the

 4      product and into question animal care.          And if we go

 5      down that road and stay in that rut for too long, you

 6      are really painting us with a kind of a dark brush.

 7              I'd appreciate seeing this settlement, and I'd like

 8      to get moving forward on a more positive path.

 9              Thank you, your Honor.

10                     THE COURT:   All right.     Thank you.

11              Anybody else who wants to speak?

12              Yes.

13                     MICHAEL SWANTAK:   Hello.     Michael Swantak,

14      S-w-a-n-t-a-k.

15              I just want to read a brief definition of

16      Capper-Volstead.      February 18th, 1922.

17              "The Capper-Volstead Act from 1922 allows

18      agricultural producers to form associations that allow

19      producers to compete together in the marketplace."

20              I guess I should say I am not in favor of going

21      through with this settlement for a lot of reasons, but I

22      am just going to keep this brief.          And if you look at

23      what DMS and DFA have done so far, after what I just

24      read, you would say no, they probably haven't broken any

25      laws.    Let me read further.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 165 of 254
                                                                       165



 1            The act states that "persons engaged in the

 2      production of agricultural products as farmers,

 3      planters, ranchmen, dairymen, nut or fruit growers may

 4      act together in associations, corporate or otherwise,

 5      with or without capital staff, and collectively

 6      processing, preparing for market, handling and marketing

 7      in interstate and foreign commerce, such products of

 8      persons so engaged.      Such associations may have

 9      marketing agencies in common, and such associations and

10      their members may make the necessary contacts and

11      agreements to effect such purposes."

12            Still, it's up to you if they have broken that law.

13            Now, there's one more little piece:         "Provided,

14      however, that such associations are operated for the

15      mutual benefit of the members."        And that right there, I

16      have to say, yes, that's clear as it can be, but I think

17      the books need to be open there and just do a little

18      more digging into how they operate compared to what this

19      piece of paper says.

20            And that's all I have.

21                  THE COURT:    Thank you.

22                  MICHAEL SWANTAK:     You want this?

23                  THE COURT:    If you give it to Jen, she will

24      make sure that I get it, so you can come forward.

25            Thank you.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 166 of 254
                                                                        166



 1                  MICHAEL SWANTAK:     Thank you.

 2                  THE COURT:    Anybody else who wants to speak?

 3            All right.     I have some questions for the

 4      attorneys, and we are going to hear from them.

 5            I have, obviously, read your papers.         And I have a

 6      couple subject matters, in particular, that I am

 7      interested in your thoughts on.

 8            When this came before the Court for preliminary

 9      approval and it became clear to me that there was a

10      division between class counsel and class

11      representatives, I had a lot of questions for you about

12      what happens, how does the settlement occur without

13      authorization, can you settle over the class

14      representatives' objections, and you both provided legal

15      briefing on that.

16            But this is not at all the typical case.         I have

17      had settlement of class action suits, obviously, before,

18      and I am interested in your thoughts about what happens

19      when the division is this marked and the class

20      representatives are themselves fiduciaries and take a

21      very different view of the value of the settlement.

22            The release:     I have a problem with the release.

23      As a fiduciary to the class and having the

24      responsibility under the law to look out for their

25      interest, I just see this release as incredibly broad,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 167 of 254
                                                                          167



 1      and it would even involve -- if the milk check was wrong

 2      and you could prove it, that would be extinguished.               It

 3      includes a release of all of DFA and DMS's members.

 4            I would have a hard time -- I couldn't discern who

 5      all is covered because I don't know who they have an

 6      ownership interest in or who's their affiliates.            And

 7      it's a lengthy period of time, and it just is not a

 8      release that says all the claims that have been brought

 9      in this lawsuit or could have been brought in this

10      lawsuit.     It's far vaster than that.      And I just don't

11      see how it squares off with the monetary settlement.

12            So I am very concerned about the release, and I

13      hadn't actually focused on the definition of the

14      complaint, so I am thankful for Mr. Haar for referencing

15      me back to the prelude to the settlement agreement that

16      defines the complaint to include any pleading filed in

17      this case.     And how does that affect the release?         Are

18      we really talking about any mention of any matter in any

19      of the papers filed in this court would be covered by

20      the release?     That would be astonishingly broad.

21            So I have a problem with the release, and sometimes

22      those problems can be fixed and sometimes they cannot.

23            Injunctive relief:     In ultimately granting

24      preliminary approval, I made the comment that the relief

25      in the settlement agreement is broader than what would
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 168 of 254
                                                                           168



 1      be ordered by the Court after a trial, and I only meant

 2      that at this point the injunctive relief claims have

 3      been narrowed to an injunction for anything either the

 4      Court or the jury finds unlawful.        And you really don't

 5      need an injunction to enjoin unlawful conduct.              It's

 6      unlawful.

 7            So that isn't really a lot of injunctive relief.

 8      If a jury finds conduct is unlawful and somebody engages

 9      it in -- the next day, they have got a problem with or

10      without a court injunction.       So I saw this as different

11      in kind as to what would happen at the end of the day.

12            But I am very concerned about the class

13      representatives' careful reading of the injunctive

14      relief and their representations that either they

15      already do it, this is already on the website, this

16      doesn't provide us with any benefit.         So that is

17      concerning.

18            I have been, obviously, your judge from the

19      beginning, and we have had many pointed discussions

20      about what is this case about.        And truthfully, this is

21      the first time I am hearing about the control of the

22      testing and how test results may or may not be

23      manipulated to produce certain results and cause

24      retaliation, and what happens if you terminate your

25      agreement but you have no place to go with your milk.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 169 of 254
                                                                       169



 1            And certainly some of those points are raised, but

 2      one of the challenges in presiding over this case is the

 3      plaintiffs' kind of ever-evolving conspiracy, two

 4      layers -- first it was this act or that act -- and me

 5      trying to kind of corral it into something that was

 6      manageable, and explaining to plaintiffs' counsel, you

 7      know, you should be concerned if I don't understand your

 8      theory of the case, that should be very concerning to

 9      you, and having that conversation.

10            I just -- you know, one of the things that was

11      brought up in the summary judgment motion and other

12      times is this nonsolicitation agreement and co-ops

13      should not be discouraging other co-ops from soliciting

14      their members and there shouldn't be any spoken

15      agreements, and you know that in Silicon Valley that was

16      the focus of Judge Koh's decision and her rejecting

17      approval of the settlement, and there was very strong

18      proof in that case.

19            In this case, there has been strong proof, but I

20      remember Mr. Kuney directing my attention to:          Let's

21      say, for the sake of argument, that happened.          How does

22      it translate into damages?       How does it result in money?

23      And I just didn't feel like the plaintiffs' expert could

24      answer that question.      It was somehow included in there.

25            So I am concerned about when I am assessing the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 170 of 254
                                                                            170



 1      likelihood of success on the merits and how this would

 2      do at trial, that the class representatives have one

 3      case in mind, and I was presented with a different and

 4      much more wide-ranging and unwieldy case than they have

 5      talked about today.      And how do I do that in evaluating

 6      what would have happened in trial and what are the

 7      likely ranges of recovery?

 8            When the parties came to me and said, you know, we

 9      won't want any further opt-outs, I looked at the case

10      law, and I said, yeah, this is -- we're pretty far along

11      in the lawsuit.     People have already had an opportunity

12      to jump in and out of the class, and at this point

13      there's no reason to let anybody opt out anymore.              We

14      have been here for years, and if they wanted to get out,

15      we had opportunities to do that.

16            It gives me pause when I see a release of this

17      magnitude and breadth to adhere to that position, to

18      say, you know what, you are in it, and you are going to

19      be releasing these claims, and you are going to have

20      this very expansive release because you didn't get out

21      when it was -- when the opportunity was there.              So I am

22      worried about that opt-out provision not being here in

23      the settlement.

24            I am interested in your thoughts, which some of the

25      parties -- or some of the speakers said, you know, we'd
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 171 of 254
                                                                       171



 1      be better off going to trial and losing because at least

 2      we wouldn't be giving up anything by way of the release.

 3      And in speaking to these issues, I am mindful of the

 4      people who spoke in favor of the settlement, and it's

 5      understood that settlements are the preferred way of

 6      resolving lawsuits, if it can be done fairly,

 7      reasonably, and adequately.       There's lots of case law on

 8      that.

 9              So I understand that's the backdrop, and we are not

10      really talking about are settlements, in general, a good

11      thing, but is this settlement a good thing.          And in

12      deciding this case, it's different because the

13      challenges are not just the money's not enough, the

14      injunctive relief is not broad enough, but many

15      arguments that, "I wanted this case to go to trial and

16      wanted the facts to be portrayed in front of a jury.            I

17      wanted this exposure, and that's why I was in it."            And

18      I haven't seen too many cases talking about that

19      particular factor.

20              So in analyzing the fair, reasonable, and adequacy

21      of the settlement, the courts don't talk about, but did

22      the plaintiffs really want to go to trial and have their

23      day in court, and did that get taken away from them.

24      But that's a theme here, so I am interested in how you

25      think I should be addressing that.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 172 of 254
                                                                    172



 1            My comments are not intended to foreclose any of

 2      your own.     Those are just some of the things that I am

 3      thinking about.     And I am going to start with plaintiff

 4      for their arguments in favor of approving the

 5      settlement.

 6                  MR. PIERSON:    Thank you, your Honor.

 7            Your Honor, Kit Pierson for the DFA, DMS subclass.

 8            Your Honor, this case, was started five years and

 9      three months ago.     I think you had only recently come on

10      to the federal bench.      It's been obvious from the outset

11      that the case evoked strong opinions and strong

12      emotions.     It evoked strong emotions and opinions by

13      caring, serious people and, frankly, by people on both

14      sides of the case.

15            Our job as counsel, your Honor, and as counsel for

16      the DFA, DMS subclass, has been to look at the facts,

17      look at the law, look at the probabilities and the

18      prospects in an objective way, in a dispassionate way,

19      in a sober way.     That is not always an easy job in this

20      context.    It involves telling people things that they

21      may not want to hear and making hard calls.

22            And what I'd like to do -- and I will try to answer

23      the Court's specific questions in the context of this --

24      is really walk through with you the Grinnell factors and

25      the thinking that led to our analysis of this
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 173 of 254
                                                                        173



 1      settlement, your Honor.      And I would start -- I would

 2      start with two overriding principles that I think are

 3      significant.

 4            Number one is the notion, which your Honor

 5      reflected in the Dean settlement, and it's clear from

 6      the Second Circuit law, that there is a strong public

 7      policy in favor of settlement, and that's sort of --

 8      that's a starting point.       It's not dispositive.        It's a

 9      starting point.

10            The second starting point that I think is

11      particularly applicable here is that there is a strong

12      presumption in favor of the fairness, adequacy, and

13      reasonableness of the settlement when three conditions

14      are present.

15            When the settlement is the result of arm's-length

16      negotiations, that's the first condition.          That is

17      clearly the case here.      These parties wrestled with each

18      other for five years.      They were as -- the Court -- as

19      we explained to the Court, there were sort of

20      false-start settlement discussions over that period, but

21      no one was quick to settle this case, your Honor.             This

22      was the epitome of arm's-length negotiations.

23            The second factor in applying the strong

24      presumption is the stage of the case.         Was there full

25      discovery so that people had an opportunity to evaluate
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 174 of 254
                                                                     174



 1      the situation?

 2                   THE COURT:     So let me stop you on "arm's

 3      length" because the argument that I am hearing is, yes,

 4      until the money's on the table -- and the plaintiffs'

 5      counsel is asking for $16.6 million -- that's when the

 6      arm's length disappeared.       And the word "collusion" has

 7      been used today.     I might define it differently than

 8      that.    So I don't think at this point that that's

 9      uncontested.

10                   MR. PIERSON:     Your Honor, it may be contested,

11      but it is not accurate.       You know, this case was hard

12      fought for five years, and I have been fighting cases

13      hard for 30 years from clients ranging from people in

14      Guantanamo to Microsoft and everyone in between, and

15      this case was no different in that respect, your Honor.

16              What happened in this case, and the reason there

17      was a settlement, is not unlike a number of other cases

18      that all the experienced counsel in this case have been

19      involved in.     You know, we did not have what we regarded

20      as a serious settlement offer, ever, or a settlement

21      offer that we were prepared to accept or recommend to

22      the Court, until we got to the eve of trial, which DFA,

23      DMS looked at their risk and their position changed

24      dramatically.     It happened, frankly, the Friday before

25      the final pretrial conference, which is why we wanted to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 175 of 254
                                                                        175



 1      notify the Court right away.

 2            And after that -- after that was really initiated

 3      by DFA, DMS, you know, there were a series of lengthy,

 4      lengthy phone calls with each of these subclass

 5      representatives.     Now, they are free to disagree on the

 6      merits of that, but there is not the slightest question

 7      in my mind and Mr. Abrams', who is very involved and can

 8      explain himself.     You know, this was hard fought, arm's

 9      length, you know, in the very essence of that.

10            And I will also tell you, your Honor, that a fee

11      calculation was not a factor in my mind.          It was never a

12      factor in my mind.     It's never been a factor in my mind.

13      The Court will decide the appropriateness of the fee in

14      this case.    That's within the Court's discretion.         But I

15      make a decision in this case and other cases about

16      whether to settle without that as a consideration.           And

17      that was -- and that was what was done here.          So that

18      factor is present here, your Honor.

19            The second factor was there a full discovery, you

20      know, what we're really trying to get at there is has

21      counsel -- have you been at this long enough that -- and

22      have you had judicial rulings that gives you an

23      opportunity to assess the pros and the cons and the

24      risks, et cetera.

25            Your Honor ruled that that standard was met in
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 176 of 254
                                                                          176



 1      connection with the Dean settlement.         We're years past

 2      the Dean settlement with a fuller discovery record, with

 3      comprehensive judicial opinions on some of the key

 4      issues in the case, and I am going to talk to you about

 5      those and the significance of those to our calculation.

 6            But -- but, you know, you know, both the Court and

 7      our eyes were wide open in connection with this.             I

 8      mean, it would be hard to find a case -- there are five

 9      million pages of documents produced in this case, your

10      Honor.   It would be hard to find a case where that was

11      more easily satisfied.

12            The third criteria for the strong presumption is

13      whether experienced counsel were involved.          And,

14      your Honor, this is a point that I want to emphasize

15      because there were really five law firms involved in

16      this, and they're law firms -- these are not law firms

17      that are quick to settle cases.        Exactly the opposite.

18            Mr. Abrams, you know, is one of the finest lawyers

19      in the country, as is -- frankly, as is Mr. Kuney.               Very

20      experienced trial counsel.       His reputation is he takes

21      cases to trial.     He is a member of the American College

22      of Trial lawyers.     He is a lawyer that knows when to

23      take a case to trial and not.

24            The same is true of our firm, your Honor.             We have

25      taken -- I personally have taken a class action case to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 177 of 254
                                                                        177



 1      verdict in the last two years.        Our firm has -- and I

 2      supervise the antitrust group.        I am the co-lead of

 3      at --

 4                   THE COURT:     So -- but let me ask you.       I

 5      haven't seen the courts analyze whether a particular

 6      attorney's the type to take it to trial or not take it

 7      to trial.     And I view the Dean settlement very

 8      differently in that at that point Dean said, Here's some

 9      money.     We don't want to be involved, and we -- you

10      know, we aren't going to participate, and we are going

11      to have -- we are going to pay enough to get out of it

12      early.

13              And after the injunctive relief was dealt with,

14      there really wasn't any opposition, that I was told

15      about, to that settlement.       So I don't think it's a

16      question of will you take it to trial or not.

17                   MR. PIERSON:     The question, your Honor, is

18      whether -- is whether you can have confidence in the

19      settlement because the judgment was made by experienced

20      counsel.     That's the question.     Was this made by

21      experienced counsel, or was it made by a bunch of

22      novices?

23              And the point I am making, your Honor, is that,

24      viewed from a variety of perspectives, you have, you

25      know, attorneys with a proven willingness to take cases
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 178 of 254
                                                                      178



 1      to trial.    You have attorneys that have litigated in the

 2      Southeast for seven years, and Mr. Abrams can tell you

 3      everything you need to know about the differences

 4      between that case and this case, not the least of which

 5      was the statute of limitations.

 6              You have two very fine law firms in Vermont, and

 7      you have David Balto, who has been in a senior position

 8      at the FTC, and my partner, Ben Brown, who was in the

 9      Department of Justice's antitrust division.          So you have

10      lawyers that have been on the defense side of cases, on

11      the plaintiffs' side of cases.        I have tried cases on

12      the defense side.     I have tried cases on the plaintiffs'

13      side.

14              You have lawyers looking at this from a variety of

15      perspectives, and those lawyers unanimously concluded

16      that this was in the best interests of the settlement.

17      And that's -- so I am not saying that the presumption is

18      irrebuttable.    What I am saying is that the Second

19      Circuit and this Court recognized in its earlier

20      opinion, I think citing one of those cases, that there

21      is a strong presumption when those conditions are met,

22      and they are clearly met here.

23                   THE COURT:   So let me ask you about that

24      because I started off by saying this is unusual in that

25      I haven't had a settlement of a class action where class
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 179 of 254
                                                                      179



 1      representatives who know a lot about the case -- they

 2      know a lot about the case.       They are not people who have

 3      been kind of floating in and out and are on the caption

 4      and don't know what the case is about, and they don't

 5      share that level of confidence that you have, and that's

 6      unusual, and what do I do about it?

 7            So usually when I'm analyzing are counsel

 8      experienced and otherwise competent and professional, I

 9      am talking about what I see, and I have already found

10      that you are all capable of litigating this case.           But

11      we got a division here that doesn't exist in the

12      ordinary case.     And I assumed that your research was

13      exhaustive when I asked you about it.         Doesn't seem like

14      it's come up a lot in other cases.

15                  MR. PIERSON:    Your Honor, there are numerous

16      cases in the Second Circuit and elsewhere in which class

17      representatives, sometimes unanimously -- which is not

18      the case here; you basically have three farms opposed,

19      one farm in favor -- but you have cases in the Second

20      Circuit and elsewhere where there is unanimous

21      opposition.    And courts say that, you know, counsel has

22      to make an independent judgment of the situation.

23            In all frankness, your Honor, I will tell you one

24      of the reasons that's true here is because the case

25      provokes such strong reactions because it involves
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 180 of 254
                                                                       180



 1      people's livelihood, and we understand that; that

 2      some -- that there are some facts and -- or there are

 3      some myths about the industry that just become

 4      unchangeable in some people's minds.

 5            And I will give you an example of that.         It was

 6      alleged earlier today that Dean has 70 to 90 percent

 7      market control in the Northeast.        Your Honor, there is

 8      no evidence in the record -- not only is there no

 9      evidence in the record supporting that conclusion, it's

10      simply not right.     It's simply incorrect.

11            Now, if I, as a subclass representative, believe

12      that there was 90 percent ownership by Dean here or 70

13      percent ownership, the case would be a very different

14      case, fundamentally different case, than the one you

15      have in front of you.      And, you know, it's a point that

16      we have made, you know, over and over that it's -- you

17      know, you -- it's not a mysterious -- certainly it was

18      in our interest and in Dr. Rau- -- you know, it would

19      have made sense for Dr. Rausser, if that face was even

20      close to correct, we would have claimed it.          It wasn't

21      in our interest to downplay the market share.

22            But you can go to the plants, you can see their

23      capacity, and both experts agreed on that.          And that's

24      why at the end of the day, your Honor, and I -- look, I

25      have the utmost respect for the integrity and the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 181 of 254
                                                                        181



 1      motives of the subclass representatives.          You know, they

 2      have done the job we have asked them to do, and I

 3      applaud them for that.      But at the end of the day, you

 4      know, there's a factual record here, and there's law,

 5      and it has to be taken seriously, and it has to

 6      inform -- it has to inform judgments.

 7            And I will talk about that in a moment when I go to

 8      risk, but an example of that is, you know, your -- the

 9      Court has expressed some very serious concern in

10      these -- in this case about substantive issues.             And the

11      Court's made rulings that have legal consequences for

12      trial and for the risk to class members, and they have

13      to be taken into account.       And that's our job as

14      lawyers:    Even when people who care passionately about

15      this and who we like, you know, wish those facts don't

16      exist, we have to take that into account.

17            So let me turn to the 7 -- to the Grinnell factors,

18      and I will try to do it in a relatively succinct way.

19      The first factor is the complexity and expense and

20      duration of the litigation.       You know, I think that

21      factor is pretty -- it's pretty self-evident.          I have

22      been doing this 30 years.       It's about as complex a case

23      as it gets, and there --

24                  THE COURT:    Well, let me ask about that

25      because I am not convinced it had to be that complex,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 182 of 254
                                                                       182



 1      and I was interested in member of the public's

 2      perception of my perception, and I hadn't read this

 3      newspaper article, about what to do with your summary

 4      judgment motion in opposition.

 5            And it was such an overload of information and

 6      document dump that it would have been impossible for me

 7      to discuss each and every thing that was in that case.

 8      It would have been a year-long writing exercise.            And so

 9      I started looking at documents that I thought did not

10      match up with what you were telling me they said.

11            So you would say, This, you know, reflects their

12      agreement to conspire.      I'd look at the document; I'd

13      say, This doesn't say anything of the sort.          I don't

14      understand where it is.

15            So I'm not so sure that the complexity was built

16      into the case or it evolved.       And if you will remember,

17      we started out with one aspect of milk price, and I was

18      like, That doesn't seem right to me.         I am not a milk

19      expert.

20            Yeah, you are right; it's not right.         Here's a

21      new mix.    That doesn't seem right to me because really

22      what you are looking at is that uniformity that's part

23      of regulation.

24            Yeah, you're right, that's not -- and I told you

25      that's not a good thing.       That gives me a lot less
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 183 of 254
                                                                       183



 1      confidence because I can't -- I don't want to be

 2      second-guessing a national expert in economics about his

 3      theories.     And I kind of felt I was in that position

 4      frequently.     So I am not convinced that the complexity

 5      was inherent in the case as opposed to -- and may be an

 6      effective litigation strategy because it certainly made

 7      the defendants do a lot of work.

 8                   MR. PIERSON:   Your Honor, let me make a couple

 9      comments about that, and it's a dialogue we have had

10      before.     One is, I can assure you if there was a single

11      document that sort of laid this all out and made the

12      simple case like some price-fixing cases that we're

13      involved in, I believe in litigating a case in a simple

14      fashion if, in fact, the evidence will allow you to do

15      that, if there is a single thing to point to.

16            So, for example, you know, you heard reference

17      today to milk testing or concern about milk testing.

18      Your Honor, there were -- and Mr. Abrams can comment

19      about the record in the Southeast, but,         you know, we

20      got voluminous discovery in this case, and there were 70

21      depositions in this case and probably another 50 in the

22      Southeast or 70 in the Southeast.

23            You know, if there had been -- putting aside

24      isolated, anecdotal and largely unproven assertions

25      about that, but limited assertions about that, if the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 184 of 254
                                                                     184



 1      evidence was there, your Honor -- you know, the critique

 2      your Honor has raised is that -- is that we threw too --

 3      in too many things, not that we didn't, you know,

 4      include things we should have included in.          If the

 5      record had supported that, you know, we would have made

 6      that claim.

 7              But with extensive discovery in this case, you

 8      know, it was, at best, a highly tangential issue in the

 9      case.    That's the reality.     And as an officer of the

10      court, you know, I am not going to try to create

11      evidence that doesn't exist, that --

12              You know, but the point the Court raises was a

13      concern for us because we looked at the evidence --

14      there's no single document that sort of lays this thing

15      out, and we explained the evidence as fulsomely as we

16      could.    You know, here's our best evidence.        Here is all

17      our best evidence.     And the Court expressed concerns

18      about it.

19              And obviously, we have to make an independent

20      judgment about that.      And I remember one colloquy you

21      had with me, your Honor, is, you know, the jury's not

22      going to be able to understand this.         It's hard to

23      explain it.    I remember you commenting it was hard to

24      explain to the law clerk.       And, you know, I took those

25      comments really seriously.       You and I have had very
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 185 of 254
                                                                     185



 1      intelligent, I think, dialogues over the last five

 2      years.

 3            And when we present what we have found as the best

 4      evidence in this voluminous record, and the Court says,

 5      "It's confusing.     It's too far reaching.       I don't see.

 6      It, I think -- I don't see the inferences you are

 7      drawing from those documents," your Honor, I can agree

 8      or disagree with that, but I am certainly going to

 9      factor it in to the analysis of how a jury's likely to

10      react to this.

11            And we did, your Honor.      We took your comments and

12      concerns very seriously.       And if there was a simpler way

13      to present this case, if there was a single smoking gun

14      as opposed to sort of a broad conspiracy that involved

15      lots of actors that had to be brought into it, we would

16      have presented the simpler case.

17            But, your Honor, as much as, you know, particular

18      plaintiffs may wish the evidence was like this, or there

19      may be a lore in the Northeast that it's like this,

20      we've got to go where the facts -- where the facts and

21      the record led us, and that's what we evaluated it.          And

22      we evaluated it with your Court -- with the Court's

23      concerns in minds.

24            The only other point I'd make about complexity,

25      because it's raised by the Court's comments, there are a
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 186 of 254
                                                                     186



 1      couple aspects of this record that really do make it

 2      more complex even than -- I mean, I basically have been

 3      doing really complex antitrust cases my whole career.

 4      One thing that is unusual about this case, the

 5      regulatory structure is unusual.        The market definitions

 6      are harder in this case, frankly, I think, than in a lot

 7      of cases.

 8            But the odd thing about this case is even

 9      determining the price, which is an issue you reference,

10      you know, and where is it, what's it -- you know, even

11      when we sort of -- when everyone sort of got on board

12      with the notion that it was over-order premium, then we

13      had big fights with Rausser about whether he was

14      measuring it properly and there was the location

15      differential with Boston.

16            So it's not a case -- and I don't want to belabor

17      the point because it was only one of many factors, but

18      it's a really complex case.

19            The reaction of the class.       Your Honor, I think

20      this is -- this is significant, and I think it does

21      counsel in favor of the settlement.         You have heard very

22      impassioned and prepared and well-meaning statements by

23      several class representatives.        The fact is that 8,859

24      class members were notified about -- about the

25      settlement, and they were notified in a way that was
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 187 of 254
                                                                         187



 1      approved by the Court.      They received -- received the

 2      Court's opinion.     They received direct mail notice.

 3            And this is a case that, you know, people pay

 4      attention to.    These are generally people that have

 5      filed claims before under the Dean settlement.              People

 6      pay attention to this case.       This is real money.         This

 7      is not a coupon.     It's not $25 checks.      It's thousands

 8      of dollars to people who -- you know, it matters.

 9            And, you know, I respect anyone that objected to

10      the settlement, but the reality is that of those 8,850

11      people that got notified, you know, there were 10

12      objections by people that don't understand because they

13      are outside of Order 1, and that's a ruling the Court's

14      already made, was a correct ruling, and that left --

15      that left the three subclass representative farms and

16      their various members who objected, and it left 14 other

17      objections.

18            And, you know, we have commented on some of the

19      deficiencies in those objections.        Some were untimely.

20      But I don't really care about that.         Let's just take the

21      number at face value.

22                  THE COURT:    So let's talk about that because,

23      as my judicial colleagues and I are grappling with class

24      action suits, and I have heard people say at conferences

25      they ought to be abolished because it's just not
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 188 of 254
                                                                    188



 1      achieving the benefit that was intended, silence of the

 2      class is increasingly less used as that means everybody

 3      thinks it's great.

 4             And one of the things I was thinking about over the

 5      lunch hour is, if you have a Pella window settlement,

 6      and you don't get what you want for your defective Pella

 7      window -- I have to go look at the case again, but I

 8      can't remember the facts -- what's going to happen to

 9      you?   You are going to -- you don't get your -- your

10      window fixed.     You don't buy windows there anymore.

11             And the point here is, "These people control our

12      livelihood.     They have our milk checks in their hands,

13      and they have the future of our ability to find a place

14      to sell our milk."     And you need to factor that in and

15      the amount of courage it would take to get up here and

16      talk about -- people use the phrase "complain about your

17      boss to your boss."

18             So I don't think that courts are saying, with

19      routine, like they may have previously, there's 5,000

20      people in the class and I haven't heard anybody in this

21      class action suit file an objection -- and I have had

22      those class actions -- and that must mean all 5,000

23      people are happy because you and I are getting class

24      action solicitations at home, and we're not answering

25      them either.     So what about that?
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 189 of 254
                                                                     189



 1                  MR. PIERSON:     I think that's a fair

 2      observation, your Honor, but I have a couple reactions

 3      to it.

 4                  THE COURT:     All right.

 5                  MR. PIERSON:     So let's take, as a given, 99.8

 6      percent, and I think that's basically the statistic.

 7      99.8 percent of the people that were contacted about the

 8      settlement with direct mail, with a court-approved

 9      notice, in your opinion, did not object.          And that

10      argument might have some force if only -- if it was only

11      the DFA, DMS members that were not objecting.

12            But here, about half of those people -- it may be

13      more than half of those people -- do not sell their milk

14      through DFA, DMS.     So you have got thousands and

15      thousands of farmers who, at least as the class

16      representatives suggested, actually got a little less

17      relief out of equitable relief.         So if anyone had a

18      right to complain or if anyone would be expected to

19      complain, it would be those thousands and thousands of

20      people.

21                  THE COURT:     So let me ask you about that.     I

22      don't -- let's assume, for the sake of argument, I have

23      the benefit -- I don't have to work with DFA and DMS,

24      they are not doing anything to me, and you want to give

25      me money, and I am going to say yes.         I am going to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 190 of 254
                                                                     190



 1      release them.    I haven't had any kind of relationship to

 2      them, so I am not giving up anything.

 3              How is that a factor that would make them more

 4      likely to object?

 5                   MR. PIERSON:   Because, your Honor, a part --

 6      and Mr. Abrams can speak to this, but part of the whole

 7      premise of this case has been that those farmers had

 8      antitrust claims, and that, you know, under the

 9      settlement they are releasing their claims, and they

10      have got to decide whether the benefits of the claim --

11      the benefits of the case financially and in terms of

12      equitably make it -- it's making sense for them to do

13      that.    And, you know, what you know is that 99.8 percent

14      of the people that were informed of that, you know, had

15      no objection to it at all.

16              And there are two other points I would like to make

17      in connection with that.       One is -- and this is

18      significant, your Honor.       You know, this notice was not

19      only sent -- you know, this information has not only

20      been sent to the -- to the class members.          It was also

21      sent to attorney generals in 10 states, including

22      Vermont; it was sent to the Department of Justice; it

23      was sent to the Attorney General for the District of

24      Columbia, none of whom have said that this is

25      unreasonable, that it's insufficient, that it's
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 191 of 254
                                                                     191



 1      wrong-handed.     None of them.

 2            And you may remember, in connection with the Dean

 3      settlement, the Vermont AG -- and we talked to the

 4      Vermont AG's office about the case frequently over the

 5      years and about the settlement.        You may recall that

 6      they did come in, in connection with the Dean

 7      settlement, and raise concerns about whether the money

 8      was sufficient.     None of those entities have raised

 9      objections.

10            The other indicia you have here, your Honor, is --

11      you know, the fact of the matter is, even though the

12      deadline for submitting claims is not till the end of

13      May, you know, 600 farmers have already basically voted

14      with their feet by filing -- I think the number's 576 --

15      by filing claims.     So you have got 576 people that are

16      already standing in line saying, I'd like the benefits

17      of the settlements, versus, you know, really, frankly, a

18      fairly de minimis -- I would say a de minimis level of

19      objections.

20            You know, give that factor whatever weight you want

21      to, your Honor, because I, frankly, think there are

22      other factors that may be more important, but I do think

23      that factor supports settlement here.

24            The third factor, the stage of proceedings, I don't

25      need to belabor it.      We are obviously -- that factor is
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 192 of 254
                                                                    192



 1      obviously satisfied.      We are late in the game here.

 2            I do want to talk about the risk factors that went

 3      into our analysis.     And there were several and they are

 4      significant.

 5                  THE COURT:     Would you agree with Miss Haar

 6      that there was really no risk that you would lose class

 7      certification in the midst of trial?

 8                  MR. PIERSON:     You know, your Honor, I wouldn't

 9      say -- I wouldn't say that that is not a risk, in all

10      honesty, and there's a couple reasons for that, because

11      we are fighting that issue in basically every court in

12      the country, including the courts of appeals.

13            There were two risks, your Honor.        Number one, DFA,

14      DMS had made it clear in their motions in limine, that

15      they were continuing to contest that, and, you know,

16      they -- as they have a right to, because the Court can

17      revisit the issue.     And what was going to happen at

18      trial, I think, we all know, is that they were -- I

19      mean, I think they had listed 30 or 40 farmers as

20      witnesses, if not more.      And they were going to get on

21      the stand and praise DFA and praise DMS, et cetera.         And

22      they clearly were going to raise that issue again,

23      your Honor.

24            And the second point is that if we got a jury

25      verdict, there is not any -- there's zero question in my
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 193 of 254
                                                                    193



 1      mind that it would have been raised on appeal because,

 2      you know, your original ruling -- you know, the Court's

 3      struggled with it.     The Court wrote two comprehensive

 4      opinions, and I think pretty close issue in the Court's

 5      mind was -- was my sense, maybe -- I am not trying to

 6      read your mind, but it was an issue, and it was going to

 7      be raised on appeal.

 8            So I would not say it was the foremost risk we were

 9      concerned about.     It was a risk.

10            Here are the foremost risks that I would -- that I

11      would say we focused on.       The first was one that

12      your Honor has raised, which is the statute of

13      limitations issue.     And you have raised it at every

14      juncture of the case.

15            As you know, you know, farmers, for years, didn't

16      pursue these claims until -- you know, until we agreed,

17      really in 1990 -- end of 2009, I guess, when the case

18      was filed or -- when we -- or 2011, whenever it was, a

19      long time ago.     You know, the conduct here goes back to

20      1998, and the concern that your Honor repeatedly

21      expressed was, you know, what about damages outside the

22      four-year limitations period?

23            And you expressed serious concerns about that from

24      two perspectives.     You know, one, legally do you guys

25      get over the bar?     And, two, even if legally you get
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 194 of 254
                                                                      194



 1      over the bar, I would say you expressed skepticism about

 2      whether there really was a fraudulent concealment case

 3      here.    And you allowed us to go forward on that at

 4      summary judgment, and we understood that.

 5              But we also understood that your Honor had

 6      commented that we bore a heavy burden on that issue,

 7      that the jury was likely to be instructed that we bore

 8      the burden on all those issues, and that your Honor had

 9      expressed skepticism at various points about whether,

10      given this record, we could really get over that bar.

11              So I am not saying that was dispositive, but we

12      understand that for the claims outside the four-year

13      period that was an issue that had -- that the Court had

14      taken very seriously and we would have to take very

15      seriously.

16              For claims within the four-year period, those

17      claims had statute of limitations issues, too, that we

18      had to grapple with.      We posited three theories for why

19      damages -- those damages were recoverable.          One was

20      Berkey Photo.     One was speculative damages, which were

21      actually the two theories that we pushed the hardest,

22      both of which the Court ruled against on summary

23      judgment.

24              The third theory was continuing violations, which

25      the Court allowed us to move forward on but with the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 195 of 254
                                                                    195



 1      limitations that are applicable to that doctrine, and

 2      some pretty strong language about that that's -- you

 3      know, that the Second Circuit has taken a very narrow

 4      view and restricted it to quite compelling

 5      circumstances.

 6            So the statute of limitation issues, which

 7      essentially were not issues in the Southeast, were --

 8      that's a risk factor we had to take very, very

 9      seriously.

10            The second cluster of risk factors has to do with

11      other rulings by the Court, one of which -- and it's an

12      important one, and I will talk about it a little bit

13      when I talk about the amount -- the monetary amount of

14      the settlement -- was that -- that certain damages in

15      the case, which the defendants had estimated at

16      approximately a third of the claimed damages, were not

17      recoverable because they were umbrella damages.

18            And the Court, in fact, ruled on that issue and

19      ruled adversely to us.      So it was more than a risk.     It

20      could have been an appeal issue.        But it was a ruling we

21      had to grapple with, and it went directly to the

22      recoverability.

23            Secondly, you had expressed concerns, as we

24      discussed earlier, about the theory that

25      comprehensive -- whether it would be comprehended by the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 196 of 254
                                                                     196



 1      jury and whether -- whether the inferences we were

 2      asking for from the evidence -- they were not persuasive

 3      to you.    And the fact that they -- that you had concerns

 4      about it meant that there was a good chance some of

 5      those jurors would have it.

 6                  THE COURT:     Let me ask you about the damages

 7      again.    We had a couple numbers float by, and do you

 8      agree that, when you were going into trial, you had

 9      settled on a request for 340 million that could

10      potentially be trebled, or do you disagree with that?

11                  MR. PIERSON:     Let me answer it in a -- in a

12      somewhat -- I agree with the 340 -- well, actually, I

13      need to modify that.      Let me walk you through my

14      analysis of the numbers.       Okay?

15            So starting principle is, in evaluating a

16      settlement, you have to start -- you have to analyze it

17      relative to single damages.       The Second Circuit has --

18      Second Circuit said that in Grinnell that it is improper

19      to view it in terms of treble damages, and that has been

20      repeatedly held.     So the starting number, your Honor, is

21      341 million.

22            The umbrella ruling issue, the umbrella ruling,

23      according to the defendants' perspect- -- from, you

24      know, the defendants said -- your Court -- the Court

25      accepted their position on umbrella damages.          They said
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 197 of 254
                                                                           197



 1      that knocked out a third of the claimed damages.              So

 2      that gets you down to about $230 million in cognizable

 3      damages, your Honor.      40 percent of those damages,

 4      about -- which is about 90 --       I think it's 92, 93

 5      million dollars, are outside the four-year limitations

 6      period.    So those damages are only recoverable if you

 7      win on fraudulent concealment.        The remaining damages

 8      that are within the four-year period I think come out to

 9      about 135 or 140 million dollars, your Honor.

10             So that's -- you know, you get all -- and then that

11      is subject to all the other risks in the case.              That's

12      subject to the risk that they put 25 farmers on the

13      stand and the jury is unconvinced that DFA's done

14      anything wrong here.      It's subject to their challenges

15      to Dr. Rausser's testimony.       It's subject to issues

16      about -- about the market definition.         It's subject to

17      all -- it's subject to their defenses about which

18      companies -- which conspirators were actually in the

19      case and is it a narrower conspirator that's been

20      alleged and does that mean other damages are umbrella

21      damages?

22             So, you know, if we win all the statute of

23      limitation issues, the damages are 231, you know, if

24      you -- if it gets limited to the four years, you are at

25      140.   And then you have all the risks below that.             And
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 198 of 254
                                                                       198



 1      we are talking about a settlement here, your Honor,

 2      which is $50 million in addition to the $30 million

 3      already recovered, so it's 80 million dol- -- and the

 4      30 million would be an offset against any treble damage

 5      award that comes out of the case.

 6            So you are talking about a $80 million recovery

 7      with that amount of damages in play.         You know, we are

 8      not talking 4 percent, 5 percent.        We are talking about

 9      the recovery of a very substantial percentage of damages

10      here in a case in which the risks of financial recovery

11      were very, very high.

12            The other risk factor that I want to mention,

13      your Honor, has to do with the risk of delay.          To be

14      frank with your Honor, your Honor's ruled on a lot of

15      tough issues in this case, and a lot of -- and probably

16      a lot of issues that could have gone either way,

17      reasonably could have gone either way.         And what it

18      inevitably meant, your Honor, was that whatever happened

19      at trial, whatever happened in post-trial motions, there

20      were going to be appeals regardless of -- regardless of

21      who won.    And certainly in the scenario in which the

22      plaintiffs win there were going to be appeals.

23            And my experience is that means -- in a case with

24      this much at stake, it means an appeal to the Second

25      Circuit.    If it's denied for the defendants, it means
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 199 of 254
                                                                     199



 1      request for en banc review followed by a cert position.

 2      My experience, your Honor, is that is a two- or

 3      three-year process, and that's if we win.          There's no --

 4      if we win.    There's no relief and no payment for

 5      probably a two-and-a-half-, three-year period.

 6            If the case gets reversed and sent back for

 7      retrial, which is not uncommon in an antitrust case of

 8      this complexity, where your Honor has to make so many

 9      hard calls -- if the case gets reversed for a new trial,

10      with the possibility of further appeals, we could be

11      talking five to ten years before there's any relief or

12      anyone gets paid.     And that -- that was another factor

13      that it would have been irresponsible -- irresponsible

14      not to weigh, your Honor.

15            The issue -- the next Grinnell factor is the

16      ability of the defendants to withstand judgment, and I

17      don't think -- I don't think that was a major factor in

18      our calculation, to be honest with you.         I don't think

19      it was -- not entirely clear that they could have

20      withstood the higher end, but I think the record -- we

21      proceeded on the assumption that they could pay a

22      judgment.

23            I talked about the reasonableness of the financial

24      amount -- the range of the financial amount.          I'd like

25      to talk about the equitable relief that was obtained in
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 200 of 254
                                                                     200



 1      the case, and there's several points I want to

 2      highlight.

 3            The first is that one component of the equitable

 4      relief, your Honor -- and it was a really -- it was an

 5      important component here, was that the

 6      nonsolicitation -- the settlement agreement prohibits

 7      nonsolicitation agreements going forward.          And it does

 8      so without time limit; that the FSA provisions in the

 9      agreement are limited to the term -- basically to the

10      term of agreement in time so that the FSA provisions

11      basically have a two-year period.

12            The nonsolicitation group -- the nonsolicitation

13      provision moves forward.       And frankly, your Honor, as I

14      reviewed -- as we reviewed the record in this case, you

15      know, nonsolicitation in the industry, this is -- it's

16      been a -- from our perspective -- the defendants

17      disagree and would have contested at trial, but, you

18      know, we emphasized that a lot.        We thought it was a

19      major part of the liability evidence.

20            And I know your Honor had questions about how it

21      linked up to the damages, but I know the Court had also

22      said, if I read your remarks correctly, that when you

23      looked at the record, this was the one part of the

24      record -- you had some questions about some other

25      inferences, but this was the one part of the record that
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 201 of 254
                                                                     201



 1      seemed problematic.       And I completely agree with that

 2      assessment.     And, you know --

 3                   THE COURT:     So let me give you the devil's

 4      advocate.     They know they are not supposed to be doing

 5      that.    The judge has already said this looks like a

 6      meritorious issue.     I don't know how it translates into

 7      damages.

 8              How much do you gain in a settlement agreement that

 9      says, "Don't do that," when they're kind of already on

10      notice that that's probably something they need to

11      refrain from?     And then I'm -- one of the points raised

12      is, how is this enforced?       Who has the burden of proof?

13      Who's monitoring it?       How do we know whether it's

14      happening or not?

15                   MR. PIERSON:     Well, you know, your Honor, it's

16      enforced like any other provision in the settlement.

17      The settlement provides, you know, the Court has

18      continuing jurisdiction.       So one of the early

19      allegations in the case, Mr. Haar learned -- correctly

20      learned -- of this unwritten agreement that existed, and

21      it was one of the facts that he brought to our

22      attention.

23              So, you know, it is a world in which there's an

24      exchange of information of -- you know, fairly

25      suspicious crowd up there.       I mean, people are looking
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 202 of 254
                                                                             202



 1      for things.     So -- but it's like any other provision in

 2      a settlement.     If there's a -- it's -- a settlement is a

 3      contract.     If they violate the Court keeps continuing

 4      jurisdiction.     If there's a violation, they can raise it

 5      with the Court, and the Court presumably will issue a

 6      show cause to show why it hasn't been violated.

 7            And, frankly, if someone came to us after the

 8      settlement was put in place and said, "I think there's

 9      been a violation of the settlement agreement," we would

10      assess it, and we would do something about it.              So

11      that's the short answer to your question.

12            I digress just for a second on that point.             You had

13      raised the issue about the case out in Silicon Valley in

14      which the settlement was originally not approved.                I

15      think the Shervi (phonetic) settlement, which I may be

16      -- may be approved.      But that -- the reason that

17      settlement wasn't approved -- there are two fundamental

18      differences.     Number one, the Department of Justice in

19      that case had already weighed in and said, I think the

20      way you are doing this in this industry is illegal.

21            I think the defendants here -- I don't think

22      they -- I think they were contesting whether they had a

23      nonsolicitation agreement.       It's not clear to me they

24      were conceding the illegality of it because there is law

25      that creates arguments both ways on that.          It was not
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 203 of 254
                                                                    203



 1      clear to me they were conceding the illegality, even

 2      if -- even if it was proven.       So that's one difference

 3      with the Silicon Valley case.

 4            But the fundamental difference with the

 5      Silicon Valley case is that the problem in the

 6      settlement there was that the plaintiffs had settled at

 7      a high number in terms of the percentage of the damages

 8      early on in the case.      Let's just call it 20 percent.

 9      That's not the exact number, but let's call it 20

10      percent of damages.      And then everything went well in

11      the case for them.

12            And the next defendant comes along two years ago,

13      and they say, Okay, we are going to settle with you for

14      10 percent.    And that's what bothered the judge was that

15      the -- it made no sense, given that everything had gone

16      well, that suddenly they were settling for substantially

17      less than they'd settled for earlier.

18            This case --

19                  THE COURT:    But I recall last time we were

20      here, I said -- I was commenting on that, and somebody

21      told me, Well, there's a writ of mandamus, and she

22      shouldn't have done that, and she shouldn't have been

23      looking at the case in that way.

24            And you know what a writ of mandamus is, and I do,

25      and that's the circuit court saying you have overstepped
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 204 of 254
                                                                      204



 1      your power as a judge.

 2             So did the Ninth Circuit issue a writ of mandamus?

 3                  MR. PIERSON:     I don't think so, your Honor.

 4      And, frankly, I mean, I don't think I said that because

 5      I --

 6                  THE COURT:     I am not saying you said it.

 7      Somebody said, Don't rely on that.        There's a request

 8      for a writ of mandamus.      You know, that's way beyond

 9      what Judge Koh should have been doing.

10                  MR. PIERSON:     Yeah.   And, frankly, I don't --

11      the reason -- see, I don't have a problem with that

12      analysis.    So, for example, here, if we had settled with

13      Dean for $75 million, a hundred million dollars, and we

14      came in and said, You should accept the settlement, two

15      years later, even though, you know, we don't -- we

16      haven't walked the smooth path that Silicon Val- -- we,

17      you know, have walked an up-and-down path in which we

18      have taken some hits, had some rulings that helped us

19      and some rulings that hurt us significantly.

20             And -- but be that as it may, if we were coming in

21      here saying, you know, accept a $50 million settlement,

22      even though you accepted a hundred million dollar

23      settlement two years ago, you and I both would be

24      scratching our heads about this.

25             This situation is exactly the opposite.        Here, you
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 205 of 254
                                                                       205



 1      know, Dean settled for $30 million.         This settlement is

 2      67 percent larger, it's $50 million, and that's the

 3      case, notwithstanding the fact the umbrella ruling

 4      potentially knocks a third of the damages out of the

 5      case.    The statute of limitations issues are what they

 6      are.    Rausser's -- Rausser's taken some hits.

 7              So it's really -- it's really, I would say, almost

 8      exactly the opposite of the situation out there.            So I

 9      don't want to -- you know, I don't want to overemphasize

10      that.    I just think it's a fundamentally different

11      situation.

12              So point one about the equitable relief is that it

13      deals with a nonsolicitation problem in a way that is

14      enduring, is as enforceable as any settlement provision,

15      and if the case had gone to trial and there had been a

16      defense verdict, it would have been a validation -- the

17      notion that there was no risk in going to trial and

18      losing and that wouldn't have resulted in bad things,

19      it's just fundamentally wrong.

20              If this case had gone to trial and they had won,

21      farmers that wanted practices at DFA and DMS to change,

22      including nonsolicitation, they would have been nowhere.

23      And not only would they have been nowhere, it would have

24      been res judicata.

25              The second aspect of the settlement agreement is
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 206 of 254
                                                                          206



 1      the full-supply agreement.       And the important point I

 2      want to make about the full-supply agreements is, you

 3      know, there's this notion that was expressed that Dean

 4      controlled 70 to 90 percent of the market.          That's just

 5      wrong.

 6            What the full-supply agreement provision does is

 7      say, you know, for the next two years, you are limited

 8      to the full-supply agreements in Schedule A.          And our

 9      best calculation, your Honor, is that that's about 30

10      percent of the market.      It may be slightly less; it may

11      be slightly more, but it's about 30 percent of the

12      market, which leaves 70 percent of the market in play,

13      particularly with these nonsolicitation provisions gone.

14            And, you know, that was presented to all the -- to

15      all the state attorney generals and the Department of

16      Justice.    You know, no one has expressed concern about

17      that as sort of an appropriate way to deal with that

18      issue.

19                  THE COURT:    So let me ask you about that

20      because the full-supply agreement provision says you can

21      keep what you have and renew it, and you can't have new

22      ones during this time period.       And I am hearing, Well,

23      that's exactly what we are worried about, what you have

24      in place and what you have the ability to renew.            And

25      that is the focus of this case.        It's not future
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 207 of 254
                                                                       207



 1      supply -- full-supply agreements.        It's what's on the

 2      ground now and how it's affecting the market.          What

 3      about that?

 4                  MR. PIERSON:    Your Honor, if the agreement

 5      preserved more than 30 percent -- more than 30 percent,

 6      that would -- that would raise a significant concern,

 7      and it would have raised a significant concern to the

 8      state attorney generals.       But when it's 30 percent and

 9      when it's been presented to the Department of Justice

10      and attorney generals in every state that's been

11      affected, and no one has said that is an insufficient,

12      inadequate way -- unreasonable way to deal with this

13      problem, that's a -- that's a reasonable term of

14      settlement, your Honor.

15            The other provisions I wanted to comment on was

16      there are a number of the provisions that go to the

17      integrity of the financial information presented by DFA,

18      which has been an issue -- you know, it's not at all

19      clear that that's relief that could have been ordered.

20      Even if the case was successful, that requiring them to

21      do their statements in connection -- pursuant to GAAP,

22      et cetera, requiring --

23            I mean, one way to view this -- I guess a good way

24      to express it is, you know, look at this like a

25      Sarbanes -- Sarbanes-Oxley provision.         And, you know,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 208 of 254
                                                                      208



 1      corporate America is not happy about the Sarbanes

 2      requirements, people certified, et cetera, et cetera.

 3      You really gotta look at those provisions about the

 4      integrity of the financial information collectively.

 5            They require, without time limit, the use of a

 6      national accounting firm, which has independent -- you

 7      know, which has its own liability risks, et cetera, et

 8      cetera.   So they are required to do that.         They are

 9      required to conform to GAAP, which is fundamental to

10      financial integrity and is -- and they're under no such

11      requirement right now.

12            And, thirdly, senior management and the

13      independent -- and the auditors committee are required

14      to certify, are required to affirmatively represent that

15      they are responsible for the preparation and integrity

16      of the financial state- -- of the financial statements.

17      So that's really where the Sarbanes-Oxley piece kicks

18      in.   That isn't required right now, and --

19                  THE COURT:    So -- and I agree with you that I

20      would not be taking that kind of micromanaging effort in

21      injunctive relief after a trial in which you prevailed,

22      especially since you didn't ask for that, but the

23      argument on the other side is, yes, and if we find

24      something, we have released it.        So it's great to know

25      what's going on, but that release wouldn't allow us to
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 209 of 254
                                                                      209



 1      do anything about that.      What about that argument?

 2                  MR. PIERSON:     I'm sorry.   I am not --

 3                  THE COURT:     So you have got a financial

 4      disclosure.    We are going to find out about this.         But

 5      we are not going to be able to do anything about it.

 6      And I know that the release is not for future claims,

 7      but what about that argument?

 8                  MR. PIERSON:     That's the point, your Honor.

 9      That is a provision -- injunctive relief, you know,

10      fundamental -- I mean, we dealt with anticompetitive

11      conditions, really, I think, about as well as we could,

12      and really the only compromise that could realistically

13      have been achieved here.       Those provisions are really

14      going-forward issues, to --

15            So we try to deal with a couple aspects of this.

16      Sort of there are issues about which Mr. Haar, in

17      particular, was quite concerned about, about corporate

18      democracy, financial integrity, transparency of the

19      records.    And, you know, as in any case where you are

20      dealing -- you know, injunctive relief is designed to

21      stop illegal behavior in the past, but it's also

22      designed to address issues going forward.          And none of

23      those provisions were time limited, your Honor.

24            They were real concerns that Mr. Haar expressed to

25      us.   They were things that could not have been achieved
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 210 of 254
                                                                        210



 1      at trial.     And they're a significant provision.          I mean,

 2      corporate America is in an uproar about Sarbanes-Oxley.

 3      So those are significant provisions.

 4            The other provision, your Honor, that I wanted to

 5      emphasize was -- was this disclosure of the factual

 6      record here, which is substantial.        I mean, you know, we

 7      don't want to release five million pages of documents to

 8      the public.     I don't think the Court would have wanted

 9      it, the third parties involved wouldn't want it, et

10      cetera.

11            But pretty much all the bad evidence in the case is

12      in the summary judgment pleadings, and if it wasn't

13      there, it was in the class certification proceedings.

14      And, you know, as a term of the settlement, we

15      negotiated the ability to release that information.             And

16      it will be -- I am confident it will be posted on the

17      Vermont Attorney General's website, just as they posted

18      earlier information.

19            And that has -- that has implications for farmers.

20      It has implications for the public.         And perhaps most

21      importantly, it has implications for law enforcement

22      agencies and legislatures.       And part of our view about

23      this case all along, your Honor, has been to get that

24      evidence out there; that at the end of the day -- you

25      know, it is not realistic for the Court to be managing
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 211 of 254
                                                                        211



 1      milk markets for the next five, 10, 15 years.          At the

 2      end --

 3            And I think there's probably agreement on that,

 4      that a lot of the solutions here, at the end of the day,

 5      need to come from antitrust law enforcement agencies,

 6      need to come from state legislatures, need to come from

 7      farmers making informed choices.        And that's -- that's

 8      what that's designed to do.

 9            Now, there are a couple of broad points I would

10      like to make about the equitable relief.          One is that

11      the equitable relief achieved here is somewhat greater,

12      from my perspective, than the equitable relief achieved

13      in the Southeast, which was approved as fair,

14      reasonable, and adequate on a -- frankly, on a stronger

15      record.   You know, this is broader relief in the sense

16      that it deals with nonsolicitation, which the Southeast

17      didn't deal with at all, which was a major part of the

18      evidentiary record here.

19            It is broader than anything that was done in the

20      Dean settlement.     You will remember that we tried to

21      take one step in that case, and it resulted in a lot of

22      divisions about how to handle FSAs.         And so the Dean

23      settlement, which was approved by the court as fair,

24      reasonable, and adequate, doesn't have -- doesn't have

25      any kind of injunctive provisions like that.          So this
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 212 of 254
                                                                    212



 1      settlement goes beyond both of those settlements, which

 2      were -- which were approved.

 3            It was sent to every relevant law enforcement

 4      agency, state and federal, that regulate this order.

 5      None of them said those provisions are insufficient.

 6      There are other provisions you should be considering.

 7      Nobody, including the Vermont Attorney General's Office,

 8      raised any concerns --

 9                  THE COURT:     Well, I would think it would be an

10      overstatement that they got intimately involved in the

11      Dean settlement.

12                  MR. PIERSON:     Excuse me?

13                  THE COURT:     They did not get intimately

14      involved in the Dean settlement either, and I don't see

15      them popping up in other cases.        So I assume you didn't

16      get a lot of input in the Southeast milk case from them

17      either.

18                  MR. PIERSON:     Yeah, I would say -- well, I

19      can't speak for the Southeast milk case, but what I

20      would say, your Honor, is that -- so, for example, when

21      Vermont intervened earlier in this case -- they do look

22      at the settlement, and they do discuss -- and they do

23      discuss these terms with us.

24            But I recall, because I looked at the letter the

25      other day, when they intervened in connection with the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 213 of 254
                                                                      213



 1      Dean settlement, they specifically said that sometimes

 2      they intervene, sometimes they don't.         They look at

 3      these settlements, and, you know, for the state of

 4      Vermont, the milk industry is central.         This is not --

 5      this is not a window frames or whatever.          This is -- you

 6      know, this is a highly political issue that people

 7      are -- people are paying attention.

 8            So, your Honor, you are going to have to make a

 9      judgment about how much weight to give that.          But all I

10      am saying is that you had some very experienced,

11      hard-working antitrust counsel that made a judgment

12      about this, and you had -- it's sent to every law

13      enforcement agency, which, under CAFA, we are required

14      to send it.    We probably would have sent it to them

15      anyway.   But, you know, there's a framework set in place

16      for them to review it.

17            And I can't -- certainly outside of Vermont I can't

18      make represen- -- and even within Vermont I can't make

19      representations of how they do their job or whatever.

20      What I can tell you is there's a mechanism in the law,

21      in CAFA, to get them this information so they can review

22      it, so they can let a court know if they have -- they

23      have any concerns about its sufficiency, and none of

24      them, at the state or federal level, has raised any

25      concern about it.     No one's raised concerns to us.        No
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 214 of 254
                                                                          214



 1      one's filed any concerns with the court.

 2            So the reality with this equitable relief,

 3      your Honor, is that, you know, you can -- I guess there

 4      is one other point I want to address, and then I'll -- I

 5      want to make sure I have answered all the Court's

 6      questions.    But here's the other point I wanted to make.

 7            You know, you know, a colleague of mine told me

 8      once -- and you've probably heard the same expression --

 9      don't let the perfect be the enemy of the good.             And

10      there -- you -- one can always point to some provision

11      and say, well, this could have been a little better or

12      that could have been a little bit better.

13            But if you -- you know, one of the frustrations

14      that I have had is -- in sort of working through what I

15      think is a really good settlement, and -- I think it's

16      an excellent settlement.       It's not just a pretty good

17      settlement.    I think it's really -- it's an excellent

18      settlement.

19            One of the frustrations I have had is when you try

20      to sort of tie down, well, what is it you'd like to have

21      happen here, other than what's happening?          I kind of

22      made notes about a couple things that were mentioned

23      today, which seemed to be sort of the guts, other than

24      what I would describe as sort of, you know, minor points

25      about, well, they are already doing that, or they may
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 215 of 254
                                                                            215



 1      not be required to do in the future but they are kind of

 2      doing it now, I would -- and I don't mean this

 3      disrespectfully.     Some of those I kind of put -- I just

 4      don't think those are really material criticisms, but

 5      there were a couple things they mentioned.

 6              They mentioned there should be controls on

 7      nonsolicitation.     Well, there are controls on

 8      nonsolicitation.     And I don't really know what more we

 9      could have done with that than -- we have done it.              We

10      have got a blanket going-forward provision subject to

11      court enforcement.

12              There was a lot of talk about milk testing.           And,

13      your Honor, the reality is there just -- it hasn't been

14      a major part in the case because there just wasn't --

15      you know, we had five million pages of documents.              If

16      there was a strong evidentiary basis -- you know, to a

17      flaw, we included things in this case.

18                   THE COURT:   Well, let me tell you the kind of

19      ballpark appeal of it.      DFA, DMS controls the testing.

20      The testing is done at the time the truck picks up the

21      milk.    The milk goes thereafter.      There's no retesting.

22      And you have to have confidence in the tester.              So why

23      not say, You know what?      A lot of other industries have

24      independent labs doing that, and why can't you divest

25      that part of your business and -- or outsource it or do
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 216 of 254
                                                                        216



 1      something so it's in independent hands?         And then when

 2      we're told that we contaminated a truckful of milk and

 3      we have to pay $20,000, it's on us.

 4             So that's a lot to ask, but I didn't -- I have

 5      never even heard that request before today.          I hadn't

 6      heard that was something that was that important to the

 7      people that were primarily the source of information to

 8      you.

 9                   MR. PIERSON:     Your Honor, if -- if -- the case

10      has been going on for five years.        The class reps are --

11      are not shy.    You know, if they had -- you know, they

12      saw the summary judgment papers.        You know, they saw

13      their argument.     I mean, if there were, you know,

14      concerns that -- the only concern that was ever really

15      raised -- and it goes to a point Mrs. Haar raised --

16      was, Gee, why aren't you making more of DFA ownership of

17      processors in the Northeast?       I mean, I think from their

18      perspective -- and, again, there's a certain lore in

19      the issue.

20                   THE COURT:     Let me say, they have asked to

21      speak directly to the Court, and I try my best to

22      respect the attorney/client relationship, because it

23      comes up, especially in criminal cases, where somebody

24      says, Can I just talk to you without my attorney?           And I

25      have to explain that that might not be in their best
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 217 of 254
                                                                    217



 1      interests.    But they did make efforts to have that

 2      direct conduit.     So I don't know what they were going to

 3      say.

 4             But when we were talking about the Dean settlement

 5      hearing and other instances, I do remember taking a

 6      break and allowing you to talk to them about their

 7      desire to talk to me.

 8                   MR. PIERSON:   Well, you know, your Honor,

 9      what -- fair enough.      I don't disagree with anything you

10      just said.    The problem for us, as lawyers, your Honor,

11      is that, you know, we gotta go where the evidence takes

12      us.    And, you know, the evidentiary record did not

13      support making that a substantial part of the case.         I

14      mean, it's been raised as -- you know, there was one

15      person, I think the farmer in Upstate New York, who had

16      concerns about this, but even his testimony, his

17      deposition was, Well, I thought maybe that had happened,

18      but, you know, I didn't really have a way to prove it.

19      I'm --

20             So there are suspicions, and there are a lot of

21      suspicions in this industry.       But as lawyers,

22      your Honor, we can't make this stuff up.          And we

23      can't -- if it's not provable in some objective way,

24      someone -- someone saying, Gee, you know, my PI count

25      was high, and I don't really think it should have been
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 218 of 254
                                                                     218



 1      that high --

 2                   THE COURT:     I am not talking about in terms of

 3      falsification of data or misrepresenting the milk test

 4      results.    I am talking about in terms of control, which

 5      was a theme in this case.       And you talked to me about

 6      control of processors, and I pushed back and said, Well,

 7      what about these independent processors?          And we talked

 8      about milk leaving the order and when it could happen

 9      and when it was not.

10              And I see this as an issue of control, is if the

11      person who is determining what's going on with your milk

12      is also the person who's paying you, they have got a lot

13      of control.

14                   MR. PIERSON:     Your Honor, here's the problem,

15      though, is that there was minimal evidence -- in this

16      record of five million pages and probably a hundred -- a

17      hundred-plus depositions in the two cases, there was

18      minimal evidence -- and that may be overstating it --

19      that that authority had ever been abused in any way.

20              And, you know, we can't -- believe me,

21      your Honor -- and you see some of this in the various

22      objector statements.      There are so many suspicions and

23      concerns about what DFA is doing, et cetera, et cetera,

24      you know, we -- there's gotta be evidence to support

25      them.    There have gotta be facts to support them, or we
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 219 of 254
                                                                      219



 1      can't -- we can't tube a settlement because things that

 2      have limited -- limited, if any, support in the record

 3      aren't being addressed.

 4            And, you know, ultimately, your Honor, you know,

 5      that question just goes to -- you know, a settlement's a

 6      compromise.    I mean, are there other things that

 7      potentially could have been addressed?         Yeah.   I mean,

 8      there's always more you could do.        There are always more

 9      criticisms.    But there simply was not a factual basis in

10      the record to push that issue hard, particularly on a

11      class basis.

12            Your Honor, the other -- you know, when you asked

13      the other thing -- when they say, Okay, well, what could

14      you have done differently?       What would we like to have

15      seen you do differently?       The other things that were

16      mentioned was abolish DMS, which, you know, just as

17      counsel for the DFA, DMS subclass, I mean, that's

18      just -- was a non -- it was a nonstarter, relief we

19      would never get.     I don't think it was relief we could

20      advocate.

21            There was discussion -- what has probably been

22      maybe as important an issue as any to Mr. Haar is

23      changing the way votes are tabulated and having --

24      getting rid of block voting and doing voting by mail and

25      having an independent person counting it.          And, you
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 220 of 254
                                                                     220



 1      know, we tried to negotiate that issue.

 2              We got what I would call modest relief on that

 3      point, in the sense that they agreed to look at it and

 4      implement changes if they concluded those were

 5      warranted.     But there was no possibility that a jury

 6      trial would have resulted in that -- in that relief.         So

 7      even going forward to trial wouldn't have gotten them

 8      that.

 9              And the only other really specific thing that was

10      mentioned is that they like board members to attend --

11      to attend contract negotiations.        There are 53 board

12      members.     The settlement provides that they gotta

13      disclose -- they gotta disclose the contracts to the

14      boards, and that's -- that's really sort of the only --

15      I mean, I think it would -- A, it was not a material --

16      it's really not a material change they were suggesting,

17      and it was not a practical change, your Honor.

18              I do want to leave some time for Mr. Abrams to

19      address -- to address points that I haven't addressed.

20      I'm not sure I ticked off all the Court's questions.

21                   THE COURT:     I had -- doesn't matter to me

22      which of you address it.       I had concerns about the

23      release.

24                   MR. PIERSON:     Yeah, let me say a couple things

25      about the release too, and Mr. Abrams can make any other
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 221 of 254
                                                                    221



 1      comments he wants to about it.

 2              Number one, this is the release that was used in

 3      the Southeast.     It was approved by the court in the

 4      Southeast as fair, reasonable, and adequate.          I

 5      understand that's not binding on you, but it is the same

 6      release that was used there.       Mr. Abrams can talk about

 7      this.    But I -- I don't believe anyone was objecting to

 8      it down there, nor do I believe that -- that anyone has

 9      said, subsequent to the settlement, that that release

10      has caused problems for people.        Maybe Mr. Abrams will

11      know better than I too and he can tell you if I'm wrong.

12              Secondly, there were two -- the release language --

13      you know, general release and also a release of sort of

14      affiliated entities, that's pretty standard in

15      settlements from my experience, and Mr. Kuney can speak

16      to it directly, but, you know, the concern -- here's the

17      concern with not releasing the affiliates, et cetera, et

18      cetera, is that -- is that if we release the claims

19      against DFA, DMS, what's to stop us --

20              I was just involved in another settlement -- in a

21      mediation in which the defendant was raising exactly the

22      same issues.     What's to stop you the next day from going

23      in the back door and suing their affiliated entities or

24      their officers, et cetera, on exactly the same theory?

25      So --
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 222 of 254
                                                                        222



 1                  THE COURT:     I agree that officers, employees,

 2      agents may be covered.      I am concerned that I wouldn't

 3      be able to tell you who's covered by this release.          I

 4      would have some guesses on some of it, but I think -- I

 5      see a lot of releases, and I think this is a broad

 6      release.

 7                  MR. PIERSON:     Your Honor, what -- what I would

 8      suggest -- and, again, Mr. Abrams and Mr. Kuney will

 9      have their own -- their own perspectives on this, but it

10      did seem to me that if the Court has concerns about

11      particular provisions like that or particular language,

12      they are curable problems.       They are not a reason --

13      they may be a reason to say, I need to see a different

14      release from you.     Can you guys -- this is my concern.

15      Can you address this in language? but that's -- you

16      know, rather than starting over, after five years and

17      three months, I think that that would be the thing to

18      do.

19            So let me close with this comment, your Honor --

20      with a couple comments.      You know, one thing I have

21      tried to really stay away from is -- as you can imagine,

22      your Honor, it wasn't -- it wasn't easy to hear some of

23      the perspectives that were expressed today.          I have been

24      an attorney for 30 years, you know.         I came from a

25      family -- my father was a teacher, a professor; my
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 223 of 254
                                                                       223



 1      mother was a minister.      I came into this profession, and

 2      I ultimately moved to the plaintiffs' side, and I have

 3      been running the pro bono program at my firms for 10

 4      years.   I came to it because of a really -- a really

 5      deep commitment to justice.

 6            And there are two things that have defined my

 7      career, your Honor.      One is integrity, and one is an

 8      intense dedication to the cases I worked on.          And

 9      that -- that has not just been true of me.          That's been

10      true of all of my colleagues in this case.          You know, we

11      have fought like hell in this case for five years to do

12      the right thing.     And we brought exactly those --

13            I have no fear about going to trial.         I got the

14      biggest -- was part of the trial team that got the

15      biggest verdict in the country two years ago.          That was

16      not an issue here.     Fees were not an issue.       We did what

17      we thought was the right thing.        We got -- we have

18      gotten $80 million for farmers in a case in which the

19      damages -- the realistic damages, maximum, were not a

20      whole lot above that, and the defendants were saying

21      they were zero.

22            We dealt with a solicitation problem, which has

23      been a major problem in this industry.         We got equitable

24      relief that no law enforcement agency in the United

25      States has gotten in this industry, let alone in
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 224 of 254
                                                                       224



 1      Order 1, in the last decade.       This is not a pretty good

 2      settlement.    It's not a good settlement.        It is an

 3      excellent settlement, your Honor, and I would request

 4      that you approve it.

 5                   THE COURT:    All right.   Thank you.

 6              Mr. Abrams?

 7                   MR. ABRAMS:    Thank you, your Honor.

 8              May it please the Court.    I am counsel for the

 9      non-DFA, DMS subclass.      I would like -- I listened to

10      all -- the best I could, to all of the objections and

11      comments, positive comments made by the class members,

12      and I think I heard most of what Mr. Pierson said.

13              My effort was to take the comments of the class

14      members and try to categorize them to be helpful in

15      addressing them to your Honor.        Hopefully I will do

16      that.    I also intend to try to address all of the points

17      you raised earlier.

18              Mr. Pierson started off with risks.       I think that

19      was appropriate.      Any settlement has to take into

20      account risks.     Your Honor said in this case that the

21      case is, quote, laden with risks.         And your Honor was

22      absolutely right.      And we saw that.     Actually, we saw

23      that before we filed the case, and it's really cases.

24      And I will tell you that in a minute.         You heard me

25      connected with the Southeast.       Yes, I was the lead
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 225 of 254
                                                                       225



 1      counsel in the Southeast case.

 2              The case -- the cases, because this is true for

 3      both the Southeast case and the Northeast case -- they

 4      were filed -- and when you file a plaintiff case, I

 5      learned -- because my whole career was with -- on behalf

 6      of defendants -- I learned when you file a plaintiff

 7      case -- because I was asked to do this case and I was

 8      asked to do one other case by my prior law firm, and I

 9      will get to that in a minute -- you often find --

10      typically find that if you file a plaintiff class

11      action, you are going to find 30 to 50 other law firms

12      that file, and you end up in an MDL.

13              We filed these cases.    There were a couple of

14      firms, and I literally mean a couple of firms, that

15      filed copycat cases in the Southeast, not 30 to 50.            And

16      that tells you what the plaintiff bar thought the risks

17      were in proceeding with the case.        And as soon as I was

18      named lead counsel, they disappeared.         Cohen Milstein

19      was there.

20              And the same thing happened with the Northeast

21      case.    No copycat suits.     You heard Mr. Pierson saying,

22      and you probably heard at other times, that there were

23      no government suits.      Typically these class actions,

24      there are government suits.       You follow on the heels of

25      that.    There weren't any cases filed by any government
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 226 of 254
                                                                         226



 1      entity in connection with the milk business that we're

 2      talking about here.

 3            Now, you heard from one of the Haars earlier about

 4      a whole record being created in the Southeast.              I'm very

 5      familiar with what the government created in the

 6      Southeast.     They took a lot of depositions.       I read most

 7      of them.     They didn't file a lawsuit.      They did not

 8      create a record that we could rely on.         We created the

 9      record that we could rely on.

10            And that's the same thing with respect to the

11      Northeast.     There's no easy case here.      It's a very

12      difficult case, which is why I said your Honor was

13      right:     It was laden with risks.

14            And cases develop differently.        Your Honor has said

15      over time that -- and I hope you don't mind me referring

16      to your -- some prior orders because I --

17                   THE COURT:    I would hope I didn't mind.         That

18      would be kind of strange.

19                   MR. ABRAMS:    Your Honor said in your November

20      25, 2014, order, at 5 and 6, that, Considering the

21      strengths and weaknesses of the case, there's a, quote,

22      legitimate risk of a defense verdict at trial.

23            I don't quarrel with any -- I don't say this to

24      quarrel with what your Honor said.        I say it because we

25      have to take into account the risks.         I am not saying
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 227 of 254
                                                                            227



 1      you're right.     What I am saying is we have to take it

 2      into account, and we did.

 3            You noted that the documentary proof of antitrust

 4      violations in some respects did not provide evidence of

 5      conspiracy.     And you recognized the risks we have of

 6      proving any damages at trial.

 7            Now, Mr. Pierson went through a damage number.                I

 8      actually end up at the same number he ends up.              I get

 9      there a little differently.       And the difference is there

10      is overlapping -- there are overlapping sales between

11      the statute of limitations and the nonconspiring

12      producers.

13            So you take that into account, and I increased the

14      damages, but you get to somewhere between 130 and

15      150 million dollars because you take off the 35 percent

16      for the nonconspiring producers.        If you were to listen

17      to the defendants -- and in this instance I listened.                   I

18      am not agreeing, but I am not listening -- and they say

19      the statute of limitations eliminates another 35

20      percent.     Well, that's where I say there's some overlap

21      there.     But you end up with something like 130 to

22      150 million dollars in single damages.

23            An $80 million damage number -- settlement number

24      that we get is more than half of that.         And if you look

25      at any of the cases, they would recognize that is an
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 228 of 254
                                                                         228



 1      excellent settlement.

 2            I wanted to tell you a story, if I may -- it will

 3      take three minutes -- of the -- the real -- it really

 4      goes to the risk in this case and the risk we took.

 5            I had a unique and unfortunate situation.             But for

 6      a year clerking, I worked at the same law firm for 38

 7      years.   That law firm was Howrey.       That law firm

 8      dissolved in 2011.

 9            I worked with a group of people at that firm.

10      There were about 17 people that were part of cases I

11      tried, the people I worked for for many, many years.             I

12      happened to be older than them, so I can't say -- but

13      their whole careers were spent with me, and we wanted to

14      go together to someplace.       17 people, it's a big group.

15            We talked to a lot of law firms in Washington, the

16      best law firms in Washington.       And I guess it's not so

17      humble to say that we were welcomed at every one of

18      those firms but one.      But any number of those firms

19      really questioned whether they wanted to take the milk

20      cases.   And we had two conditions -- I had two

21      conditions.    You take our group and you take the milk

22      case, and if you don't want to, we'll shake hands and

23      I'll go on.

24            That shows the risk -- it showed to me -- I knew it

25      anyway, but it showed to me, and I say it to you,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 229 of 254
                                                                           229



 1      because of the risk that's involved in this case.              They

 2      had no idea what would happen to the case in the

 3      Southeast or the Northeast when we moved.          Got a very

 4      good result in the Southeast.        The law firm I went with

 5      is happy.     So is the trustee in bankruptcy for Howrey.

 6      But firms were not just jumping on board to take on the

 7      milk cases.     It's a risky case.     Your Honor recognized

 8      it, and we recognized it, and we had to evaluate the

 9      settlement in the context of risk.

10            Your Honor was told about my knowledge of the

11      Southeast case.     I have some knowledge of it.       I am sure

12      I don't have as much as it was touted to be, but I have

13      some knowledge of the Southeast case.

14                   THE COURT:    But you were lead counsel, right?

15                   MR. ABRAMS:    I was lead counsel.

16                   THE COURT:    So you have a lot of knowledge of

17      that case.

18                   MR. ABRAMS:    I hope I have retained some of

19      it.

20            I want to talk about the differences between the

21      Southeast case and the Northeast case, because some

22      people equate the two.      In the Southeast case, there was

23      a defendant called SMA.      It was the marketing entity.

24      It proclaimed its mission was to control all the milk

25      marketed in the Southeast.       And you know what?         They
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 230 of 254
                                                                      230



 1      nearly accomplished their mission in terms of

 2      controlling the milk, because everything had to funnel

 3      through SMA.     And that allowed defendants, by our

 4      allegations, to enact, monitor, and enforce suppressed

 5      prices.

 6              There's no comparable entity in the Northeast.        The

 7      Northeast is a different market than the Southeast.

 8      It's a more fragmented market than the Southeast.           And

 9      it will be more difficult to show the jury the effects

10      of the actions of the defendants in the Northeast versus

11      the Southeast.

12              There's a difference in the markets between the

13      Southeast and the Northeast, the markets themselves.              In

14      the Southeast, SMA had control over 88 percent of the

15      raw milk.     And in the Southeast, Dean and DFA had over

16      60 percent of the milk processed.        Here, defendants'

17      market share, per Dr. Rausser, was estimated to be much

18      less.     DMS has between -- according to our and

19      Dr. Rausser's analysis, between 40 and 58 percent of the

20      raw milk marketed, and Dean and DFA had between 20 and

21      25 percent of the milk processed.        Excuse me.    Those are

22      very different markets.

23              Oh, by the way, just to get -- you have been hit

24      with a lot of numbers today.       In the Southeast, there

25      were 6,086 claims that were made on the settlement in
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 231 of 254
                                                                        231



 1      the Southeast.     In the Northeast, I keep hearing about

 2      12,000 or 12,800 or those numbers.        In the Northeast, in

 3      the Dean settlement, there were 7200 claims.

 4            Okay.    There are differences in the court orders

 5      between the Northeast and the Southeast, and those

 6      impact, obviously, any case.       In the Southeast,

 7      defendants never even argued statute of limitations.

 8      There's a two-page motion in limine.         There was never

 9      really any serious issue in the Southeast.          Here, the

10      Court found statute of limitations to be a major issue

11      and a potential issue having significant impact on

12      damages.

13            In the Southeast, the court didn't exclude any of

14      Dr. Rausser's opinions.      Here, the Court excluded

15      aspects of opinions on relevant market and the damages

16      model Dr. Rausser had.

17            In the Southeast, the court ruled that plaintiffs

18      could admit damaging evidence of defendants' sweetheart

19      deals.     Here, the Court indicated evidence outside the

20      statute of limitations may not be admissible.          May not.

21      I emphasize my recognition of the "may not."

22            Okay.    I didn't mention the amount of damages

23      claimed in the Southeast.       We talked about it here, but

24      in the Southeast it was $415 million, if you want a

25      comparison to the 130 to the 150.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 232 of 254
                                                                         232



 1              Okay.   The process for settlement has been raised

 2      here.    What occurred?     I was -- I negotiated -- I was

 3      the lead in negotiating the settlement in the Southeast,

 4      and I think it's fair to say I was the lead in the

 5      Northeast.      I will tell you that settlement negotiations

 6      lasted in this case for years, literally years.

 7              The Court ordered a mediation, you will remember,

 8      with Michael Marks.       Indeed, the Haars attended that

 9      mediation.      It got absolutely nowhere.     No negative on

10      Mr. Marks; it just didn't get anywhere.         There was no

11      offer of settlement.

12              In early 2013 -- and I am looking at my notes just

13      to remember the chronology -- counsel for DFA and DMS

14      and I talked some more.       I am going to tell you that the

15      class reps were absolutely informed of those

16      discussions.      They didn't go anywhere, and they were

17      informed that they didn't go anywhere, but they were

18      informed of those discussions and that they didn't go

19      anywhere.

20              They resumed -- discussions resumed in 2014, and,

21      again, there was no success.       And, again, I will tell

22      you, without any equivocation, the class reps were

23      informed of those discussions.

24              May 2014, settlement was discussed again.           We were

25      so far apart, there was nothing to discuss.          They ended.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 233 of 254
                                                                      233



 1      The class representatives were told that.

 2             Well, now it's June.     You may remember that the

 3      final pretrial was June 23rd.         I remember this clear- --

 4      one of the few things I remember clearly because I have

 5      a son who was getting married.         He lives in Los Angeles,

 6      and there was a weekend party where we were going to

 7      meet the parents of the bride.

 8             And I met with -- counsel for DFA, DMS called me,

 9      and I met with him on Wednesday.         And he said, Well,

10      it's really the end of the line.         You know, do you think

11      we could settle this case?       And I will tell you -- I

12      won't get into the specifics because I don't think

13      that's right.    If you ask me, I would answer you.

14                   THE COURT:    No, because settlement

15      negotiations are not admissible.         I am much more

16      interested in what broke down between class counsel and

17      class representatives because this is a very unusual

18      situation.

19                   MR. ABRAMS:    Yes, but I will mention --

20                   THE COURT:    You can go through it your way.     I

21      don't need to know.

22                   MR. ABRAMS:    No, no.    I am going to do it your

23      way.   I am going to try to.

24             I will tell you, because I think you asked this

25      question, in the Southeast we had an objector -- a class
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 234 of 254
                                                                      234



 1      rep who objected to the settlement as well.          I just tell

 2      you that.

 3              But to answer this question with the breakdown --

 4      well, I can't tell you what's in the state of mind of

 5      some of the class reps, but I can tell you the events.

 6              I told you we met on that Wednesday before the

 7      weekend.     The offer was nothing.     It was nothing.     There

 8      was nothing to really say.

 9              I got back -- I had to go to Greece for a client

10      after this event for my son.       I got back on Thursday.          I

11      had a text message from this person, Give me a call.            I

12      gave him a call.     He said -- I won't go into what he

13      said.     But a substantial number was discussed by him,

14      but never -- no commitment or anything.         And I said, I

15      can recommend to my clients a certain number.          He didn't

16      have that authority then.       I said, But, you know, this

17      is it because we are going to the final pretrial Monday.

18              On Friday I got a phone call agreeing to the number

19      I said.     And I had analyzed this case -- I mean, I had

20      in my mind.     I said that to him, but I also said, You

21      remember from day one there have to be nonmonetary terms

22      involved in this settlement, because I learned that in

23      the Southeast how important they were, and I said it

24      here.

25              So it ended up that I didn't negotiate with him on
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 235 of 254
                                                                        235



 1      the nonmonetary terms.      Mr. Kuney and I negotiated on

 2      that.    And on the day -- that Friday, that day, the

 3      class reps were called individually, because we couldn't

 4      get a group call that quickly.        It was Friday that I

 5      learned that they would offer this number.          And they

 6      were told of the number and that we had nonmonetary

 7      terms that had not been negotiated, and I was told that

 8      people were pretty happy.

 9              On Monday, people weren't happy anymore.       I don't

10      know why.    What I do know is that a statement was filed

11      with this court talking about all of the group

12      discussions -- and we reaffirm that in our affidavits --

13      that occurred, and there were a lot of group discussions

14      between us and the class reps.        And there were a lot of

15      issues raised.

16              And there were a lot of suggestions about

17      nonmonetary terms, and I will tell you every one of

18      those suggestions that we got was pursued -- I pursued

19      it and others with me pursued it -- with DFA, counsel

20      for DFA.    And we got a lot.     We didn't get everything.

21              Now, this is off track, but it's come up so often I

22      will say it:     I never heard about the milk testing being

23      a part of this case until today.        I understand

24      your Honor's point about control.        It makes sense.       It

25      was never an issue in this case.        We haven't seen any
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 236 of 254
                                                                        236



 1      evidence regarding it.

 2            And what I will tell your Honor, which is what

 3      every farmer has been told, "If there is any indication

 4      of retaliation for your involvement in this suit, you

 5      tell us because we wouldn't stand for it."          You'd be

 6      told immediately -- well, you'd be told after I

 7      discussed it with opposing counsel.         You'd be told.

 8            And -- well, this is related to that.         It's not

 9      exactly on point, although it gets there.          You asked

10      about certain provisions and what good is it if they're

11      in the settlement agreement if they're illegal anyway.

12      And I think you heard the response to that.

13            First of all, it's a whole lot easier coming to

14      you, because you will have jurisdiction, and saying

15      there's a violation, and you issue a show cause order,

16      rather than have it be part, a very small part, of a

17      major antitrust suit that you have to prove.          They will

18      have that as their right in the settlement agreement,

19      and that is very significant.

20            In the example that was brought up were the audit

21      documents in this context.       Well, you know what?        If --

22      there are rights with the audit document.          I don't

23      remember them all right now.       But there are rights there

24      for that and other things in these nonmonetary terms.

25            And if they're not satisfied -- I am not talking
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 237 of 254
                                                                      237



 1      retaliation now, but if they are not satisfied, there

 2      are avenues to take.      You could go to the Vermont

 3      Attorney General and talk about unfair trade practices.

 4      You can pursue an unfair trade practice, if it rises to

 5      that.     There are avenues for relief.

 6              And I should tell you, in the Southeast, there's

 7      some settlement provisions, and we don't think Dean

 8      complied with a certain requirement, and we don't think

 9      SMA complied with a certain requirement, and we have

10      filed motions before Judge Greer, and they're pending

11      before Judge Greer, to pursue those in that case.           And

12      the same thing would be done here.

13              Oh, public disclosure of the record and the request

14      that, you know, Why don't they just open up the whole

15      record?     Well, I sort of have learned this:       You know,

16      if you want to bury something, you bury it in five

17      million pages of documents.       I would much rather -- and

18      indeed what happens is you cull those documents, as I am

19      sure your Honor knows, to find the right documents.

20              We found the right documents for this case, like we

21      do for cases, and what is being opened and available in

22      conjunction with our -- our briefing -- there are 545

23      exhibits.     The plaintiffs' certification briefs include

24      153 exhibits.     And these exhibits mean deposition

25      experts, deposition exhibits, expert report examples,
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 238 of 254
                                                                       238



 1      the whole gamut of what is in the case.

 2            Defendants' certification brief has 48 exhibits.

 3      Our summary judgment brief has 282 exhibits.          And I know

 4      there are problems with all this in another context, but

 5      in this context, the availability of these records,

 6      culled as they are, is significant.         And our summary

 7      judgment -- or defendants' summary judgment brief has 62

 8      exhibits.     Those are the key documents in a case.

 9            And, you know, if you have a trial exhibit list,

10      and it's thousands of exhibits, well, you have them

11      there to make sure, but you know that you are really

12      talking 50 to a hundred documents that are the key

13      documents in a case.      These are the key documents.        They

14      are available.     And they're available, frankly, in a way

15      that makes more sense than opening up a

16      five-million-document case record.

17            Okay.    You asked a question about division between

18      the class reps and class counsel.        I was asked by --

19      Mr. Sitts opposes the settlement.        He and his son both

20      talked.     They oppose the settlement.      They're our

21      clients.     He asked me if I would be available to try

22      this case, if it had to be tried, and I said absolutely.

23            I am representing the class I represent zealously.

24      That is my job.     And I will do my job.      And if you say

25      we go to trial, we will go to trial.         I am here telling
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 239 of 254
                                                                    239



 1      you this is an excellent settlement, but whatever you

 2      decide, I am here to do it.

 3            You asked about the release, and I guess I -- I --

 4      I don't -- I am not looking at it correctly, because

 5      when I look at the release, it releases claims related

 6      to the facts and circumstances alleged in the complaint.

 7                  THE COURT:    Well, it says, "includes any and

 8      all claims, regardless of their nature, from January 1,

 9      1994, through and including the effective date, arising

10      out of, associated with, related to the facts or

11      circumstances alleged in the complaint, including but

12      not limited to settling defendants' sale and marketing

13      of raw Grade A milk or their purchase of or failure or

14      refusal to purchase raw Grade A milk that was produced

15      in and pooled on Federal Milk Order 1.

16            "Release claims include all claims that were

17      asserted or could have been asserted, arising out of or

18      relating in any way to any conduct alleged in the

19      complaint" -- which is all the pleadings in this case --

20      "regardless of whether those claims arise from common

21      law theories, tort or contract, including without

22      limited" -- "limitation, breach of contract, breach of

23      fiduciary duty or theories under federal, state, or

24      other statutory law, rule, or regulation."

25            And then we have a very broad definition of the
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 240 of 254
                                                                     240



 1      people who benefit from the release.         So that looks very

 2      broad to me.     And as I say, I see a lot of releases, and

 3      I just had one in a wage-and-hour case in which the

 4      persons were getting $50, a hundred dollars in their

 5      settlement, and they were releasing all claims related

 6      to their employment.       And actually that's not

 7      permissible, so we sent it back, and they fixed the

 8      release.

 9            So I didn't need anybody to point to me concerns

10      about the release.     I raised them with you.       And I

11      raised it the first time I saw it, and I raised it in

12      the notice to the class members.        It's a lot broader

13      than that notice is saying.

14                   MR. ABRAMS:    I -- I am not trying to quarrel

15      with you, but I will just tell you how I look at it.

16                   THE COURT:    Okay.

17                   MR. ABRAMS:    The "including but not limited

18      to" is a subset.     It's a defendant way of writing,

19      frankly.     But it's all related to the facts and

20      circumstances alleged in the complaint, in the amended

21      complaint.     That's where your -- what you are releasing.

22            And when I look at that, that's -- yes, is it

23      written in a broad way, but it's not different than --

24      you are always releasing what you allege in a complaint.

25      That's the nature of the settlement.         And that's how I
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 241 of 254
                                                                       241



 1      read this release provision.

 2                   THE COURT:    How about "including but not

 3      limited to anything" --

 4                   MR. ABRAMS:    I'm sorry.

 5                   THE COURT:    Sorry.    "Including but not limited

 6      to anything about the sale of raw Grade A milk"?            What

 7      wouldn't that cover that they are doing?

 8                   MR. ABRAMS:    Like we didn't allege in the

 9      complaint these tests regarding raw Grade A milk.

10      That's not what is -- it's not a fact or circumstance

11      alleged in the complaint.       I don't think it's part of

12      this case.

13                   THE COURT:    Well, what about "including but

14      not limited to settling defendants' sale and marketing

15      of raw Grade A milk or their purchase of or failure or

16      refusal to purchase" --

17                   MR. ABRAMS:    I'm sorry, Judge.     I can't hear

18      you.

19                   THE COURT:    I know.     I have a low-pitched

20      voice that's very hard to hear, and sometimes that's a

21      blessing.

22                   MR. ABRAMS:    It's me.     I --

23                   THE COURT:    That's okay.     So let's -- one

24      thing I want to do is -- it's 10 of 5:00, and I want to

25      make sure that we hear from the defendant.          So I say
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 242 of 254
                                                                        242



 1      it's broad; you think it's not broad.         Let's move on to

 2      anything else you wanted to say to me before I turn to

 3      defendants?

 4                  MR. ABRAMS:    When I heard that we were better

 5      off going to trial and losing, I shook my head.             I don't

 6      agree with that.     I don't agree with that from all the

 7      positives you get from the settlement, and I do think

 8      there are substantial positives, both monetary and

 9      nonmonetary.    But I think there are substantial

10      negatives you get from going to trial and losing, which

11      is ratifying everything that the plaintiffs are talking

12      about here.    I am not interested in that.

13            I am interested -- if I go to trial, I want to win.

14      And so when I hear that, it's telling me that people

15      aren't looking at it the same way I am, in a very

16      significant way, which is what one, I think, should do

17      in analyzing whether a settlement makes sense.

18            I know you -- I should sit down.

19                  THE COURT:    If you have a short thing you want

20      to say, that's fine, but I am going to turn to the

21      defendants.

22                  MR. ABRAMS:    Yeah.    No.   And I -- I can't say

23      I want them to be heard, but I want this hearing to --

24      oh, can I just say one other thing?

25                  THE COURT:    Sure.    Yes.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 243 of 254
                                                                        243



 1                   MR. ABRAMS:   Put this here.     I heard about

 2      the -- I'm sorry?     I heard about the notice point, and

 3      people didn't get -- you didn't hear all the objections

 4      you would have heard if everybody got the notice, or

 5      some comment like that from some people who were

 6      objecting.

 7            Well, the fact is that, in addition to the formal

 8      notice that went out, there's a publication called

 9      Farmshine which purports to go to 75 percent of the

10      farmers in the Order.      And there was an article on

11      producers urging opposition to DFA, DMS settlement,

12      which was the result of a letter from three of the class

13      reps who also reached out to GCR, GLOBAL Competition

14      Review, and provided the statement that had been

15      submitted to the Court in camera.

16            So I think that there was substantial word out

17      there about this settlement, and of course there's the

18      notice, which is that's the main point of the notice.

19      So I think what you heard today is -- you heard from

20      three class reps opposing the settlement.          You heard

21      from a class rep in favor of the settlement.          And you

22      heard from others in favor of the settlement.

23            I do believe all the issues were raised before

24      your Honor.    They were -- really covered the issues, but

25      I don't see that there's large opposition to this
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 244 of 254
                                                                     244



 1      settlement from the class.

 2            With that, I will sit down.       Thank you.

 3                  THE COURT:    Thank you.

 4            Let's hear from the defendants.

 5                  MR. KUNEY:    Thank you, your Honor.      This could

 6      possibly be one of the briefest times I'm up here.

 7                  THE COURT:    I was thinking you usually get a

 8      lot of time, so --

 9                  MR. KUNEY:    No, I know, and it's probably --

10      it's probably poetic justice of the sort that I don't

11      and probably suits the event that we are here for today

12      anyway, where --

13                  THE COURT:    And this is Mr. Kuney.

14                  MR. KUNEY:    I think we have a lot left to

15      say -- a lot less to say, frankly, than the people you

16      have already heard from.

17            Let me, with some trepidation, step into the issue

18      of the interpretation of the release.         I actually -- I

19      agree with Mr. Abrams that if one forced oneself to try

20      to diagram the sentence, the operative language

21      is "arising out of or related to the facts and

22      circumstances alleged in the complaint," and that

23      whatever follows has to be a piece of that.

24                  THE COURT:    "Arising out of or relating to,

25      associated with" --
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 245 of 254
                                                                    245



 1                  MR. KUNEY    Yeah.

 2                  THE COURT:    -- and you got a complaint

 3      that's -- you know, what is it, a hundred or more

 4      paragraphs?

 5                  MR. KUNEY:    The complaint is a long and

 6      complicated complaint.      I don't deny that, but -- but

 7      that's -- that's what's being released --

 8                  THE COURT:    All right.

 9                  MR. KUNEY:    -- is things that --

10                  THE COURT:    And testing of milk is -- say we

11      will take that -- is associated with, related to the

12      allegations in the complaint.

13                  MR. KUNEY:    There were -- there were, at some

14      point in the case -- and I confess I don't remember

15      whether it's in the language of the complaint -- one or

16      two -- my memory is it came up in the context of the

17      statute of limitations, what events had occurred within

18      four years of the filing of the complaint.

19            And what we heard in response was a couple of

20      anecdotes, not dissimilar from some of the things that

21      you heard in court today.

22                  THE COURT:    So the way it came up was you were

23      challenging Dr. Rausser's motives of people to

24      participate in a conspiracy, and we started hearing

25      about threats and retaliation, and I heard just a tiny
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 246 of 254
                                                                     246



 1      sliver --

 2                   MR. KUNEY:   Right.

 3                   THE COURT:   -- of meddling with milk

 4      results --

 5                   MR. KUNEY:   Right, and we --

 6                   THE COURT:   -- and that's it.

 7                   MR. KUNEY:   I think we addressed that in our

 8      summary judgment and suggested that really none of those

 9      episodes was there admissible evidence that could

10      corroborate the episode.       I don't think -- you didn't

11      reach that point in your summary judgment ruling, but we

12      felt comfortable that it was largely uncorroborated

13      hearsay, which in many cases the witnesses, during their

14      depositions, essentially undid at least half the story

15      on their own.

16            So when Mr. Pierson says there's really not an

17      evidentiary record to make that part of the settlement

18      process, I think that's absolutely right.          It's not that

19      it came up never.     It's that it did come up, and it

20      didn't have sufficient substance to warrant becoming a

21      significant piece of the case or, candidly, a part of

22      the settlement discussions.

23            But let me -- let me just say one thing about the

24      settlement --

25                   THE COURT:   So let me just say that it caught
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 247 of 254
                                                                    247



 1      my attention today and not because you needed to have

 2      Farmer 1 show that a split-second before the truck

 3      arrived he had a chemist there analyzing and came up

 4      with this butterfat and this protein, and then two

 5      seconds later the truck driver's got a completely

 6      different test.

 7            I found it interesting in terms of control because,

 8      frankly, prior to today -- and I am hearing Mr. Abrams

 9      heard it for the first time today -- I didn't realize

10      that DFA and DMS did all the testing of the milk and

11      that there was no verification process from a third

12      party, and that's how they calculated the milk check.

13      And I could see a lot of control inherent in that.

14            I am not saying that would have been a different

15      case, but it's surprising to me to hear it for the first

16      time from the class representatives.

17                  MR. KUNEY:    Well, I guess, I think the class

18      counsel have given their explanation, which, from what I

19      saw and the evidence that came through discovery, I

20      would have to agree with them, that there -- that there

21      was another side to that story, which is candid- --

22      frankly, when we explain what the cooperative does and

23      one of -- the services it brings to the members,

24      concentrating the testing was an enormous efficiency

25      that we thought saved people hundreds, thousands of
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 248 of 254
                                                                         248



 1      dollars across the scope of the region.

 2            Rather than being -- rather than being an element

 3      of coercion and control, we thought it was an important

 4      efficiency that returned more money to dairy farmers.

 5      And if testing had been more of an issue in the case,

 6      that would have been what you would have heard from us,

 7      that it's not abused and that, rather, it's a benefit.

 8            But it appeared to us from where -- from the side

 9      of the room we sit on that there were a few isolated

10      events that, frankly, didn't amount to a case that could

11      be pursued, particularly not on a class basis.              It

12      wouldn't be a -- a couple of anecdotes here and there.

13            So, yes, I understand the point that it sounds like

14      there's a gatekeeper and, gosh, they're testing your

15      milk, but someone has to test your milk.          The fact that

16      the samples are sort of -- the product is perishable,

17      and you can't necessarily argue about it, would be true

18      no matter who's doing it.

19            We -- your Honor, we totally get the idea that

20      there's some people there that don't trust us.              I mean,

21      we understand that.      Happily, we -- a few people came to

22      court today from a different perspective.          It's not

23      simply silence.     You heard some people that have made

24      multiple choices in their lifetime, in their careers,

25      to -- to operate through DFA and DMS.         Not everyone out
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 249 of 254
                                                                    249



 1      there thinks that this is some evil that, remarkably

 2      enough, I thought was compared to things that had

 3      happened during World War II, which took for sort of a

 4      jarring comment, even in a long day of interesting and

 5      important comments.

 6            But, yes, I take your point.       It sounds like there

 7      is a structure that, in the wrong hands, could be

 8      abused.   I would say to you it's a structure that was

 9      put in place to accomplish efficiencies and did so, and

10      there's no record of that abuse in the course of a case

11      where the discovery was exhaustive, the depositions were

12      endless, and the people who had those stories, they were

13      not corroborated through the deposition process.

14                   THE COURT:   So I don't want to go -- and I

15      don't want to waste your time too much on this issue.

16      If you will recall, it came up in the issue of explain

17      your theory of the case to me in a way that I could

18      understand --

19                   MR. KUNEY:   Right.

20                   THE COURT:   -- relate to a law clerk, relate

21      to a jury.    And -- and that has actually been a theme

22      with which you have tried to persuade me to dismiss the

23      case or carve it up --

24                   MR. KUNEY:   That's true.

25                   THE COURT:   -- or not let it go to trial.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 250 of 254
                                                                           250



 1                   MR. KUNEY:   That's true.

 2                   THE COURT:   So that's how it came up.         It's

 3      not we don't need to go down and investigate a new

 4      claim, but it resonated with me.

 5                   MR. KUNEY:   I think it's clear -- I take that

 6      point.   It may be clearer and simpler to explain than

 7      some of the more complicated conspiracy theories that

 8      you heard.    I think what you are hearing from both the

 9      plaintiffs' side and my side of the case is that there

10      was not a factual record -- it's simpler to

11      articulate -- but that there's not a factual basis that

12      would have supported it, that made them feel comfortable

13      in pursuing it.

14            And, frankly, we weren't surprised at that, because

15      this was not an issue -- there's lots of -- lots of

16      complaints, lots of lore that resonates in the dairy

17      business, and this is not something that had been a

18      problem that was being brought to the cooperative's

19      attention as something that was some kind of systemic

20      situation that would require --

21                   THE COURT:   So do you deny it was a request in

22      the injunctive relief?      Do you deny there was no issue

23      about independent testing, and people didn't say that

24      was really important to them?

25                   MR. KUNEY:   Let me tell you what I remember.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 251 of 254
                                                                       251



 1      And Mr. Abrams, I think, was clear about the fact that I

 2      was only involved in the discussions about the conduct

 3      remedies and not -- I was not -- I was occasionally a

 4      participant but not the primary point of contact in the

 5      discussion about the financial terms.

 6            So that he and I made contact after I was informed,

 7      much to my surprise, that there seemed to be a number

 8      that the parties had agreed upon.        I thought I might

 9      simplify the process by sending him a proposal for

10      injunctive relief that went to what I understood to be

11      the primary elements of the complaint, which was the

12      solicitation issue and the antitrust compliance, because

13      those topics had come up repeatedly, and I thought,

14      well, look, maybe we can do this quickly.

15            Mr. Abrams, early the following week, sent me a

16      very lengthy proposal, which he told me had come from

17      his consultations with the class representatives and

18      that -- and putting a whole list of new items on the

19      table, which I had not anticipated would be part of the

20      discussion, and I understood them, again, from his

21      representations, to be coming from his clients.

22            I have -- I have not checked my file, but I have no

23      recollection of our ever discussing this testing issue

24      as part of the conversation that included the proposals

25      that had come from the class members.         I didn't look.
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 252 of 254
                                                                      252



 1      It didn't occur to me to sort of go back and check and

 2      see what I have.

 3            I can -- I would have said what I said to you five

 4      minutes ago, which is, that's not part of this case.          We

 5      are here to resolve -- the resolution needs to be linked

 6      to the case.    And that is -- that has been a nonissue

 7      throughout the case, and I am not sure why we are

 8      talking about it today.

 9            What we -- frankly, that's the couple of

10      provisions in here which, instead of imposing relief,

11      suggest that the Northeast Area Council will take it up,

12      were other areas where we felt it was far afield, we'd

13      never heard complaints about it, it had not been an

14      issue in the case, we didn't think the dairy farmers

15      wanted it, so we said, We have got an idea.          Let them --

16      if you want us to guarantee that they will have a

17      process and think about it, we will do that.

18            But I have no -- I have no memory that this testing

19      was an item that we talked about at all.          And if it was,

20      it must have been 30 seconds or less.

21            And so we worked off of his paper, which had come

22      from his consultations with his class representatives.

23      We didn't agree to everything.        We had a negotiation.

24      And we came up with the injunctive relief that you see

25      here, which I also agree with Mr. Pierson's observation
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 253 of 254
                                                                       253



 1      that any question about the term of the agreement, the

 2      length of the agreement, I think it is clear, goes to

 3      December 31st of 2016, but some of the provisions,

 4      including the nonsolicitation agreement, do not have a

 5      sunset provision, do not have an end point.

 6              And I was going to mention, but Mr. Abrams already

 7      did, that since the wonders of ECF filing, I see these

 8      motions being filed in the Southeast case for

 9      enforcement of the settlement.        I am pleased to report

10      no such motion has been filed against DFA.          There's been

11      no criticism that we haven't adhered to the terms, and

12      the other settling parties they have pursued, where they

13      felt that they have not followed their obligations under

14      the settlement, and I have every reason to expect they

15      would vigorously do that here.        That's been their track

16      record, and that's how they have comported themselves.

17              So -- so we had -- I can't tell you more,

18      obviously, about the interactions between him and his

19      clients, Mr. Abrams and his clients.         I can only tell

20      you that what I was presented with, and was somewhat

21      taken aback by, was the lengthy list of proposals that

22      he explained as having come from his consultation with

23      them.    And then we proceeded to negotiate and to strike

24      a middle ground in terms of ones that we would accept

25      and ones that, frankly, seemed to us to be too far
Case 5:09-cv-00230-cr Document 636 Filed 03/03/15 Page 254 of 254
                                                                     254



 1      afield and unrelated to the case or more intrusive in

 2      ways that perhaps they didn't understand.

 3            I don't -- I think -- I think that's it,

 4      your Honor, unless there's something else that's come up

 5      today that you think we can speak to, I'm happy to, but

 6      otherwise, that's really all I was going to try to put

 7      in front of the Court.

 8                  THE COURT:    All right.

 9                  MR. KUNEY:     Thank you very much.

10                  THE COURT:    All right.     It is past 5:00, and I

11      feel especially sorry for our court reporter.

12            Thank you.    You have given me lots to think about.

13      I will take the matter under advisement.          I will get you

14      a written order.

15            And anything further before we close for the day?

16                  MR. PIERSON:     No, your Honor.

17                  MR. KUNEY:     Not from us, your Honor.

18                  THE COURT:    Thank you.

19                   (Court was in recess at 5:08 p.m.)

20                                  *** ** ***

21                         C E R T I F I C A T I O N

22           I certify that the foregoing is a correct
        transcript from the record of proceedings in the
23      above-entitled matter.

24
        March 2, 2015               _______________________
25      Date                        Anne Nichols Pierce
